 

EXhibit 1

Case 3:14-cv-01998 Document 1-1 Filed 10/20/14 Page 1 of 98 Page|D #: 3

lN THE UN|TED STATES D|STR|CT COURT
FOR THE M|DDLE D|STR|CT OF TENNESSEE

JENN|FER HAAG,

)
)
Piaintiff, )
)

v. ) Civi| Action No.
)

SELECT|VE |NSURANCE COMPANY ) JURY DEMAND
OF AMER|CA, )
)
Defendant. )

 

PETlTlON FOR REMOVAL

 

PLEASE TAKE NOT|CE that the Defendant, Se|ective lnsurance
Company of America, hereby removes this case to the United States District
Court for the |\/|iddte District of Tennessee, Nashvii|e Division, pursuant to 28
U.S.C. §§. 1441 and 1446. The grounds for the removal are as fo||oWs:

1. P|aintiff filed the above-styled action on September 22, 2014
against the Selective insurance Company of Arrierica in the Circuit Court of
Sumner County, Tennessee. A true and correct copy of the Comp|aint in the suit
is styled: Jennifer Haag v. Se|ective |nsurance Company of America, Sumner
County Circuit Court Case Number 830C|-2014-CV-1029 attached hereto as
Exhibit1.

2. The suit Was served on the Tennessee Department of Commerce
and |nsurance on Septernber 25, 2014 and Was sent to Defendant, Se|ective

lnsurance Company of America thereafter

Case 3:14-cv-01998 Document 1-1 Filed 10/20/14 Page 2 of 98 Page|D #: 4

3. Other than the filing of the Complaint, no proceedings have taken
place in this matter. This Defendant removes this action to the United States
District Court for the l\/lidd|e District of Tennessee, Nashville Division pursuant to
the provisions of 28 U.S.C. § 1441 on the grounds that this Court has jurisdiction
pursuant to 28 U.S.C. §§ 1332 and 1333.

4. Plaintiff, Jennifer Haag alleges in the Complaint that she is the
owner of the home located at 107 Cheyanne Drive, Hendersonville, (Sumner
County) Tennessee.

5. Selective insurance Company of America is a New Jersey
Corporation With its principal place of business located in Branchville, Sussex
County, New Jersey.

6. This dispute is between persons (companies) of different states and
the amount in dispute, based upon allegations made in the complaint are in
excess of $75,000.00, exclusive of costs and interest; therefore, it also meets the
jurisdictional requirements of this Court pursuant to the provisions of 28 U.S.C. §
1332(a).

7. Venue is correct herein because Plaintiff’s action is pending in
Sumner County, Tennessee.

8. Counsel for the Defendant has served on counsel for P|alntiff a
copy of this Petition for Removal and a copy of the Petition for Removal be filed
in the Sumner County Circuit Court by the Defendant Within 30 days of service of

the Complaint on the Defendant,

Case 3:14-cv-Ol998 Document 1-1 Filed 10/20/14 Page 3 of 98 Page|D #: 5

WHEREFORE, please take notice that Defendant, the Selective lnsurance
Company of America removes the state action styled Jennifer Haag v. Selective
lnsurance Company of America, Sumner County Circuit Court Case Number
830C|-2014-CV-1029 from the Circuit Court of Sumner County, where it is now
pending, to the United States District Court for the l\/liddle District of Tennessee

on this the 20th day of october, 2014.

Respectfully submitted,

SP|CER RUDSTROM PLLC

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jj YfMA“/@

l\/lichael J. Vetter, Sr.
BPR# 13642

Banl< of America Tower
414 Union Street, Suite 1700
Nashville, Tennessee 37219-1823
(615) 259-9080 telephone

(615) 259-1522 facsimile

 

 

CERT|F|CATE OF SERV|CE

l hereby certify that a true and exact copy of the foregoing has been sent
via United States mail, postage prepaid, properly addressed to:

Thomas W. Thompson
Thompson Trial Group, P. A.
4725 North Lois Avenue
Tampa, FL 33614-7046
(813) 254-1800

this 20th day of october, 2014.

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Mi hael J. Vetter, Sr.

Case 3:14-cv-Ol998 Document 1-1 Filed 10/20/14 Page 4 of 98 Page|D #: 6

 

 

Exhibit 1

Case 3:14-cv-Ol998 Document 1-1 Filed 10/20/14 Page 5 of 98 Page|D #: 7

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JENNIFER HAAG, ) SEP 22 2014
Plaintirf, § BY(_;U%KC'

v. ) JURY I)EMAND
sELECTIvEINSURANCE COMPANY § CaSeNO.

oF AMERICA, § 83€€|_2@11¢@\} » lOZCi

l Defendant, §
' CoMPLAINT

Plaintiff, JENNIFER HAAG, for her Complaint against the Defendant, SELECTIVE
INSURANCE CQMPANY OF AMERICA, (“Defendant”), would respectfully show and allege
to the Court_as follows:

GENERAL ALLEGATIONS

1. Plaintiff, JENNIFER HAAG, owns the property located at 107 Cheyenne Drive,
` Hendersonville, TN 37075~4610.

'2. Defendant, SELECTIVE INSURANCE COMPANY OF AMERICA, is a for-
profit foreign insurance company authorized to engage in, and does engage in, the sale and`
delivery of property insurance within the Stale of Tennessee. The registered agent for service of
process o_f SELECT]VB INSURANCE COMPANY OF AMERICA is the Tennessee
Department of Comrnerce and Insurance, 500 James Robertson Parkway, Nashville, Tennessee,
37243.

3. Plaintiff"S claim for relief arises from a covered sinkhole loss to their property
located at 107 Cheyenne Drive, Hendersonville, TN 37075- 4610 (“Property”) Venue is proper

pursuant to Tenn Code. Ann. §20 4 103.

Case 3:14-cv-Ol998 ' Document 1-1 Filed 10/2'0/14 Page 6 of 98 Page|D #: 8

 

 

ii .>

4. l At all times material hereto, Plaintiff has been the owner of the Property.

5. Plaintiff renewed or procured a policy of homeowner’s insurance, policy number
H 2187536 (“Policy”), from Defendant covering the above-referenced property. Attached hereto
as Exhibit A.

d 6. In consideration of monies paid by Plaintiff to Defendant, the Policy was issued,
insuring the Plaintiff`s property against risks, including sinkholes. The insurance policy
provided dwelling insurance coverage in addition to other coverages.

7. Plaintiff has renewed the Policy each and every year and have paid all premiums
due thereunder and otherwise met all conditions of coverage thereunder

8. On or about May 1, 2013, while the Policy was in full force and effect the
Property was damaged as a result of sinkhole activity.

9. ' The damage to Plaintift"s Property is caused by a covered peril under the Policy.

lO. A notice of loss and damages was properly given by Plaintiff to Defendant in
accordance With the terms of the Policy.

11. Defendant sent a professional cngineer, Rimkus Consulting Group, Inc.,
(“Rimkus’ `) to Plaintiff"s Property who confirmed that there was damage to the horne and that
the home was situated m a karst setting where sinkholes are apparent with a sinkhole present on~
the Property, but stated the damage was caused by perils excluded under the Policy and not by
sinkhole activity.

12. ' On or about November 18, 2013, Defendant sent a letter to Plaintiff Stating that
Rimkus determined that sinkhole activity was not a cause of loss and denied the claim. Attached '

hereto as Exhibit B.

Case 3:14-cv-Ol998 Document 1-1 !'Fil_ed 10/20/14 Page 7 of 98 Page|D #: 9

 

 

13. On or about July 3, 2014, Plaintiff, through counsel, sent a request that Defendant
reopen the claim and consider all of the evidence in order to make an informed decision
concerning the Plaintiffs Property and claim. Attached‘hereto as Exhibit C.

14. Plaintiff has complied fully with all of the_ provisions of the Policy.

15 . Plaintiff has been required to retain the services of the undersigned counsel and is
obligated to pay them reasonable fees for their services. 1

BREACH OF CONTRACT

16. Plaintiff adopts and incorporates by reference the allegations contained in
paragraphs 1 through 15 above as though fully set forth herein. `

17. Defendant has breached the Policy. by denying coverage and failing and refusing
to pay all benefits due thereunder for the claim of sinkhole activity.l

18. defendant failed to properly investigate the Property as required under the Policy
' and by state statute. ` v

1 19. Defendant failed to exercise the skill, care and knowledge required of a licensed
. insurance carrier with respect to the investigation and handling of. this claim.
20. Defendant failed to investigate the P]aintiffs claim in a prompt and thorough
manner. .
21. Defendant represented to its insured that exclusionary language contained in the
Policy excluded coverage of the claim, when the Defendant knew or should have known that it
did not exclude coverage Such acts or omissions were committed intentionally, recklessly,

and/or negligently

Case 3:14-cv-Ol998 Documentl-l FiPed 10/20/14 Page 8 of 98 Page|D #: 10

 

22. Defendant owes Plaintiff prejudgment interest, expert fees, costs, the costs of all
structurally necessary repairs, and, if the home is not repairable within applicable coverage
limits, and amount equal to such limits for the total constructive loss.

BAD FAITH
23. Plaintiff adopts and incorporates by reference the allegations contained in

paragraphs l through 22 above as though fully set forth herein.

24. Defendant’s failure and refusal to pay is not'in good faith, and such failure to pay`

has inflicted expense, loss,_ and injury upon Plaintiff. Accordingly, Plaintiff is entitled to
recover, in addition to the amount of the insured loss and interest thereon, an amount equal to
twenfy~five percent’(25%) of the liability for the loss, pursuant to Tenn. Code Ann. § 56-7-105.

25. The acts and/or omissions of Defendant constitutes bad faith with respect to the
exercise of its duties and obligations to the Plaintiff, including, but not limited to:

(A) Defendant failed to exercise the skill, care and knowledge required of a licensed
insurance carrier with respect to the investigation and handling of insurance claims;

(B) Defendant failed to investigate the Plaintiff’s claim in a prompt and thorough `

manner; and,

(C) Defendant intentionally ignored requests to pay the claim of insurance policy
coverage for the Plaintiff"s claims.

26. ` Defendant unilaterally selected Rimkus, a company with which Defendant has a
long~standing financial relationship, to test Plaintiff’s home. This goal-oriented company, not
surprisingly, denied the existence of sinkhole damage at.the Property, despite clear evidence to
the contrary.

27. Although Defendant was aware of Rimkus’ flawed findings, Defendant blindly
adopted Rimkus’ suggestion of no sinkhole damage to the Property in an intentional placement

of its own financial interests before JENNIFER HAAG’s interest in safeguarding her home.

Case 3:14-cv-Ol998 Document 1-1. Fi|iied 10/20/14 Page 9 of 98 Page|D #: 11

 

 

28. . Defendant has exhibited a pattern of conduct with regard to its claims handling
practices, which has resulted in repeated misconduct amounting to intentional or reckless bad
faith toward its insured. A history of court determinations and complaints of bad faith conduct
on_the part of Defendant has put Defendant on notice that its claims handling practices have
resulted in repeated incidents of bad faith. In spite of such notice, Defendant has intentionally or
recklessly or carelessly failed to correct its corporate policies-or otherwise train its personnel in
such a manner as to reduce or eliminate this misconduct

WHEREFORE, Plaintiff respectfully requests the Court to enter judgment against
Defendant for (i) actual damages; (i_i) costs, including expert fees; (iii) reasonable attorneys’ fees;
(iv) all general and special damages, including but not limited to the full cost of repair or
replacement of Plaintifi’.s home; (v) pre~judgment interest; (vi_) bad faith damages; and (vii) any
other relief as the Court deems just and appropriate Plaintiff prays for all relief and damages to
which they are entitled under the common law, including compensatory damages, punitive
damages, attorneys’ fees, and costs.

DEMAND FoR JURY TRIAL
Plaintiff demands a jury of twelve (12) persons to try all issues so triable in this matter

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and such further and general relief to which he may be entitled.

Respectfully submitted

By 71,/7/

Thompson Trial Gé)up, PA.
thom son cl tt law.com
”fBN: 25817
4725 North Lois Avenue
Tampa, Florida 33614-7046

' Telephonc: (813) 254»1800 _
Facsimile: (813) 254~] 844
Attorney for Plaintiff

 

Case 3:14-cv-01998 Document 1-1 Fi|éd 10/20/14 Page 10 of 98 Page|D #: 12

 

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lnsurance

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Case 3:14-cv-01998 Document age 11 of 98 Page|D #: 13

 

SELECITVE

lnsurance

 

 

 

POL|CY DOCUMENT

 

 

 

`H ,2187536

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Selective lnsurance
40 Wantage Avenue Branchvi|le
New jersey 07890
(973) 948-3000

Case 3:14-cv-01998 Document 1-1 Filed 10/20/14 Page 12 of 98 Page|D #: 14
INBURED'S CGPY

 

/»"

LlMITED FUNGI, WET OR DRY ROT, BACTERIA COVERAGE

ADVISORY NOTICE TO POLICYHOLDERS

THIS NOTICE DOES NOT PROVIDE COVERAGE NOR DOES THIS NOTICE REPLACE ANY
PROVISIONS OF YOUR POLICY. YOU SHOULD READ YOUR POLICY AND REVIEW YOUR
DECLARATIONS PAGE FOR COMPLETE INFORMATION ON THE COVERAGES YOU ARE
PROV]DED WITH. IF THERE IS ANY CONFLICT BETWEEN THE POLICY AND THIS NOTICE,
THE PROVISIONS OF THE POLICY SHALL.PREVAIL.

When thc limited fungi, wet or dry rot, or bacteria coverage endorsement is attached to your policy:

» The amount of property insurance available for loss to your property caused by "fungi", wet or dry rot,
or bacteria is reduced. Coverage is only provided for loss caused by "fungi", wet or dry rot, or bacteria
if such "fungi", wet or dry rot, or bacteria is the result of a covered peril. "Fungi" are defined in the
endorsement and include mold; and

`. Coverage is added for the testing of air or property to confirm the absence, presence or level of "fungi",
wet or dry rot, or bacterla; and

c The amount of liability insurance available for injury or damage arising directly or indirectly out of
"fungi", wet or dry rot, or bacteria is reduced.

SECTION l ~ PROPERTY COVERAGES

If "fuagi", wet or dry rot, or bacteria results from a covered peril\ancl damages your property, loss caused by such
"fungi",. wet or dry rot, or bacteria is covered. However, the amount of insurance available for such coverage is
limited to the amount specified on the endorsement (or if not on the endorsement, the Declarations page of your
policy.) ~

Coverage, up to the specified amount of insurancc, includes:
1. The cost to remove fungi, wet or dry rot, or bacteria Jdam covered property;

2. The cost to tear out and replace any part of the building or other covered property as needed to gain access to
the fungi, wet or dry rot, or bacteria; and

3. The cost of testing of air or property to confirm the absence, presence or level of fungi, wet cor dry rot, or
` bacteria whether performed prior to, during or after removalv repair, restoration or replacement. The cost of
sucb'testing will be provided only to'the extent that there'is a reasbn`to believe that fun`gi, wet or dry rot, or
bacteria is present

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NOTE'. Coverage' rs available ONLY if loss or costs results from a Pen'l Insured Agaiast that occurs during the -
policy period

Our Limit of Lia bility

We will provide up to $10,000 of coverage The limit is the most we will pay for the total of all loss or costs
payable regardless of the number of locations insured under your policy or the number of claims made.'

SECTIQN I.I -~ LIABILITY COVERAGE

We havelimited the amount of insurance available to you when a claim is made or a suit is brought against you by
another person alleging damages because of bodily injury or property damage arising directly or indirectly, in
whole or in part, out of the actuel, alleged or threatened inhalation of’, ingestion of, contact with, exposure to,
existence oi`, or presence of any fungi, wet or dry rot, or bacteria.

Previously, your liability coverage for damages caused by fungi, wet or dry rot, or bacteria was provided on an
occurrence basis The new limit of liability rs provided on an aggregate besis. This means that the limit for
liability coverage shown m the endorsement ($50, 000) rs the most we will pay for all damages resulting from the
total of all bodily injury or property damage, occurring during the entire policy period, that rs a result of fcngi, wet
or dry rot, or bacteria This aggregate limit is the most we will pay regardless of the number of locations insured
under the policy, number of persons injured, number cf persons whose property rs damaged, number ofiasureds, or
the number of occurrences or claims made against you.

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Case 3:14-0\/- -01998 Document1-1 Filed 10/20/14 Page 14 of 98 Page|D #g§ 16
NSURED'S CDPY

 

 

NGTICE!

THIS POLICY DOES NOT COVER
FLOOD LOSS

 

MOST PEOPLE DON'T TH!NK MUCH ABOUT FLOODS. HOWEVER, 90% OF ALL
DISASTERS IN THE U.S. `ARE FLOOD RELATED. ONE THIRD OF Al.L FLOOD LOSSES
OCCUR OUTSIDE GOVERNI\/]ENT IDENTIFIED SPECIAL FLOOD HA.ZARD AREAS.

 

FLOODS CAN HAPPEN ANYWHERE, ANYTBVH£. THEY CAUSE ANGUISH AND
DESTRUCTION -- PHYSICAL, EMOTIONAL AND FINANCIAL.

YOUR HON[EOWNERS POLICY DOES NOT PROV]DE COVERAGE FOR FLOODS. YOU
WILL NOT HAVE COVERAGE FGR PROPER'I`Y DAMAGE FROM FLOODS UNLESS
YOU TAKE STEPS TO PURCHASE A SEPARATE POLICY OF FLOOD [NSURANCE
AT AN ADDITIONAL PREMIUM FROM THE NATIONAL FLOOD INSURANCE
PROG`RAM, 42 U.S.C. SECTION 4002., et seq.

YQUR INDEPENDANT INSURANCE AGENT SHOULD BE CONSULTED TO OBTA]N
FURTHER INFORMATION ON OBTA]NING A FLOOD POLICY WITH. SELECTIVE
INSURANCE UNDER THE NATIONAL FLOOD INSURANCE PROGRAM.

Ifyou would like more information about obtaining flood insurance, please contact the Selective
lnsurance FloodDepartment at (877)~348-0552.

This notice does not expand or increase coverage in any homeowners policy or endorsement Thai 'policy and
accompanying endorsements remain subject to ali exclusions, limitations and conditions.

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li\/IPORTANT NOT|CE REGARD|NG AGENT COMPENSAT|ON

We sell our insurance products end services through appointed independent insurance agencies
and agents ("Agent" or “Agents"). Because Agents also generally represent several of our competi-
tors, our primary marketing strategy is tot .

» Develop close relationships with each Agent by (i) soliciting their feedback on products and ser-
vices, (ii) advising them concerning company developments and (iii) investing significant time
with them professionally and socially; and

- Deveiop with each Agent, and then carefully monitor, annual goals regarding (i) types and mix
of risks placed with'us, (ii) amounts of premium or numbers of policies placed with us. (iii) cus~
tomer service levels, and (iv) profitability of business placed with us.

We pay Agents commissions and other consideration for business placed with us (and we do not
authorize our Agents to receive other monies for our insurance). We seek to compensate our
Agents fairly and in a Way consistent With market practices

Our Agent compensation programs may include one or more of the following depending on the
Agent’s overall business relationship with us:

 

- Commission Payments. We pay commission based on a percentage of the premium the poli-
cyholder pays. The amount of commission varies depending on policy type, state location of
risk, and other factors

 

» Additional Commission Payments. We may pay additional and varying percentages of pre~
mium for attainment of certain goals we set with the Agent, including: l

o Profitebility, which we determine by comparing losses and expenses to premium;
o Volume, which ls the amount of premium written with us;

o Growth and Retention, which we measure by comparing premium volume or num-
ber of policies for overall or specific types of policies; or

o Annual Plan Perfonnance, which We measure according to performance standards
determined by us and the Agent

in certain oases, an Agent may put additional commissions at risk and become obligated to pay
us amounts if certain goals are not met.

. Expense Reimbursement. We may reimburse certain marketing and other expenses incurred
for placing business with us.

- Entertainment and Cther.’l'hings of Value. We may entertain or provide other things of value,
including travel and gratuities, to Agents who we believe provide exceptional value to our policy~ \
holders and shareholders

. Business Production incentive Programs. We may provide Agents or their employees oppor~
tunities to receive additional compensation (cash or contest prizes) for certain activities 'ortasks,\
such as placing specific types of policies with us or inputting data through one of our technology
systems

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Page 1 on

Case 3:14-cV-01998 Document 1-1 Filed 10/20/14 Page 16 of 98 Page|D #: 18

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v Loss Control Agreements. VVe may pay Agents a flat fee or a percentage of commission for
safety and loss control surveys, inspections accident or claim investigations

~ Agent Stock Purchase Plan. Certain of our Agents participate in a stock purchase plan that ai-
lows those Agents to purchase common stock in Selective insurance Group, lnc. at a 10% dis-
count to market and requires those agents to hold the stock for at least one year before they
can transfer lt. -

As supporters of the independent insurance agency distribution system, we may provide Agents
from time~to~time with tools and programs designed to preserve and strengthen the independent
agency distribution system, including assistance with producer recruitment and/or training, loans, 'or
loan guarantees These tools and programs, which may be experimental, are provided to assist our
Agents in the perpetuation of robust independent insurance agencies and‘are not conditioned on
the imposition cf extraordinary current ortuture production conditions

We also distribute our insurance products to a limited extent through select insurance brokers which
we compensate.with some ot the same compensation tools we use for Agents. if you have engaged
a broker to place insurance with us, please ask the broker if any of the above described compensa~
tlon arrangements are in effect with us.

Please direct‘questions regarding specitic compensation to your Agent.

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Case 3:14-cv-01998 Document 1-1 Filed 10/20/14 Page 17 of 98 PagelD #: 19

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HOMEOWNERS CONTINUCUS POLICY DECLARA’I'IONS

SELECTIVE INSURRNCE COMPANY OF BOUTH CAROLINA
3426 TORINGDON WAY STE 200
CHARLOTTE, N.C. 28277

H 2187536
01A TN

00-41040-00000

Nnmcri lnsuer nnd Mniling Addrcss
JENNIFER HAAG

107 CHE¥ENNE DR
BENDERSDNVILLE, TN 37075-*4610
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09/20/2012¢0 09/20/2013
12:01 A.M. Strmdnrd Time
At The Rcstdence Premises

 

 

 

AGENT£ BILL ACCT. NO.: 794413959
GENY INSURKNCE AGENCY INC . l .

992 DAVIDSON DR

NRSHVILLE, TN 37205--1051 615“356~3212

THE RESIDENCE PRBMISBS COVERED BY THIB POLICY IS LOCATED AT THE ABCVE ADDRESB
UNLEBS OTHERWISE STATED BELOW.

COVERAGE IS PROVIDED WHERE A P§§BTEK OR LIMIT
OF LIAHILIT! IS SHOWN FOR THE COVERAGE.

 

§ECTION I COVBRAGES LIMIT OF LIABILITY PREMIUMW
A. DWELLING $ 250,000

B. OTHBR STRUCTURES $ 25,000
C. PERSDNAL PROPERTY $ 187,500

 

D. LOSS OF USE $ SEE HELOW
SECTION I PREMIUM $ 741.00
SECTION II COVERAGES AND LIMITS OF LIABILITY
X. PBRSONAL LIABILITY 300,000 EACB OCCURRENCE INCLUDED
F. MEDICAL PAYHE§TS TO OTHERS 5,000 BACB PERSON INCLUDED
ADDITIONAL COVERAGES (SEB "REHARKB“ SECTIDN FDR DETAILB) ‘ $ 53.00
TOTAL COMBINED PREMIUM $ 794.00
SECTIQN I - DBDUCTIBEE§ KTRCLUDED IN BECTXON I PRBMIUM) n

$ 1000 ALL PERILS

IN CASE OF LOSS UNDER SECTION 11 WE COVER ONLY THAT PART OF THE LDBB OVER THE
DEDUCTIBLE(B) BTATED.

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FORM: HO 00 05 10 00

ENDORSEMENT(B): BO 01 41 12 01 HO 04 56 10 00 F~1148 (09-02)
MISClSB7 (10-05) MISC»798 (05~01 MISClEOO (05-00)
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HO 04 27 04 02 F-1213 (11~07) HO 05 80 10 00
HO 24 82 04 02 BD 04 50 10 00 F-1305 (03~10)
HO 25 99 01 07 F~1217 ` (00-11)

 

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THE FOLLOWING ITEMS ARE INCLUDED IN YDUR SBCTION I PREMIUM UNLESS OTHERWISE
STATED. '~

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issuing Dutc 08/17/2012

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HOMEOWNERS CONTIN'UOUS POLICY DECLARATIONS

SELECTIVE INBURANCE COMPANY OF SOUTH CAROLINK

H 2197536
3426 TORINGDON WA¥ BTE 200
CHARLOTTE, N.C. 28277 OIA TN
00»41040~00000

Nr\murl insured nan Mniiing Alldrnss
JENNIFER HAAG

107 caeyamrs bn _
assomsonv:z.r.a, our 37075--4510

   

09/20/2012 w 09/20/2013
12: 01 A. M. Stnndnrd Time
At The Residcnce Premiscs

 

 

 

 

 

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Is ATTACHED.

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ao 04 53, cREnIT cARD, FcND TRANSFER cARD oR AccEss osvrce,

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eo 24 ez; PERsoNAL xNUcRY, rs ATTACHED, ' ~ INCLVDBD
no 04 90, PEReoNnL PROPERTY REPLAOEMENT coeT, rs ATTACHED. INCLUDED
F~laos, wATeR BAQKUP AND some ovanFLow rs ATTACHEu. s 17.00

LIMIT cF plaa:LmTY le s 15,000. A nEoucTIeLe.oF $250.00 AFFLIES.
ec 25 99, eINKHoLE nose covERAea ~ TENNESSEE s 19.00

F~1217 SUMMIT CLASSIC HOMEOWNERB BNDDRSEMENT, IS ATTACHED. lNCLUDED

COETTNEOEB RENEWAL PEKN

l. THE POLICY PERIOD SHALL BB AB INDICATED AND FOR SUCCEBSIVE PDLICY TERMS AS
STATED BELDW.

2. IF WE ELEGT TO CONTINUE THIS INSURANCE, WE WILL RENEW THIS POLICY IF YOU PAY
THE REQUIRED RENEWAL PREMIUM WHEN DUE FOR EACH BUCCESSIVE POLICY PERIOD,
SUBJECT'TO OUR PRBMIUMS, RULEB AN® FDRMS THEN IN EFFECT»

3. IF A MORTGAGEE IS NAMED'XN THIS FOLICY, WE WXLL CONTINUE THIS INBURANCE FOR
THE MORTGAGEE'S INTEREST FOR TEN DAYS'AFTER WRITTBN NOTICE OF TERMINATION TO
THE MORTGAGEE AND THEN THIS PDLICY WILL TERMINATE.

alex LocKTIEN RATINe 1NFoRMKTiBN***
Yoo escape IN A anlcx oN FRAME TowNHocsa on now zones wear ana 1 FAMILY san
FIRE prv:son. IT re LocATEc wzmalN 1000 FEET oF A F:RB BYDRANT AND wITHIN
1 MILE oF A FIRE sTAT:oN. ITs YBAR oF coNaTRuchoN Is 1979. mae TowNaonsE on
now neese rs YovR PRIHARY RESIDENCE. YoUR FIRE DmsTnIcT Is HENDEReoNvILLE.

THE ZIP CODE UBED FOR THE PURFOSE QF RATING THIB POLICY IS 37075~4610,
THE COUNTY IS BUMNER, AND THE PROTECTION CLASS IS 04, AND THE CITY/COUNTY
CODE IB 0180*030, AND THE BUILDING CODE EFFECTIVENESS GRADING CODE IS 99.

 

 

 

 

RESIDENCE P S IS NDT SEASONAL) B NO BUSINESS SUITS
CONDUCTED ON THE RESIDENCE PRENISEB; (C) THE' RESIDENCE PREMISEB IS THE ONLY
PREMISES WHERB YOU MLINTAIN A RESIDENCE OTHER THAN BUSINESS OR FARM PROPERTIES;
(D) THE INSURBD HAS NO FULL TIME RESIDENCE EMPLOYEES; (E) THE INSURED HAS NO "
OUTBOARD MOTQR(S) OR WATERCRAFT OTHERNISE BXCLUDED UNDER THIS POLICY FOR
WHICH COVERAGE IS DEBIRED.

EXCEPTIDNS, IF ANY TO (A); tB), (C), (D), OR (E): NONE

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HON|EOWNERS 5 - COMPREHENS|VE FORNi

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AGREEMENT (4) lviotor vegicle means a "motor vehicie”
`sdiie l 7.blw.

we win provide the insurance described in this policy rn a e n " e°

return for the premium and compliance with all applica~ 2. “Bodily injury" means bodily harrn, sickness or

ble provisions cf this poitcy.
DEFIN|TIONS

disease, including required cere, loss of ser-
vices and death that results.

' 3. l7‘Eiuslness"mearts:
A. in this policy, "you" and "your" refer to the “named '

insured" shown in the Deolaralions and the spouse

a. A lrade, profession or occupation engaged
if a resident of the same household “We”, "us" end

in on a fuii~time, part-time or occasional ba~

“our” refer to the Company providing this insurance sis; or
B. in addition, certain words end phrases are defined » b. Any other activity engaged in for money or
as follows: other compensation except the following:

'i. “Alrcreft Liability", “Hovercreft Llability", "iviotor (1) One or more activities. not described in

 

Vehlcle Llabillty" and “Watercraft Liabiilty", sub~
lest lo the provisions in b. below, mean the fol~
lowtng:

a. l_labillty for "bodiiy ln]ury" or "property dam~
age" arising out of ther

(1) Ownershlp of such vehicle or craft by
an “lnsured”;

(2) Maintenence. occupancy, operation.
use. loading or unloading of such vehl~
cie or craft by any person;

(3) Entrustrnent of such vehicle or craft by
en "lnsured" to any person;

(4) Eailure to supervise or negligent super-
vision of any person involving such ve»
hlcle or craft by en “insured"; or

(5) Vlcarlous llebliity, whether or not lm~
posed by iew, for the actions cfa child
or minor involving such vehicle or craft.

b. For the purpose of this definition:

(1) Aircraft means any contrivance used or
designed for flight except model or
hobby aircraft not used or designed to
carry people or cargo;

.(2) i~iovercraft means a self~propeiied mo-
ton‘zed ground effect vehicle end in-
cludes, but is not limited to, ttareoraft
end air cushion vehicles; .

(3) Watercreft means a craft principally de-
signed to be propelled on or in water
by wind, engine power or electric mo-
tor; and

(2) through (4) beiow, for which no “in- »

sured" receives more than $2.000 in to-
tal compensation for the 12 months be~
fore the beginning of the policy period;

(2) Voiunteer activities for which no money
is received other than payment for e`x-
penses incurred to perform the activity;

(3) Provlding home day care services for
which no compensation is received,
other than the mutual exchange of
~ such services; or

(4) The rendering\of home day care ser-

vices to a relative of an “lnsured”.

“Ernployee" means an employee of an “in.» .
' sured", or an employee leesed~to an tinsurecl“

by a labor leasing hrrn under an agreement be-
tween en “insured" and the labor leasing iirm,
Whose duties are other than those performed
by a "residence employee".

“lnsured" means:

a. You and residents of your household who
are: ' r '

(1) Your reiatives; or

(2) other persons under the age cf 21 end
"ln 'the oare"of any person named
above;

b. A student enrolled ln school full iima,_ as ‘

defined by the school, who was a resident
of your household before moving out to et»
tend school. provided the student is under
the age of: '

/.

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r_».s,.,`

(i) 24 and your relative; or

(2) 21 end in your care or the care of a
person described in a.(i) above; or

c. Under'Section li:

(1) With respect to animals or watercraft to
which this policy applies. any person or
organization legally responsible for
these animals or watercraft which are
owned by you or any person included
in a. or b. above. "|nsured" does not
mean a person or organization using or
having custody of these animals or wa~
tercraft in the course of any "buslness"
or without consent of the owner~, or

(2) With respect to a "motor vehicle“ to
Whlch this policy applies:

(a) Persons while engaged in your
employ or that of any person ln-
cluded tn or a. or b. above; or

(b) Other persons using the vehicle on
an "lnsured location" with your con-
sent

Under both Sections l and ll, when the word an
immediately precedes the word “insured", the
words an "lnsured" together mean one or more
“insureds".

. ~“insured location” means:
a. The uresidence premises”;

b. The part of other premises, other structures
and grounds used by you as a residence;
and l

(1) Whlch is shown in the Declarations; or

(2) Which is acquired by you during the
policy period for your use as a resl~
dence;

c. Any premises used by you in connection
with a premises described ln a. and b.
..at)ove; ...... ....\

ci. Any part of a premises:
(1) Not owned by an "insured"; and

(2) Where an “insured” is temporarily re-
sldlng;

e. Vacant land, other than farm land, owned
by or rented to an “insured";

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f. Land owned by or rented to en “insured" on
which a one. two, three or four family dwell-
ing is being built as a residence for an "in~.
sured";' ~

g. individual or family cemetery plots or burial
vau|ts of an "lnsured"'. or

h. Any part of a premises occasionally rented
to an "insured" for other than "busin'ess"
US€.

“Niotor vehlcie" means:

a. A seif~propeiled land or amphibious vehi~
cle; or

b. Any trailer or semitrailer which is being cer~
ried on, towed by or hitched for towing by a
vehicle described in a. above.

"Occurrence" means an accident, including
continuous or repeated exposure to substan-
tialiy the same general harmful conditions,
which results, during the policy period, ln:

a. "Eodiiylnjury";or
b. ”Property damage".

“Property damage“ means physical injury to,
destruction of, or loss of use of tangible prop~
erty. -

"Resldence employee" means:

a. An employee of an “insured"l or an em~
pioyee leased to an “lnsured" by a labor
leasing tirm, under an agreement between
an “insured" and the labor leasing tirm,
whose duties are related to the mainte~
nance or use of the "residence premises",

including household or domestic services;

or l

b. One who performs similar duties elsewhere
not related to the “business" of an "ln-
sured“.

A “residence employee" does not include a

temporary employee who is furnished to an “in-

sured" to substitute for a permanent “residenoe
employee" on leave or to meet seasonal or
short~term workload conditions

11. “Resldance premises” means:

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a: The one family dwelling where you reside;

b. The two. three or four family dwelling
where you reside in at least one of the
family units'. or

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c. That part of any other building where you
reside;

and which is shown as the “residence prem-
lses" in the Deciaratlons.

“Resldence premises" also includes other
structures and grounds at that location.

DEDUCT|BLE

Uniess otherwise noted in this poiicy, the following de~
ductibie provision applies:

Subieci to the policy limits that apply. we will pay only
that part of the total of all loss payable under Section l
that exceeds the deductible amount shown in the Dec-
iarations.

SECT|ON l »-- PROPERTY COVERAGES
A. Coverege A »~ Dwelling
1. We cover:

a. The dwelling on the “resldence premises”
shown in the Declarations, including struc~
tures attached to the dwelling; and

b. Materlais and supplies located on or next
to the “resldence premises" used to con»
struct, alter or repair the dwelling or other
stn.lctures on the nresidence premises".

2. We do not cover land, including land on which
the dwelling is iocated.

B. Coverage B -- Other Structures

'l. We cover other structures on the “reeldence
premises" set apart from the dwelling by clear
spaoe. This includes structures connected to
the dwelling by only a fence, utility llne, or simi-
lar connection

2. We do not ccver:

a. _l.and, including land on which the other
structures are located;

b. Other structures rented or held for rental to
. any person not a tenant of the dwelling.
unless used solely as a private garage;

c. Olher structures from which any "buslness"
is conducted; or

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d. Other structures used to store “buslness"`
property. iiowever, we do cover a structure
that contains nbusiness" property solely
owned by an uinsured" or a tenant of the
dwelling provided that “business" progeny
does not include gaseous or liquid fuel.
other than fuel in a permanently installed
fuei_tank of a vehicle or craft parked or
stored in the structure

The limit of liability for this coverage will not be
more than 'lO% of the limit of liability that ap~
piles to Coverage A. Use of this coverage does
not reduce the Covarage A limit of liability.

C. Coverage C -- Personal Property

,'i.

'2’

Covered Property

We cover personal property owned or used by
an "lnsured" while it is anywhere in the world.
After a loss and at your requestl we will cover
personal property owned by:

a. Others while the property is on the part of
the "resldence premises“ occupied by an
"insured"; or -

b', A guest or a “residence employee", while
the property is in any residence occupied
by an "lnsured".

Limit For Property At Other Residencas

Our limit of liability for personal property usually

located at an “lnsurecl’s" residencel other than.
the “resldence premises", is 'lO% of the limit of

liability for Coveraga C, or $1,000, whichever is

greater. However. this limitation does not apply

to personal property:

a. i\/loved from the "resldence premises" be-
cause lt-is being repaired. renovated or re-
built and is not tit to live in or store property
in; or

b. in a newly acquired principal residence for
30 days from the time you begin to move
the property there.

Special Limits Of Liability "

The special limit for each category shown be~
low is the total limit for each loss for all property '
in that category. 'i'hese special limits do not ln~
crease the Coverage C limit of iiablllty.

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c.'

$200 on money, bank notes, bullion, gold
other than goldware. silver other than sil~
verware, platinum other than platinumware,
coins, medals, scrip, stored value cards
and smart cards.

$1,500 on securities accounts, deeds, evi-
dences cf debt, letters of credit, notes other
than bank notes, manuscripts, personal re-
cords, passports, tickets and stamps This
dollar limit applies to these categories re-
gardless of the medium (such as paper or
computer software) on Whlch,the material
exists. '

This limit includes the cost to research, re~
place or restore the information from the
lost or damaged materiai.

$1,500 on watercraft of ali types, including
their trailers. fumishlngs, equipment and
outboard engines or motors.

$1,500 on trailers or sami-trailers not used
With Watercraft of ali types

$1,500 for loss by theft. misplacing or ios-
ing of jewelry. watches. furs, precious and
semlprecious stones.

$2,500 for loss b'y theft. misplaclng or
losing oftireanns and related equipment

$2,500 for loss by theft, misplacing or los~-

ing of silverware, silver~plated ware. goid~
ware. gold-plated ware, platinumware,
pletinum-piated ware and pewterware. This
includes fiatware, hollowwarel tea sets,
trays and trophies made of or including sil-
ver,'goid or pewter.

$2,500 on property. on the ”resldence
premises", used primarily for “buslness"
purposes

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Accessories include antennas, tapes,
wires, records, discs or other media that
can be used with any apparatus described
in this Category j.

$1,500 on electronic apparatus and acces-
sories used primarily for “business" while
away from the "residence premises" and
not in or upon a "motor vehlcie". The appa-

ratus must be equipped to be operated by

power from the °motor vehicie's" electrical
system while still capable of being oper~
ated by other power sourcesh

Accessories include antennas, tapes,
wires, records, discs or other media that
can be used with any apparatus described
in this Category k.

4. Property Not Covered
We do not cover:

a.

$500 on property, away from the “resl~ .

dance premises°, used primarily for "busi~
ness“ purposes i~lowever, this limit does
not apply to loss to electronic apparatus
and other property described in Categories
j. and k. beiow.

$1.500 on electronic apparatus and acces-
sories. while in or upon a "motor vehicle".
but only if the apparatus is equipped to be
operated by power from the "motor vehi-
cle's" electrical system Whlie still capable of
being operated by other power sources.

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Articles separately described and specifi-
cally insured, regardless of the limit for
which they are insured. in this or other ln-
surance;

Anlmals, birds or fish;
“iviotor vehicles”.
(1) This lnciudes:

(a) Their accessories, equipment and
parts; or

(b) Eiectronlc apparatus and accesso-
ries designed to be operated solely
by power from the electrical sys~
tem of the “motor vehicle". Acces-
series include antennas, tapes.
wlres, records, discs or other me~
dla that can be used with any ap~
paretus described above.

The exclusion of property described in
(a) and (b) above applies only while
such property is in or upon the “motor
raise . ..

(2) We do cover “motor vehicles" not re~
quired to be registered for use on pub-
lic roads or property which are:

(a) t~Jsed solely to service an “in-
sured's" residence; or

(b) Deslgned to assist the handl-
capped;

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Page 23 of 98 Pagei[i?d@&é cf 26

 

 

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k.

Alrcraft meaning any contrivance used or
designed for flight including any parts
whether or not attached to the aircraft

We do cover model or hobby aircraft not

used or designed to carry people or cargc; ~

i-lovercraft and parts. Hovercraft means a
self-propelled motorized ground effect vehl~
cie and lnciudes, but is not limited to, ilare~
craft and air cushion vehicles;

Property of roomers, boarders and other
tenants, except property of roomers and
boarders related to an “lnsured";

. Property in an apartment regularly rented

or held for rental to others by an “lnsured”

except as provided under E10. Landlord’ s

Furnlshings under Seclion l - Property
. Coverages'.

Property rented or held for rental to others `

off the “resldence premises”‘ ,

"Busirless" daia, including such data stored
ln:

('i) E`iooks of account, drawings or other
paper records; or'

(2) domputers and related equipment

We do cover the cost of blank recording or
storage medie, and of prereoorded com~
puter programs available on the retail mar-
ket;

Credlt oards, electronic fund transfer cards
or access devices used solely for deposit.
withdrawal or transfer of funds except as
provided in E.6. Credit Card, Eiectronlc
Fund Transfer Card Or Access Davlce.
Fcrgery And Counterfeit Money under Sec-
lion l--`Prt')perty Coverages; or

Water or steam.

D. Coverage D - Lcss` Of Use

The limit of liability for Coverage D is the total limit
for the coverages in 1. Additionai Living Expense.
2. Fair Rental Veiue and 3. Civii Authority Prohiblts
Use below.

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‘l. Additional Living Expense

` if a loss covered under Section l makes that
part ol‘ the “residence premises" where you re~
side not tit to live in, we cover any necessary
increase in living expenses incurred by you so
that your household can maintain its normal
standard of iivlng.

Payment will be for the shortest tl_rne required
to repair or replace the damage or, if you per~
manently relocate. the shortest time required
for your household to settle elsewhere

2. Fair Rental Value

if a loss covered under Seotlon l makes that
part of the “residence premises” rented to olh~
ere or held for rental by you not iit to live ln, we
cover the fair rental value of such premises
less any expenses that dc not continue while it
is not iii to live in.

Payment will be for the shortest time required
to repair or replace such premises

3. Civll Authorify PrDthltS Use

if a civil authority prohibits you from use of the
"resldence premises" as a result of direct dam~
`age to neighboring premises by a Perii insured
Against we cover the loss as provided in 'l.
Addltlonal leing E)<pense and 2. Falr Rental
Value above for no more then two weeks

4. Loss Or Expense Not Covered

We do not cover loss or expense due to can-
cellatlon of a lease or agreement

The periods of time under 'i'. Addltiona| letng Ex-
pense, 2. Falr Rental Value end 3. Civii Auihority
Prohlblts Use above are not limited by expiration of
this policy.

E. AdditionaiCoverages
'i. Debris Removal

a. We will pay your reasonable expense for
the removal of: ..

(1) Debris of covered property if a Peri| ln~
sured Agalnst that applies to the dams
aged property causes the ioss; or

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(2) Aeh, dust or particles from a volcanic
eruption that has caused direct loss to
a building or property contained in a
building

This expense is included in the limit of li-
ability that applies to the damaged prop»
erty. if the amount to be paid for the actual
damage to the property plus the debris re-
moval expense is more than the limit of li-
ability for the damaged property, an addi-
llonal 5% of that limit ls available for such
expensel

b. We will also pay your reasonable expense,
up lo $1.000, for the removal from the
“residence premises" of‘.

(1) Your tree(s) failed by the peril of Wlnd-
storm or Hail or Welght of ice, Snow or
Sleet; or

(2) A nelghbor's`tree(s) felied by a Peril ln-
sured Against;

provided the tree(s):
(3) Damaga(s) a covered structure; or

. (4) Does not damage a covered structure,
butz

(a) Block(s) a driveway on the “resi~
dance premises" which prevent(s)
a "motor vehicie". that is registered
for use on public roads or property,
from entering or leaving the "resi~
dance premises"; cr

(b) Biock(s) a ramp or other fixture de-
signed to assist a handicapped
person to enter or leave the dwell-
ing bullding.

The $i, 000 limit is the most we will pay in
any one loss regardless of the number of
fallen trees. No more than $500 of this limit
will be paid for the removal of any one tree

This coverage ls additionallns'urance._

2. Reasonable Repalrs

a. We will pay the reasonable cost incurred
by you for the necessary measures taken
solely to protect covered property that is
damaged by a Peril insured Agalnst from
further damage. .

,.~…"
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b. if the measures taken involve repair to
other damaged property, we will only pay if
that property is covered under this policy
and the damage is caused by a Perll ln-
sured Agalnsi. This coverage does not:

(1) increase the limit of liability that applies
to the covered property; or

(2) Relleve you of your duties. in case of a
' loss to covered property, described in
B 4. under Sectlon l ~ Conditions.

3. Trees, Shrubs And Other Plants

We cover trees. shrubsl plants or iawnsl on the
“resldence premises", for loss caused by the
following Perils insured Against:

a. - Flre or t.lghtning;
b. Explosion;
c. Rlot or Civii Commotloni '

.d. .Alrcraft;

e. Vehlcles not owned or operated by a resi»
dent of the “resldence premises“',

f. Vandalism or Maiicious Nlischief; or
g. Theft.

We will pay up to 5% of the limit of liability that
applies to the dwelling for all trees, shmbs,
plants or lawns. No more than $500 of this limit
will be paid for any one tree, shmb or plant. We
do not cover property grown for “buslness" pur~
poses.

This coverage is additional insurance.
Fire Departmant Service Charge

We Will pay up to $500 for your liability as~
sumed by contractor agreement for fire depart~

`ment charges incurred when the fire depart-

ment ls called to save or protect covered prop~
erty from a Perli insured Against We do not
cover fire department service charges ii the

property is located within the limits of the oity,

municipality or protection district furnishing the
tire department response

This coverage is additional insurance No de~
ductibie applies to this coverage

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5. Proparty Removed

We insure covered property against direct loss ‘

from any cause while being removed from a
premises endangered by a Perli insured
Against and for no more than 30 days while re-
moved.

This coverage does not change the limit of li-
ability that applies to the property being re-
moved. '

Credlt Card, Eiectronic Fund Transfer Card
Or Access Device, Forgery And Counterfeit
iiiioney

a. We will pay up to $500 for:

(1) The legal obligation of an` ”insured" to
pay because of the theft or unauthor-
ized use of credit cards issued to or
registered in an "insured’s“ name;

(2) Loss resulting from theft or unauthor~
ized use of an electronic fund transfer
card or access device used for deposit,
withdrawal or transfer of funds, issued
to or registered in an 'finsured's” name;

(3) Loss to an “lnsured" caused by forgery
_ or alteration of any check cr negotiable
lnstrument; and

(4) Loss to an “insured” through accep-
tance in good faith of counterfeit United
States or Canadian paper currency.

All loss resulting from a series of acts corn~
mitted by any one person or in which any
one person is concerned or implicated is
considered to be one i_oss.

This coverage is additional lnsurance.' No
deductible applies to this ooverage.

b. We do not covert

(1) Use of a credit card. electronic fund
transfer card or access device:

(aj By a resident of your househoid;
(b) By a person who has been en~

trdsted with either type of card cr d

access device; or

(c) if an “insured” has not compiled
with all terms and conditions under
which the cards are issued or the
devices accessed; or

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(2) Loss arising out of “business" use or
dishonesty of an "insured"

c. lfthe coverage in at above applies, the fol»
iowan defense provisions also apply:

(1) We may investigate and settle any
claim or suit that we decide is approprl~
ate Our duty to defend a claim or suit

ends when the amount we pay for the .

loss equals our limit of llability.

(2) if a suit is brought against an “lnsured"
for liability under a.(t) or (2) above, we
will provide a defense at our expense
by counsel of our choice.

(3) We have the option ~to defend at our
expense an "lnsured" or an "lnsured's"
bank~ against any suit for the enforce~
ment of payment under a.(S) above.

7. Loss Assessment

a. We will pay up to $i.000 for your share of
loss assessment charged during the policy
' period against you. as owner or tenant of

the “residence premises“, by a corporation '

or association of property owners. The as~
easement must be made as a result of dl-
rect loss to property, owned by all mem-
bers collectiveiy, of the type that would be
covered by this policy if owned by you,
caused by a Perii insured Against, other
t an:

('i) Earthquake; or

(2) Land shock waves or tremors before,
during or after a vo`icanic eruptlcn.

The limit or $1,000 is the most we will pay

with respect to any one ioss, regardless of.

the number of assessments We will only
apply one deductible, per unit, to the total
amount of any one loss to the property de~

, scribed above. regardless of the number of
assessments

b, A,We do not cover assessments charged
against you cr a corporation or association
of dproperty owners by any governmental
bod y.

c. Paragraph P. Policy Pericd under Section
l-- Conditions does not apply to this cov-
erage.

This coverage is additional lnsurance.

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8. Collapse

a.

b\

This Additionai Coverage applies to prop~.

erty covered under Coverages A and B
With respect to this Additional Coverage:

(1) Coiiapse means an abrupt falling down
or saving in of a building or any part of
a building with the result that the build-
ing or part of the building cannot be oc-
cupied for its current intended purpose

(2) A building or any part of a building that
is in danger of falling down or caving in
is not considered to be in a state of coi~
iapse.

not considered to be in a state of col-
lapse even lf lt has separated from an~
other part of the building.

(4) A building cr any part of a building that
is standing is not considered to be in a
state of collapse even if it shows evi~
dence of cracking, bulging, sagglng,
bending. ieanlng, settling, shrinkage or
expansion

We insure for direct physical loss to cov-
ered property involving collapse of a bui|d~
ing or any part of a building if the collapse

" was caused by one or more of the follow-

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lng:

(1) The Peri|s insured Agalnst under Cov~
erages A and B',

(2) Decay that is hidden from view. unless
the presence of such decay is known
to an “insur_ed" prior to collapse;

(3) insect or vermln damage that is hidden
from view, unless the presence of such
damage is known to an "lnsured" prior
to collapse;

(4) Weight of contenis, equipment. enl-
male or peopie;

(5) Weight `of rain which collects on a roof;
or

(6) Use of defective material or methods in
construction. remodeling or renovation
if the collapse occurs during the course
of the construction, remodeling or reno-
vatlon.

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Loss to an awning, fence, patio. deck,
pavement, swimming pooll underground
pipe, tlue, drain, cesspool, septic tank.
toundeiion. retaining waii, bulkhead, piar,
Wharf or dock is not included under b.(2)
through (6) above, unless the loss is a dl~
rect result of the collapse of a building or
any part of a building

This coverage does not increase the limit
of liability that applies to the damaged cov-
ered property.

9. Glass Or Safety Glazing Material

a.

‘(3) A part of a building that is standing is

b.

. l3)

We coven

(1) The breakage of glass or safety glazing
material which is part of a covered
building, storm door or storm window;

(2) The breakage of glass or safety glazing
material which is part of a covered
building. storm door or storm window
when caused directly by earth move- .
mentz end

The direct physical loss to covered

property caused solely by the pieces, `

-fragments or splinters of broken glass

`or safety glazing material which is part

at a bullding. storm 'door or storm win-
ow.

This coverage does not include loss:

‘ ('l) To covered property Whlch results be-

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cause the glass or safety glazing mate~
rial has been broken, except as pro~
vided in a.(3) above; or

(2) On the ”residenoe premises" if the
dwelling has been vacant for more than
60 consecutive days immediately be-
fore the ioss, except when the break-
age results directly from earth move-
ment as provided in a.(2) above. A
dwelling being constructed ls not con-
sidered vacant

'"i`his'coverage`does not increase the limit
of liability that applies to the damaged
property.

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10. Lancilord's Furnishings

We will pay up to $2,500 for your appliances
carpeting and other household furnishings, in
each apartment on the l*resldence premises"
regularly rented or held for rental to others by
an “insured", for loss caused only by the folicw»
ing Perils insured Agalnst:

Fire Or Lightning
b. Wmdstorm Or Hail

This peril includes loss to watercraft of all
types and their trailers. iurnlshings. equip-
ment, and outbo'ard engines or motors,
only while inside a fully enclosed building.

This peril does not include loss to the prop~
erty contained in a building caused by rain.
snow, sleet, sand or dust unless the direct
force of wind or hall damages the building
causing an opening in a roof or wall and
the raln, snow. sieet, sand or dust enters
through this opening.

Explosion ,
d. Riot Or Civii Commotion
e. Alrcraft

This peril includes self-propelled missiles
and spacecratt.

f. Vehicles
g. Smoke

This peril means sudden and accidental
damage from smoke, including the emis~
sion or puifback of smoke, soot, fumes or
vapors from a boller. furnace or related
equipment

This peril does not include loss caused by

smoke from agricultural smudglng or indus~
trial operations .

h. Vandalism Or Malicicus i\liischief
i. ' 'Fai|ing Objects

This peril does not include loss to property
contained in a building unless the roof or
an outside wall of the building is first dam~

aged by a falling object Damage to the fai-‘

ling object itself is not lnciudeci,.

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Weight Of ice, Snow Or Sieet

This peril means weight cf icel snow or
sieet which causes damage to property
contained in a building

Accidental Discharge Or Overfiow Cf
Water Or Steam

(1) This peril means accidental discharge
or overilow of water or steam from
within a plumbing, heating. air condi-
tioning or automatic fire protective
sprinkler system or from within a
household appliance

(2) This peril does not include ioss:

(a) To the system or appliance from
which the water oi‘ steam escaped;

(b) Caused by or resulting from freez~
ing except as provided in m.
Freezing beiow;

(c) On the ”residenca premises”
caused by accidental discharge or
overflow which occurs off the “resi~
dance premises"; or

y(d) Cause'd by moid, fungus or wet rot
unless hidden within the walls or,
ceilings or beneath the floors or`
above the ceilings of a structure

(3) ln this peril, a plumbing system or
household appliance does not include
a sump, sump pump or related equip-
mentor a roof draln, gutter. downspout
or similar fixtures or equipment

Sudden And Accidental Tearing Apart,
Cracking. Burning Or Bulging'

This peril means sudden and accidental
tearing apart,' cracking. burning or bulging
of a steam or hot water heating system, an
air conditioning cr automatic fire protective
sprinkler system, or an appliance for heat-
ing weiss _

We do not cover loss caused b`y or result-
ing from freezing under this peril.

Page 28 of 98 Pag§|%%gg 102 22

 

rn. Freezing

_ ('i') This peril means freezing of a plumb-
lng. heating. air conditioning or auto-
matic tire protective sprinkler system or
of a household appliance but only if
you have used reasonable care to:

(a) l\/iaintain heat in the building; or

(b) Shut off the water supply and drain
ali systems and appliances ci wa-
ter.

However. if the building is protected by
an automatic tire protective sprinkler
system, you must use reasonable care
to continue the water supply and main~
tain heat in the building for coverage to
apply.

(2) in this peril, a plumbing system or
household appliance does not include
a sump, sump pump or related equip-
mentor a roof draln, gutier, downspout
or similar iixtures cr equipment

n. Sudden And Accidental Damage From
Artificiaily Generated Electrlcal Current

This peril does not include loss to tubes.
transistors. electronic components or cir~
cuitry that are a part of appliancesl tixtures,
computers, home entertainment units or
other types of electronic apparatus

o. Vcicanic Eruption

This peril does not include loss caused`l)y
earthquake, land shock waves or tremors.

This limit is the most we will pay in any one
loss regardless of the number of appliances,
carpeting or other household fumishings in-
volved in the ioss.

This coverage does not increase the limit of li-
ability applying to the damaged property.

11. Ordinance Or Lew

a. You may use up'tc 10% cfthe limit oillabll~
lty that applies to Coverage A for the in~
creased costs you incur due to the eniorce~
ment of any ordinance cr law which re~
quires or regulates: '

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" "‘:~`

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(1) The construction, demolition, remodel-
ing. renovation or repair of that part of
a covered building or other stmcture
damaged by a Peril insured Against;

(2) The demolition and reconstruction cf
the undamaged part of a covered build-
ing or other structure, when that build-
ing or other structure must be totally
demolished because cf damage by a
Perii insured Against to another part of
that covered building or other structure;
or

(3) The remodeling, removal or replace-
ment ot the portion of the undamaged
part of a covered building or other
structure necessary to complete the re-
_modeling. repair cr replacementh that
part of the covered building or other
structure damaged by a Perii insured
Against

You may use all or part of this ordinance or
law coverage to pay for the increased costs
you incur to remove debris resulting from
the construction, demolitionl remodeling.
renovation, repair or replacement of prop»
erty as stated in a. above.

We do not covert

(i) The ioss in value to any covered bulid~
ing or other structure due to the re-
quirements of any ordinance or law; or

(2) The costs to comply with any ordi~
nance or law which requires any “in~
sured" or oihers, to test for. monitorl
clean up. remove, contaln. treat, detox~
lfy or neutralize. or in any way respond
to. or assess the effects of, pollutants
in or on any covered building or other
structure

Poliutants means any soild, liquid.
gaseous or thermal irritant or contami~
nant, including smoke, vapor, soot,
.iumes, acids, _alkaiis, chemicals and‘
waste. Waste includes materials to be
recycled, reconditioned or reclaimedl

This coverage is additional insurance

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12. Grave Markers

We will pay up to $5,000 for grave markers, in-
ciudlng mausoleums, on or away from the
“residence premises” for loss caused by a Perl|
insured Agalnst.

This coverage does not increase the limits of
liability that apply to the damaged covered
property.

SECTION l - PERlLS |NSURED AGAlNST

We insure against risk of direct physical loss to prop-
erty described in Coverages A, B and C.

We do not lnsure. however, for loss:

A. Under Coverages A, B and C:
1. Excluded under Section l- Exclusions;
2. Caused by:

a. Freezlng of a piumblng. heating, air condi-
tioning or automatic fire protective sprinkler
system or of a household appliance, or by
dlscharge, leakage or overflow from within
the system or appliance caused by freez-
ing. This provision does not apply if you
have used reasonable care to:

(1) Malntaln heat in the building; cr

(2) Shut off the water supply and drain all
systems and appliances ofwater. ~

However, if the building is protected by an
automatic tire protective sprinkler system.
you must use reasonable care to continue
'the Water supply and maintain heat in the
building for coverage to apply.

For purposes of this provision a plumbing
system or household appliance does not
include a sump. sump pump or related
equipment or a roof drein. gutier. down-
spout or similar fixtures or aquipment;

b. Freezlng, thawirig. pressure or weight cf
water or lce, whether driven by wind o_r not,
to a:

('l) Fence, pavement patio or swimming
pool;

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C.

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(2) Footing, foundation, buikhead, wail, or
any other structure or device, that sup-
ports ali or part of a building or other
siructure;

(3) Retalning wali` or bulkhead that does
not support all or part of a building or
other structure; or

(4) Pier, wharf or dock;

Theft in cr lo a dwelling under construction.
or of materials and supplies for usa in the
construction until the dwelling is iinlshed
and occupiad;

lVloid, fungus cr wet rot l-iowever, we do
insure for loss caused by mold, fungus or
wet rot that is hidden within the walls or
ceilings or beneath the tloors or above the
ceilings of a structure if such loss results
from the accidental discharge or overflow
ct water or steam from within:

(1) A plumbing, healing, air conditioning or
automatic tire protective sprinkler sys~
tem, or a household applience, on the
“resi_dence premises”; or

(2) A storm drain. or 'water. steam or
sewer pipes, ofl" the "resldence prem~
lsss".

For purposes of this provision, a plumbing
system or household appliance does not
include a sumpl sump pump or related
equipment or a roof draln, gutter, down~
spout or similar fixtures or equipment; or

Any of the following:

' (1) Weer andtear, maning, deterioration;

(2) ivlechanical breakdown, latent defect1
inherent vlce, cr any quality in property
that causes it to damage or destroy it-
self;

(3) Smog, rust or other ccrrosion. or dry
rot; _, _

t (4) Smol<e from agricultural smudglng or

industrial operations;

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Case 3:14-cv-01998 Document 1-1 _Filed 10/20/14 Page 30 Of 98 PageiDge 32 of 26

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(5) Dlscharge. dispersai, seepage, migra-
tion, release or escape of pollutants
unless the discharge, dispersai, seep-

age, migration, release cr escape is it- ‘

self caused by a Perii insured Agalnst
in a. through o. as listed in E.i 0. Land-
|ord's Furnishings under Section l -
Property Coverages.

Poilutants means any solid, liquid,
gaseous or thermal irritant or contami-
nant, including smokel vapor, soot,
fumes, acids, alkalis, chemicals and
waste Waste includes materials to be
recycled, reconditioned or reciatmed;

(6) Settiing. shrinking. bulging or expan-
sion. including resultant creoklng. of
bulkheads, pavements. patlos, foot-
ings. foundations, waiis, floors, roofs or
ceilings; .

(7) Blrds, vermin. rodents, or insacts; or
(B) Anirnals owned orkapt by an "|nsured".
Exception To 2.e.

Unless the loss is otherwise excluded, we
cover loss to property covered under Gov~
erage A, B or C resulting from an acciden~
tai discharge or overflow of water or steam
from Within a:

(i) Stonn drain, or water, steam or sewer
pipe, off the "residence premises“; or

(ii) Piumbing, haating, air conditioning or
automatic tire protective sprinkler sys~
tem or household appliance on the
"resldence premises“. This includes the
cost to tear out and replace any part of
bulldlng. or other structure. on the
t“resldence premises”, but only when
necessary to repair`the system or ep~
pliance. However, such tear out and re-
placement coverage only applies to
other structures if the water or steam
causes actual damage to a building on

~' the“residence premises”.~~ ' '~ ‘

We do not cover loss to the system or ap-
pliance~ from which this water or steam es-
caped.

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For purposes of this provision, a plumbing
system or household appliance does not
include al sump, sump pump or related
equipment or a roof drain, gutter, down
spout or similar fixtures or equipment

Seclion l »~ Excluslon A.3. Water Damage.
Paragraphs a. and c.. that apply to surface wa~
ter and water below the surface of the ground
do not apply to loss by water covered under d.
and e. above.

Under 2.a. through e. above, any ensuing loss
to property described in Coverages A, B and C
not precluded by any other provision in this pol-
icy is covered.

B. Under Coverages A and B:

1.

2.

Caused by vandalism and malicious mischlet,
and any ensuing loss caused by any intentional
and wrongful act committed in the course of the
vandalism or malicious mischief, ii the dwelling
has been vacant for more than 60 consecutive
days immediately before the ioss. A dwelling
being constructed is not considered vacant;

Invoiving ooilapse, other than as provided in
E.S. Collapse under Section l - Property Cov»
erages. However, any ensuing loss to property
described in Coverages A and B not precluded
by any other provision in this policy is covered.

C. ` Under Coverage C caused by:

'i.

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Breakage of eyeglasses, glassware, statuary.
marble, bric-a»brac, porcelains and similar frag-
lie articles other than ieweiry. watches bronzes,
cameras and photographic ienses.

Howaver. there is coverage for breakage of the
property by or resulting from:

a. Fire, lightning. windstorm. haii;

b. Smoke, other than smoke from agricultural
smudging or industrial operations;

E)<piosion, riot, civil commotion;

~d. Alrcraft. vehicles, vandalism and malicious

mischief;

e. Coi|apse of a building or any part of a
building;

f. Water not otherwise exciuded;

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g. Theft or attempted theftl or

h. Sudden and accidental tearing apart."

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cracking, burning or bulging of:
(i) A steam or hotwater heating system;

(2) An air conditioning or automatic fire
protective sprinkler system; or

(3) An appliance for heating water;

2. Dampness. of atmosphere or extremes of tem~
perature unless the direct cause of loss ls raln,
snowl sleet,or hail; ` '

3. Rctinish|ng, renovating or repairing property
other than watches, jewelry and furs; ..

\

4. Coillsion, other than collision with a land vehi-
cle. sinking. swamping or stranding of wa~
tercraft. including their~ trailers, furnishings
equipment and outboard engines or moiors;

5. Destructlon, confiscation or seizure by order of
any government.or public authority; or

6. Acts or decisions, including the failure to act or_`

decide. of any person, group, organization or
govemmenial body i-lowev‘er, any ensuing loss
,. to property described in Coverage C not pre-

cluded by any other provision in this policy is _

covered
SECTION l- EXCLUSlONS

A. We dp not insure for loss caused directly or indls
rectly by any of the following Such loss is excluded
regardless of any other cause or event contributing
concurrently or in any sequence to the loss. These
exclusions apply whether or not the loss event re~
suits.in widespread damage or affects`a substantial
area.

'i. Ordinance Or Law

Ordlnance Or i.avv means any ordinance or
law:

a. Requiring or regulating the construction

demolition, remodeling. renovation or re- ,

pair of property, including removal of any
resulting debris.'This Excluslcn A."l,a, does

not apply to the amount of coverage that '-

may be provided for in E. 't'i. Ordinance Or
Law under Seotion l - Property Cover-
ages;

b. The requirements of which result tn a loss
in value to property; or

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-c. Requiring any "lnsured"`or others to test

for, monitor. clean up, remove, contaln.
treat, detoxify or neutralize, or in any way
respond to, or assess the effects of poliut~
ants ~

Poilutants means any solid, liquid. gaseous
or thermal irritant or contaminant including
smoke, vapor, soot fumes, acids, alkalis
chemicals and waste. Waste includes ma-
terials to be recycled reconditioned or r.e~
cialmed.`

This E)<cluslon A.1. applies whether or not the
property has been physically damaged

Earth Movement

'Earth 'l\/lovament means:

a. Earthquake. including land shock waves or
. tremors before, during.or after a votcani,c
eruplion;

b. Landsllde, mudsllde or mudficw;
Subsidence or slnkhole; or

d. Any other earth movement including earth
sinking. rising or shifting;

caused by or resulting from human or animal
forces or any act of nature unless direct loss by
fire or explosion ensues and then we will pay'
only for the ensuing loss.

This Exclusion A. 2. does not apply to loss by
theft

3, Water Damage'

Water'Damage means:

a. Flcodl surface water, waves, tidal water,
overflow of a body of water, or spray from
any of thase, whether or not driven by

' wind;

b. Water or water~borne material which backs
up through sewers or drains or which over~
flows or is discharged from a sump, sump
pump or related equipment or

c. Water or water-home material below the
surface of the ground. including water
which exerts pressure on or seeps or leaks
through a building. sldewaik, driveway,
foundation, swimming pool or other struc~
ture.

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Case 3:14-0\/- -01998 Document 1- 1 Filed 10/20/14 Page 32 Of 98'Pagel=t'aga thof 26

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caused by or resulting from human or animal
forces or any act of nature.

Direct loss by fire, explosion or theft resulting
from water damage is covered.

Water damage to property described in Cover~
age C away from a premises or location
owned, rented, occupied or controlled by an
"lnsured" is covered.

Water damage to property described in 'Cover-
age C on a premises or location owned, rented,
occupied or controlled by an "lnsured" ls ex-
cluded even if weather conditions contribute in
any way to produce the loss.

Povver F~'ailure

Power Faiiure means the failure of power or

other utility service if the failure takes place off -

the "residence premises". But if the failure ra~
suits in a ioss, from a Perll insured Agalnst on
the “resldence premises", we will pay for the
loss caused by that perli.

Neglect

Neglect means neglect of an “insured” to use
all reasonable means to save and preserve
property at and after the time of a loss.

. War

War includes the following and any conse~
quence of any of the following:

a. Undeclared war. civil war, ineurrecllon, re~
bei_lion or revolution;

b. Warllka act by a military force or military
personnei; or

cI' Destruot|on, seizure or use for a military
purpose.

Discharge of a nuclear weapon will be deemed
a warlll<e act even if accidental.

. Nuclear Hazard ‘

This Excluslon A .7 pertains to Nuclear Hazard
to the extent set forth in tVl. Nuclear Hazard
Clause under Section l - Condlilcns

intentional Loss

intentional Loss means any loss arising out of
any act an "insured" commits or conspires to
commit with the intent to cause a loss.

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ln the event of such loss, no “lnsured” is enti~
tied to coverage, even "lnsureds" who did not
commit or conspire to commit the act causing
the loss.

9. Governmental Actlon

Governmental Aotion means the destruction,
confiscation or seizure of property described in
Covarage A, B or C by order of any govern-~.
mental or public authority

This exclusion does not apply to such acts or-
dered by any governmental or public authority
that are taken at the time of a fire to prevent its
spread, if the loss caused by tire would be cov~
ered under this policy.

B. We do not insure for loss to property described in
Coverages A and B caused by any of the foilowlng.
However, any ensuing loss to property described in
Coverages A and B not precluded by any cthar~
provision ln this policy is covered .

1. Weather conditions i-iovvever, this exclusion
only applies if weather conditions contribute in
any way with a cause or event excluded in A.
above to produce the ioss.

2. Acts or decisions, including the failure to act or
declde, of any personl group, organization or
governmental body.

3. Faulty- inadequate or defective:

\ a. Planning, zoning,.development. surveying.
' sittng;

b. Deslgn, specifications workmanshlp. re-
palr, construction. renovation, remodeling,
grading. compaction;

c. iviaterials used in repalr, construction, reno-
vation or ramodellng; or

d. l\/lalntenance;

cf part or ali of any property whether on or off
the "resldence premises".

SECTlON l-.-.CONDlTlONS
A. insurable interest And Limit Of Liabi|ity

Even if more than one person has an insurable ln~
terest in the property covered. we will not be liable
in any one loss:

` 'i. To an "insured” for more than the amount of
such "insured‘s" interest at the time of loss‘, or

2. For more than the applicable limit of iiablilty.

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Case 3:14-cv-01998 Document 1-1 Filed 10/20/14 Page 33 Of 98 PageFD\ge 35 of 26

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B. Duties After Loss

in case of a loss to covered property. we have no
duty to provide coverage under this policy if the fail-
ure to comply with the following duties is prejudicial
to us. These duties must be performed either by
youl cr an “lnsured" seeking ccverage, or a repre-
sentative of either:

1. lee prompt notice to us _or our ageni;
2. Notify the police in case of loss by theft‘,

3. i\iotify the credit card or electronic fund transfer
card or access device company in case of loss
as provided for in E.6. Credlt Card, Eiectronic

Fund Transfer Card Or Access Device. Forgery» '

And Counterfeit Money under Section l -»
Property Coverages;

4. Protect the property from further damage. if re-
pairs io the property are required, you must:

a. Niai<e reasonable and necessary repairs tc
protect the prcperty; and

b. Keep an accurate record of repair ex-
penses',

5. Cooperate with us in the investigation of a
ciaim;

6. Prepare an inventory of damaged personal
property showing the quantity, description, ac-
tual cash value and amount of ioss. Attach ali

bills, receipts and related documents that justify ,

the flgures' in the inventory;
7. As often as we reasonably require:
a. Show the damaged property;

b. Provlde us with records and documents we
requestand permit us to make copies; and

c. Submit to examination under oath, while
not in the presence of another °insured",
and sign the same;

8. Send to us, within 60 days after our request,
your signed, sworn proof of loss which sets
forth to the best of y`our knowledge and beiief:

a. The time and cause of loss;

b. The interests of ali "insureds" and ali others
in the property involved and all liens on the

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c. Oiher insurance which may cover the loss;

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d. Changes in title or occupancy of the prop»
erty during the term of the pciicy;

e. Speclfications of damaged buildings and
detailed repair estimates;

f. The inventory cf damaged personal prcp~
erty described in 6. above;

g. Receipts for additional living expenses in-
curred and records that support the fair
rental value |oss; and

h. Evidence or affidavit that supports a claim
under E.6. Credlt Card, Electr'onic Fund
Transier Card Or Access Device, Fcrgery
And Ccunten'eit iVioney under Section i -~
Property Coverages, stating the amount
.and cause of loss.

Cv Loss Settiement

in this Condition C., the terms "cost to repair or re~
place" and “repiacernent cost" do not include the in-
creased costs incurred to comply with the‘eniorce~
ment of,any ordinance or iaw, except to the extent
that coverage for these increased costs are pro~
vided in E. 'i'i. Ordinenoe Or Law under Se'ction l -~
Property Coverages. Covered property losses are
settled as foilows:

'i. Property of the following types:
a. Perscnaiproperty;

b. Awnings. carpeting, household appliances
outdoor antennas and outdoor equipment,
whether or not attached to bulldings;

c. Structures that are not'buildlngs; and
d. Grave markers, including mausoleums;

at actual cash value at the time of loss but not
more than the amount required to repair or
replace

2. Buiidings covered under Coverage A or B at
replacement cost without deduction for depre-
‘ ciation, subject to the foilowing:

‘a. ir,' at ina time or inss‘, tn`e amount or insur-
ance in this policy on the damaged building
is 80% or more of the full replacement cost
of the building immediately before the loss,
we will pay the cost to repair cr replace, af-
ter application of any deductible and with-
out deduction i'or depreciation, but not
more than the least of the following
amounts: '

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C.

('l) The limit of liability under this policy
that applies to the building;

(2), The replacement cost of that part o'f the
building damaged with material of like
'_ kind and quality and for like use; or

(3) The necessary amount actually spent
to repair or replace the damaged buiid~
ing.

if the building is rebuilt at a new premises,
the cost described in (2) above is limited to
the cost which would have been incurred if
the building had been built at the original
premises

lf, at the time of ioss, the amount of lnsur~
ance in this policy on the damaged building
is less than 80% of the full replacement
cost of the building immediately before the
loss we will pay the greater of the following
amounts. but not more than the limit of li_~
ability under this policy that applies to the
bulldlng:

('l) The actual cash value of that part of
the building damaged; or

(2) That proportion of the cost to repair or
replace, after application cf any de~
ductibie and without deduction for de~
preclatlon, that part of the building
damaged, which the total amount of ln~
surance in this policy on the damaged
building bears to 80% of the replace~
ment cost of the building.

To determine the amount of insurance re»
quired to equal 80% of the full replacement
cost of the building immediately before the
loss. do not include the value of:

('l) Excavetlons, footings. .foundations,
piers, or any other structures or de-
vices that support all or part of the
building. which are below the undersur-
face of the lowest`basement fioor,

(2) Those supports described in (1) above
which are below the surface of the
ground inside the foundation walls, if
there is no basement; end

(3) Underground fiues, plpes. wiring and
drains.

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d. We wiil`pay no more than the actual cash
value of the damage until actual repair or
replacement ls complete Onca actual re-
pair or replacement is compleie, we will
settle the loss as noted in 2.a. and b..
above.

However, if the cost to repair or replace the
damage is both:

('l) Less than 5% of the amount of insur~
ance in this policy on the building; and

(2) Less than $2,500;

we will settle the loss as noted in 2.a. and
b. above whether or not actual repair or
replacement is complete.

e. You may disregard the replacement cost
loss settlement provisions and make claim
under this policy for loss to buildings on an
actual cash value basis. You may then
make claim for any additional liability ac~
cordan to the provisions of this Condition
C. Loss Settlement, provided you notify us
of your intent to do so within 180 days after
the date of loss.

D. Loss 'i”o A Pair Or Set

in case of loss to a pair or set we may elect to:

1. Repalr or replace any part to restore the pair or
set to its value before the loss; or

2. Pay the difference between actual cash value
of the property before and after the loss.

. Appraisal

if you and we fail to agree on the amount of loss,
either may demand an appraisal of the loss. in this
event, each party will choose a competent and im-
partial appraiser within 20 days after receiving a
written request from the other. The two appraisers
will choose an umpire. if they cannot agree upon
en umpire within 15 days, you or we may request
that the choice be made by a judge of a court of
record in the state where the "reside_nce premises"
is located Th`e' appraisers will separately set the
amount of loss. if the appraisers submit a written
report of an agreement to' us, the amount agreed
upon will be the amount of loss. if they fail to agree,
they will submit their differences to the umpire. A
delclsion agreed to by any two will set the amount.,
of oss.

 

 

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Case 3:14--cv -01998 Document 1- 1 Filed 10/20/14 Page 35 of 98 Pageil‘iagle' 't£?of 26

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Each party wiii: '
1. Pay its own appraiser; and

2. Bear the other expenses of the appraisal and
umpire equally.

Other insurance And Service Agreement
if a loss'cov_ered by this policy is also covered by:

1. Other lnsuranoe, we will pay only the propor~
tlon of the loss that the limit of liability that ap-
plies under this policy bears to the total amount
of insurance covering the loss; or

2. A service agreement this insurance is excess
over any amounts payable under any such
agreement. Servlce agreement means a ser-
vice plan. property restoration pian, horne war~
ranty or other similar service warranty agree~
ment, even if lt is characterized as insurance

Suit Agalnst Us

No action can be brought against us unless there
has been full compliance with ali of the terms under
Sectlon l of this policy and the action ls started
within two years after the date of lose.

Our Option

if we give you written notice within 30 days arter we
receive your slgned, sworn proof of ioss, we may
repair or replace any part of~the damaged property
with material or property of like itlnd and quality.

Loss Payment

We will adjust ali losses with you. We will pay you
unless some other person is named in the policy or
is legally entitled lo receive payment. Loss will be
payable 60 days after we receive your proof of loss
and: `

'i. Reach an agreementwlth you:

2. There ls en entry of a final judgment; or

3. There is a filing of an appraisal award with us.
Abandonment Of Property

We need not accept any property abandoned by an
”insured”.

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K. Nldrtgage Ciause

* 'i. if a mortgagee is named in this policy, any loss

payable under Coverage A or B will be paid lo
the mortgagee and youl as interests appear. lf
. more than one mortgagee is named, the order
of payment will be the same as the order of
precedence of the mortgages .

2. if we deny your claim, that denial will not apply
to a valid claim of the mortgagee, if the mort~
gagee:

a. Notlhes us of any change in ownershlp, oc~
cupancy or substantial change in risk of
which the mortgagee is aware;

b. l>ays any premium due under this policy on
demand if you have neglected to pay the
premium; and

c. Subrnits a slgned, sworn statement of loss

within 60 days after receiving notice from

us of your failure to do so. Paragraphs E.

Apprai_sal, G. Suit Against Us and l. Loss

v Payment under Section i - Conditions
also apply to the mortgagee

3. if we decide to cancel or not to renew this pol~
icy, the mortgagee will be notified at least 10
days before the date cancellation or nonre~
newal,tal<es effect

4. if we pay the mortgagee for any loss and deny
payment to you:

a. We are subrogated to ali the rights of the
mortgagee granted under the mortgage on
the property; or

b. At our option, we may pay to the mort-
gagee the whole principal on the mortgage
plus any accrued interest in this event, we
will receive a full assignment and transfer
of the mortgage and ali securities held as
collateral to the mortgage debt.

, 5. Subrogallon will not impair the right of the mort~

gagee to recover the full amount of the mort-
.gegee's clalm. . .

l_. No Elenefit To Bailee

We will not recognize any assignment or grant any
coverage that benefits a person or organization '
holding, storing or moving property for a fee regard»
less of any other'provislon of this policy.

of 26

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iVl.

Nuclear Hazard Clause

1. "Nuclear i-lazard” means any nuclear raaction.
radiation, or radioactive contamination, all
whether controlled or uncontrolled or however
caused, or any. consequence of any of these.

2. Loss caused by the nuclear hazard Will not be
considered loss caused by flre. explosion, ore
smol<e. whether these perils are specifically

named in or otherwise included within the Per-

lis insured Against.

3. This policy does not apply under Seclion l to
loss caused directly or indirectly by nuclear
hazard, except that direct loss by tire resulting
from the nuclear hazard is covered.

Recovered Property

if you or we recover any property for which we
have made payment under this poi_tcy\ you or we
will notify the other of the recovery. At your option,
the property will be retumed to or retained by you

.or it will become our property. if the recovered

property is returned to or retained by you, the loss
payment will be adjusted based on the amount you
received for the recovered property.

Voicanic Eruption Period

One or mcre`volcanlc eruptions that occur within a
72 hour period will be considered as one volcanlc
eruptlon.

Policy Period

This policy applies only to loss which occurs during

the policy period.
Concealmant Or Fraud

We provide coverage to no "insureds" under this
policy if whether before or aftara ioss, an "insured"
has:

1. intentionally concealed or misrepresented any
material factor circumstance;

2. Engaged in fraudulent conduct; or
3.' Made false statements;

relating to this insurance

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Loss Payable Clause

if the Declarations show a loss payee for certain
listed insured personal property. the definition of
"insured“ is changed to include that loss payee with
respect to that property.

if we decide to cancel or not renew this policyl that
loss payee will be notified in writing.

SECT|ON ll - LlABiLiTY COVERAGES

A.

Coverage E - Personal Liability

if a claim ls made or a suit is brought against an
“lnsured° for damages because of “bodliy injury" or
“property damage" caused by an "oocurrence" to
which this coverage applies, we wili:

1. Pay up to our limit of liability for the damages
for which an “insured" is legally liabie. Dam-
ages include prejudgment interest awarded
against en "lnsured”; and

2. Provlde a defense at our expense by counsel
of our choice, even if the suit is groundless,
false or fraudulent We may investigate and
settle any claim or suit that we decide is appro-
priate, Our duty to settle or defend ends when
our limit of liability for the “occurrence" has
been exhausted by payment of a judgment or
settlement

Coverage F- Medicai Payments To Others

We will pay the necessary medical expenses that
are incurred or medically ascertained within three
years from the date of an accident causing "bodiiy
lnjury". i\/iedicai expenses means reasonable
charges for medicai, surgical x»ray, dentai. ambu~
lance, hospital, professional nursing, prostheth de~
vices and funeral services This coverage does not
apply to you or regular residents of your household
except “resldence empioyees". As to othersl this
coverage applies oniyz

'i. To a person on the "lnsured iocation" with the
permission of an "lnsured"; or

`2. To a person off the “lnsured location". if the

ubodily lnjury":

a. Arises out of a condition on the "insured
location" or the ways immediately adjoin~
loss

b. is caused by the activities of an “lnsured";.

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of 26

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c. is caused by a “residence employee" in the
course cf the "resldence empioyee's’ ern-
pioyment by an "insured"; cr

d. is caused by an animal owned by or in the
' care _of an ‘:insured".

SECTiON il -~ EXCLUSlONS
A. “lVlotor Vehicle Liabiilty"

1. Coverages E and F do not apply to any “motor
vehicle iiabliity" lf. at the time and place of an
",occurrence" the involved "":motorvehicle
a. is registered for use on public roads or

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b. ls not registered for use on public roads or
property, but such registration is required
by a |aw, cr regulation issued by a govem~
ment agency, for it to be used at the place
of the “occurrence"; cr

c. is belng:

('l) Operated in, or practicing for. any pre-
arranged or organized race, speed
contest or other competition;

(2) Rented to others:

(3) Used to cany persons or cargo for a
charge: or

(4) Used for any "buslness" purpose ex-
cept for a motorized golf cart while on a
golfan facility.

2. if Excluslon A. 1 does not apply. there is still no
coverage for “motor vehicle iiability" unless the
"motor vehicle is:

a. . in dead storage on an "insured iocation":

b. Used solely to service an "insured’s" resi-
dence;

c. Deslgned to assist the handicapped and, at
the time of an "occurrence” it is:

(1) Belng used to assist a handicapped
person; or

(2) Pari<ed on an "insured iocation";

d`. Designed for recreational use off public
roads and:

('l) Not owned by an “insured"; or

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(2) Owned by an "insured" provided the
“cccurrence" takes place on an "in~
cured iocation" as defined in Definitions
B. G.a., b., d., e. or h.; or

e. A motorized golf cart that is owned by an
"insured", designed to carry up to 4 per-
sons, not built or modified after manufac-
ture to exceed a speed of 25 miles per
hour on level ground and, at the time of an
"c;ccurrence”, is within the legal boundaries
o:

(i) A golfing facility and is parked or stored
there, or being used by an “insured" io:

(a) Piay the game .of golf or for other
recreational or leisure activity ai~
towed by the facility;

(b) Travel to or from an area where
“motor vehicles" or golf carts are
parked or stcred; or

(c) Cross public roads at designated
points to access other parts of the
golfing facility; or

(2) A private residential community, includ-
ing its public roads upon which a mo-
torized golf cert can legally travei,
which is subject to the authority of a
property owners association and cone
tains en "insured's" residence.

B. "Watercraft Liability"

'i.

Coverages E and F do not apply to any “water~
craft llabillty" lf, at the time of an “occurrence“,
the involved watercraft is being:

a. Operated in, or practicing for, any prear~
ranged or organized race. speed contest or
other competition. This exclusion does not
apply to a sailing vessel or a predicted log
cruise;

b. Rented to others;

c. Used to carry persons or cargo for a
charge; or

d. Used forany"business"purpose _

if Exciusicn B'l. does not apply. there is still no
coverage for "watercraft ilabiiity“ unless at the
time of the “occurrence“, the watercraft

a. ls stored;

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b.‘ is a sailing vessei, with or without auxiliary
power, that is: ‘

(‘i) t.ese than 26 feet in overall iength; or

(2) 25 feet or more in overall length and
‘ not owned by or rented to an "insured";
or

d c. ls not a selling vessel and is powered by:

(1) An lnboard or inbcerd»outtlrlve engine
or motor. including those that power a
water let pump, of: .

~(a) 50 horsepower or less and not
owned by an "insured"; or

(b) tviore than 50 horsepower and not
owned by cr rented to an "insured";
or

(2) One or more outboard engines or mo-
tore wllh:

(a) 25 total horsepower or iess;

(b) iviore than‘25 horsepower if the
outboard engine or motor is not
owned by an "insured";

(c) iviore than 25 horsepower if the
outboard engine or motor is owned
by an "insured” who acquired tt
during the policy perlcd; or

(d) More than 25 horsepower if the
outboard engine or motor is owned
by an "insuredn who acquired lt be»
fore the policy period, but only tf:

(i) You declare them at policy in~
oeptlon; or

(ii) Your intent to insure them ls
reported to us in writing within
45 days after you acquire
them. .

The coverages in (c) and (d) above apply
for the policy period

Horsepower means the maximum power rating
assigned to the engine or motor by the manu-
facturer.

c. "Arrcrae t.rabirrty"

This policy does not cover "aircraft iiablilty".

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D. “Hovercraft Liability"
. This policy does not cover"hovercraft llabliity".

E. Coverage E - Personai Liabiiity And Coverage
F ~ Niedicai Payments To Others

Coverages E and F do not apply to the foilowlng:
1. Expected Or intended injury

“Bodlly injury" or "property damage" which is
expected or intended by en "insured" even if
the resulting "bodiiy injury" or “property dam~
ageb

a. is of a different kind, quality or degree than
initially expected or intended; or

b. is sustained by a different person, entity,
real or personal property, than initially ex-
pected or intended.

However, this Exciuslon E.“l. does not apply to
"bodiiy lniury" resulting from the use of reason-
able force by an “insured" to protect persons or
pioi>€iiyi

2. “Buslness"

a. “Bodiiy lnlury” or “property damage" arising
out of or in connection with a “business"
conducted from an "insured iocatlcn" or en-
gaged in by an "insured“, whether or not
the "business" is owned or operated by an
“insured" cr employs an “insured“.

This Exciusion E.Z. applies but is not lim-
ited to an actor omission. regardless of its
nature or circumstance. involving a service
or duty rendered, promised, owed, or im~
piled to be provided because of the nature
of the “buslness”.

b. This Exciusion E.?.. does not apply to:

('l) The rental or holding for rental of an
"insured iocatlon”;

(a) On an occasional basis if used
only as a residence; ,

(b) ln part for use only as a residence,
unless a single family unit is in~
tended for use by the occupying
family to lodge more than two
rcomers or boarders; or

(c) in part, as en office, school, studio
or private garage; and

of 26

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(2) An ‘insured" under the age of2i years
involved in a part-time or occasionai,
self-employed "business" with no em~
ployees;

Professionai Servtces

“Bocllly lnlury" or "property damage" arising out
of the rendering of or failure to render protes~
stcnal services;

"insured's" Premises Not An “lnsured Lo~
oation”

uBodlly tnjury" or “property damage" arising cut
cfa premises:

a. 0wned by an "insured";

b. Rented lo en "insured"; or

c. Rented to others by an "tnsured";

that is not an "lnsured location";

War

"Bodily lniury" cr “property damage" caused di~
rectiy or indirectly by war, including the foi-

towing and any consequence of any of the
foilowing: ’

a. Undeolared war, civil warl insurrection, re»
beliion or revolution;

b. Warilke act by a military force or military
personnei; or

c. Destruction. seizure or use for a military
purpose

Dlscharge of a nuclear Weapon Wlii be deemed
a warlike act even if accideniat;

Communicable Dtsease

"Bodiiy iniury" or "property damage" which
arises out of the transmission of a communica-
ble disease 'by an "insured";

Sexuai Nlolestation, Corporei i;unishment
Or Physicai Or Mentai Abuse .

"Bodlly lniury" or "property damage" arising out
of sexual molestation, corporal punishment or
physical or mental abuse; or

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8. Controiied Substance

"Bodlly lnlury" or “property damage" arising out
of the usel salel manufacture delivery, transfer
or possession by any person of a Controlled
Substance as defined by the Federai Food end
Drug Law at 21 U.S.C.A. Seciions 811~ and
812. Contro|ied Substances include but are not
limited to cocaine, LSD, marijuana and all nar-
cotic drugs. However, this exclusion does not
apply to the legitimate use of prescription drugs
by a person following the orders of a licensed
physician

'Excluslons A. "it/iotor Vehlcle Ltabliity", B. “Waiar-

craft Llabillty“, C. “Alrcraft Llabllity", D. "Hovercraft
Liability" and E.4. “insured’s" Premises Not An "in~
cured Locatlon" do not apply to "bodiiy lnjury“ to a

"residence employee" arising out of and in the

course of the "resldence employee’s‘1 employment
by an "insured”.

. Coverage E - Personai Liabiiity

Coverage E does not apply to:
'i. Llablilty:

a. For any loss assessment charged against
you as a member of en association, corpo-
ration or community of property owners,
except as provided in D. Loss Assessmcnt
under Seclion ii - Addiilonal Coverages;

b. Under any contract or agreement entered
into by an “insured". i-iowever. this exclu-
sion does not apply to written contracts:

(1) That directly relate to the ownership,
maintenance or use of an “insured lo~
catlon"; or

(2) Where the liability of others is assumed
by you prior to an “occurrence";

unless excluded in a. above or elsewhere
in this policy;

2. “Property damage tc property owned by art

piace, enhance, restore or maintain such prop-
erty to prevent injury to a person or damage to
property of others, whether on or away from an
"insured location”;

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3.

“Property damage" to property rented to, occu~
pled or used by or in the care of an "insured".
This exclusion does not apply to “property
damage" caused by fire, smoke or explosion;

“Bodily injury" to any person eligible tc receive
any benefits voluntarily provided or required to
be provided by an "insured" under any;

a. Workers’ compensation law;
b. Non-occupational disability iaw; or
c. Occupationai disease iaw;

nBodlly injury" or “property damage" for which
an "insured" under this policy; .

a. is also an insured under a nuclear energy
liability policy issued by the:

(i) Nuclear Energy Llabiiity insurance As~
sociation;

(2) i\/iutual Atomic Energy t.lebiiity tinder~
, writers;

(3) Nuclear insurance Association of Can-
ada;

or any of their successors; or

b. Wouid be an insured under such a policy
but for the exhaustion,of its limit of liability;
or

“Bodily iniury" to you or an "insured” as defined
under Detinitlons 5.a. or b.

This exclusion also applies to any claim made
or suit brought against you or an “insured”:

a. To repay; or
b. Share damages wlth;

another person who may be obligated to pay
damages because of "bodiiy lniury" to an ”ln-
s.ured”

G. Coverage F - Niedicai Payments To Others

C_overage F does not apply tc`“'bodi'ly lniury“:

'i.

To a “residence employee" if the “bodily injury”:
a. Occurs off the linsured |ocation”; and

b. Does not arise out of or in the course of the
“resldence empicyee's" employment by an
“insured";

.,'e~m`

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2. To any person'ellgible to receive benehts voi~
untarily provided or required to be provided un~
der any: .

a. Workers’ compensation law;‘
b. Non-occupationai disability law; or
c. Occupatlonai disease iaw;
3. From any:
a. Nuclearreactlon;
b. Nuclear radiatl.on; or
c. Radioactlve contamination;

ali whether controlled or uncontrolled or how-
ever caused; or

d. Any consequence of any of these; o_r

4. To any person, other than a “residence em-
pioyee" of an “insured“. regularly residing on
any part of the "insured iocation".

SECT|ON || ~ADD|TIONAL COVERAGES

?/Ve cover the following in addition to the limits of llabii~
iyl ~

A. Claim Expenses
We pay:

1. Expenses we incur and costs taxed against an
"insured" in any suitwe defend;

2. Prerhiums on bonds required in a suit we de~
fend, but not for bond amounts more than the
Coverage E limit of liablllty. We need not apply
for or furnish any bond;

3. Reasonable expenses incurred by an “insured“
at our requesi, including actual loss of earnings
(but not loss of other income) up to $250 per
day, for assisting us in the investigation or de~
fence of a claim or sult; and

4. interest on the entire judgment which accrues

, after entry of_ the judgment and before we pay
.or tender or deposit in court that part ot the
judgment which does not exceed the limit cf li-
ability'thet applies.

B. First Aid Expenses

We will pay expenses for first aid to others incurred
by an "insured" for "bodiiy iniury" covered under this
pollcy. We will not pay for first aid to an "insured".

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C. Demage To Property Of Others

'i.

We will pay, at replacement cost, up to $1,000
per"ioccurrenoe" for "property damage" to prop»
erty cl others caused by an “insured".

We will not pay for "property damage"'.

a. To the extent of any amount recoverable
under Section l;

b. Caused intentionally by an “insured" who is
13 years of age or older;

c. To property owned by an "insured";

d. To property owned by-or rented to a tenant
of en “insured" or a resident in your house»
hoid; or

e. Arlsing out oi`~.

(i) A "business" engaged in by an "in»
sured";

(2) Any actor omission in connection with
a premises owned, rented or controlled
by an “lnsured", other than the "insured
iocation”; or

(3) The ownership, maintenance, occu~

pancy, operation, use. loading or un-
loading of aircraft. hovercraft. water-
craft or “motor vehicles“.

This exclusion e.(3) does not apply to a
“motor vehlcie“ that:

(a) is designed for recreational use off
public roads;

(b) is not owned by an "insured”; and

(c) At the time of the “occurrence", is
not required by laW. or regulation
issued by a government agency, to
have been registered for it to be
used on public roads or property.

D. Loss Assessment

1.

We will pay up to $'l ,'000 for your share of loss
assessment charged against you. as owner or
tenant of the “residence premises". during the
policy period by a corporation or association of
property owners, when the assessment is
made as a result of:

a. “Bodiiy iniury" or "property damage" not e)<»
ciuded from coverage under Sectlon ll-'
Exclusions; or

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b. Liabiiity for an act of a director, officer or
trustee in the capacity as a director, officer
or truetee, provided such person:

(1) ls elected by the members of a corpo~
ration or association of property own-
ers; and

(2) Serves without deriving any income
from the exercise of duties which are
solely on behalf of a corporation or as~
soclatlon of property owners.

2. Paragraph l. Policy Period under Section ii _
Conditions does not apply to this Loss Assess~
ment Coverage.

3. Regardiess of the number cf assessments the
limit of $'l,OOO is the most we will pay for loss
arising out of:

a. One accident, including continuous or re-
peated exposure to substantially the same
general harmful condition; or

b. A covered act of a director, officer or trus-
tee. An act involving more than one direc-
tor, officer or trustee is considered to be a
single act.

4. We do not cover assessments charged against
you or a corporation or association of property
owners by any governmental body.

SECTION ll -- CONDlTlONS
A. Lirnit Of Llability

Gur total liability under Coverage E for ali damages
resulting from any one “occurrence“ will not be
more than the Coverage E limit of liability shown in
the Declarations, This limit is the same regardless
of the number of “insurecis", claims made or per-
sons ln]ured. All “bodily iniury" and "property dam~
age” resulting from any one accident or from con~
tinuous or repeated exposure to substantially the
same general harmful conditions shall be consid-
ered to bethe result of one “oocurrence”.

,Ou,r total liability under Co.verage. F ,ior all medical
expense payable for "bodiiy lnjury" to one person
as the result of one accident will not be more than

the Coverage F limit of liability shown in the Decla-
rations.

. Severability 0f insurance

This insurance applies separately to each "in-
sured”. This condition will not increase our limit of
liability for any one “occurrence". .

of 26

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C. Duties After "Occurrence"

in case of an "occurrence", you or another“insured"

will perform the following duties that apply. We

have no duty to provide coverage under this policy

if your failure to comply with the following duties is

~ prejudicial to us. You will help us by seeing that
these duties are performed: ~

1. Give written notice to us or our agent as soon
as is practical, which sets forth:

a. The identity of the policy and the “named
insurad" shown in the Declarations;

b. Reasonabiy available information on the
time, place and circumstances of the “oc~
currence"; and

c. Names and addresses of any claimants
and wltnesses;

2. Cooperaie with us in the lnvestigation, settie~
mentor defense of any claim or sult;

3. Promptly forward to us every notice, damand.
summons or other process relating to the “oc~
currence";

4. At our request, help usc
a. Tc make settlement;

b. 'i`o enforce any right of contribution or in»
demnlty against any person or organization
who may be liable to an “insured”;

c. With~the conduct of suits and attend hear~
ings and triels; end

d. To secure and give evidence and obtain
the attendance of witnesses;

5~. With respect to C. Damage To Property Of
Others under Section li - Addltionai Cover~
age. submit to us within 60 days after the ioss,
as worn statement of loss and show the
damaged prcperty. if in an “lnsurad's" controi;

6. No “insured" shail. except at such “insured's“
Own east .v.Qiur)ferily make payment assume
"obllgailon or incur expense other than for first
aid to others at the time of the “bodily injury".

D. Duties Of An injured Person ~ Coverage F -

iViedicai Payments To Others

1 . The injured person or someone acting for the
injured person wiil:

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H.

HO 00 0510 00

a. Give us written proof of clalm. under oath if
required, as soon as is practicai; and

b. Authorlze us to obtain copies of medical re~
ports and records.

2. The injured person will submit to a physical
exam by a doctor of our choice When and as
often as we reasonably require.

payment Of Clalm - Coverage F -- i\iiedicai
Payments To Others

Pay`ment under this coverage is not an admission
of liability by an “lnsured" or us.

.Sult Against Us

‘ i. No action can be brought against us unless

there has been full compliance with all of the
terms under this Sectlon ll.

2. No one will have the right to join us as a party
to any action against an “insured".

3. Aiso. no action with respect to Coverage E can
be brought againsi‘us until the obligation of
such "insured“ has been determined by final
judgmenth agreement signed by us.

Bankruptcy Of An "insured"'

Bankruptcy or insolvency of an "lns_ured" will not
relieve us of our obligations under this policy.

Gther insurance

This insurance is excess over other valid end col~
iectible insurance except insurance written specifi~
cai|y to cover as excess over the limits of liability
that apply in this pcilcy.

Policy Period

This policy applies only to "bodiiy injury" or “prop-
erty damage" which occurs during the policy period.

Ccncea|ment Or Fraud

We do not provide coverage to an “insured" who.
whether before cr after a loss. has:

1'. intentionally concealed or misrepresented any'
materiai`fact or clrcumstance;

2. Engaged in fraudulent conduct; or

3. i\/lade false statements;

relating to this insurance

of 26

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sEcTr'oNs t AND il - coNptTroNs

A. Liberalization Clause

if we make a change which broadens coverage un»
der this edition cf our policy without additional pre~
mium charge, that change will automatically apply
to your insurance as of the date we implement the
change in your state provided that this lmplemen~

tation date falls within 60 days prior to or during the

» policy period stated in the Deciarallons.

This leeralization Clause does not apply to
changes implemented with a general program revl~
sion that includes both broadenings an_d restrictions
in coverage, whether that general program revision
is implemented through introduction of:

1, A subsequent edition of this policy; or
2. An amendatory endorsement
. Waiver Or Cha'nge Of Policy_Provisions

A waiver or change of a provision of this policy
must be in writing by us to be vaild. Our request for
an appraisal or examination will not waive any of
our rights. .

. Canceliation

1. You may cancel this policy at any time by re~

turning it to us or by letting us know in writing of
. the date cancellation is to lake effect

2. We may cancel this policy only for the reasons
stated below by letting you know in writing of
the date cancellation takes effect. This cancel~
lation notice may be delivered to you, or mailed
to you at your mailing address shown in the
Deciarations. Proof of mailing will be sufficient
proof cf notice.

a. When you have not paid the premium. we
may cancel at any time by letting you know
at least ‘iO days before the date cancei|a¢
lion takes effect

b. When this policy has been ln effect for less
_ than 60 days and is not a renewal with us,
we may cancel for any reason by letting
you know at least 10 days before the date
cancellation takes effect.

c. When this policy has been in effect for 60 ~

days or mor'e, or at any time if it ls a re»
newal with us, we may cancel:

,4»-¢»~ _

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('l) if there has been a material misrepre~
sentation of fact which if known to us
would have caused us not to issue the
policy; or

(2) if the risk has changed substantially
_ since the policy was issued.

This can be done by letting you know at
least 30 days before the date cancellation
takes effect.

d. Wh`en this policy is written for a period of
more than one yearl we may cancel for any
reason at anniversary by letting you know
at least 30 days before the date cancelia»
tion takes effect

3. When this policy is canceled, the premium for
the period from the date of cancellation to the
expiration'date wlii be refunded pro rata.

4. if the return premium is not refunded with the
notice of cancellation or when this policy is r`e~
turned to us. we will refund lt within a reason-
a§le time after the date cancellation takes
e ect.

D. Nonrenewal

We may elect not to renew this policy. We may do
so by delivering to you, or mailing to you at your
mailing address shown in the Declaratlons, written
notice at least 30 days before the expiration date of
thls, policy. Proof of mailing will be sufficient proof of
no ce

. Assignment

Asslgnment of this policy will not be valid unless we
give our written consent

. Subrogation

An “|nsured" may waive in writing before a loss all
rights of recovery against any person. if not waived,
we may require an assignment'of rights of recovery
for a loss to the extent that payment is made by us.

lt an assignment is sought. an "insured" must sign
and deliver eli related papers a'nd cooperate with
us. `

Subrogation does not apply to|Coverage F or Para-
graph C Damage To Property Of Others under
Sectlon il - Additlonai Coverages.

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G. Death

lf any person named in the Decieretlons or the
spouse, lt a resident of the same househoid, dies,
the following epply:

'l. We insure the legal representative of the de~
ceased but only with respect to the premises
and property of the deceased covered under
the policy et the time of deeth; end

 

2. "lnsured" lncludes:

a. An “lnsured” who is a member of your
household et the time of your deeth, but
only while a resident of the "resldence
premises”; end

 

b. With respect to your property, the person
having proper temporary custody of the
property until appointment and queltncetlon
of a legal representative

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SPE_C|AL PROV|S|ONS - TENNESSEE

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TH|S ENDORSEN|ENT CHANGES THE POL|CY. PLEASE READ iT CAREFULLY.

SECT|GN l- CONDlTIONS
K. Niortgage Ctause
The following Paragreph_ 6. is edded:

6. The rights and obligations set forth in Pera»
grephs 1. through 5 above apply to any party
who has en insurable interest in the "residenoe
premises" Who is not en "insured".

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A.

B.

NO SECTlON ll -- L|ABlLlTY COVERAGES FOR
HOlViE DAY CARE BUS|NESS
L|lVilTED SECT|ON l - PROPERTY COVERAGES FOR
HON|E DAY CARE BUSlNESS

"Business'!, as defined in the policy, means:;

'l. A trade, profession or occupation engaged in
on a full-time, part»time or occasional besis; or

2. Any other activity engaged in for money or
other compensation, except for the following:

a, One or more activities:

(i) Not described iri‘ b. through d. beiow;
and

(2) For which no "insured" receives more
then $2000 in total compensation for
the 12 months before the beginning of
the policy period;

b. Voluntesr activities for which no money is '

received other than payment for expenses
incurred to perform the activity;

c. Provldlng home day care services for
which no compensation is received, other
than the mutual exchange of such services;
or

d. The rendering of horne day care services
to a relative of an "lnsured".

if an "insured" regularly provides home day care
services to a person or persons other than
"insureds" as their trade, profession or occupation,
that service is a "buslness".

if home day care service ls not a given "insured’s"
trade, profession or occupation butts an activity:

1. That an "insured" engages in for money or
other compensation; and

2. From which an "insured" receives more than
$2000 in total/combined compensation from it
and any other activity for the 12 months before
the beginning of the policy period;

the home day care‘se'r‘vice and other activity`wiii be
considered a "business"

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D. With respect to C. above. home day care service is

E.

only an example of an activity engaged in for
money that may be a "business". Any single .
activity or combination of activities:

1. Described in A.2. above; and
2. Engeged in for money by a single "insured";

may be considered a "business" if the $2000
threshold is exceeded.

With respect to A. through D. above coverage does
not apply to or is limited with respect to home day
care service which is a "buslness". For example,_
this policy:

1. Does not provider

a. Section ll coverages. This is because a
"buslness" of an “insured" is excluded
under E.2, of Section ii -~ Exclusions;

b. Coverage, under Section l, for othen
structures from which any "buslness" is
conducted; and

2. leits Section l coverage, under Coverage C
- Speclai Limit of Llabllity, for "buslness"
property:

a. On the "resldence premises" for the home
day care ”business" to $2,500, This is .
because Category h. (e. in Fon"n H0 00
08) imposes that limit on "buslness"
property on the "resldence premises";

b. Away from the "residence premises" for the
home day care "buslness" to $500. This is
because Category i. (f. in Form HO 00 08)
|mposes that limit on ~"buslness" property
away from the "residence premises."
Category i. Does not apply to property
describe in Categorles }. and k. (g. and h.
respectively in Fonn HO 00 08,) '

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NOTlCE OF lNFORlVlATlON PRACT}CES (LONG FORM)

NilSC-798 06 01

Your application _or information you provide in connection with a claim is our major source of information. However, in
order to evaluate your application for insurance, to service your policy or to process a ciaim. we may ask for additional
information about you and any person who will be insured under this policy or who is the subject of the ciaim. This is
sometimes necessary to make certain that the statements on your application are accurate or to process the ciaim. We
may also need more details than you have already given us.

iNFORli/lATlON WE COLLECT

inA connection with an application, the information that we may collect will enable us to make possible judgments about
your character. habiis, hobbies, finences, occupation, general reputation, health or other personal characteristics in
connection with a ciaim, the information we may collect will enable us to process the ciaim.

We may obtain this information from several sources For exampie, we may contact any physicianl clinic or hospital
where any persons to be insured or making a claim have been treated. We may need information from your empioyer.
But, before we ask for information from any of these sources, we will ask. you to sign an authorization, which gives us
permission to proceed, unless authorization is not required by |aw.

We may get information by talking or writing to other insurance companies to which you applied for a policy or with
which you have made a ciaim, members of your famiiy, neighbors. friends. your insurance agent and others who know
you, We may also obtain information from motor vehicle reports, court records, or photographs of the property you want
insured or with regard to which you have made a ciaim.

CONSUMER REPORTS

lt is common for an insurance company to order a report from an independent organization - a consumer reporting
agency or an insurance-support organization - to verify and add to the information that you have given us. These
reports are used to help us decide if you qualify for the insurance for which you have applied or to evaluate the claim you
have made.

They may:

pertain to your mode of iivlng, character. general reputation and personal characteristics such as health, job and
finances

contain information on your marital status, driving records, etc.
include information on the loss history of your property.

include information gathered by talking or writing to you or members of your famiiy, neighbors, fn'ends, your
insurance agent and others who know you. -

include information from motor vehicle reports, court records or photographs of your property and/or the
property involved in the cialm. '

Upon your request. the consumer reporting agency or insurance-support organization will attempt to interview you in
connection with any report it prepares. "i`he information 'may be kept 'by the'reporiing'organization and may later be
given to others who use its services it will be given only to the extent permitted by the Federal Fair Credit Reporting Act
and your local state iaw, if any. Upon request and identification, the consumer reporting agency or insurance~support
organization will provide you with a copy of the report

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Case 3:14-cv-01998 Document 1-1 Filed 10/20/14 Page 43 of 98 Page|Di?ia@“l of2

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lVliSC“798 06 01

DISCLOSURE OF lNFORiVlATlON

information we collect about you will not be given to anyone without your consent, except when necessary to conduct
our business There are some disclosures which may be made without your prior authorization These includes

Persons or organizations who.nead the information to perform a prcfessionai, business or insurance function for
us, such as businesses that assist us with data'processlng or marketing

Other insurance companies agents, or consumer reporting agencies as'it may be needed in connection with
any application, policy or claim involving you.

Adlusters, appraisers, investigators and attorneys who need the information to investigate or settle a claim
involving you.

An lnsurance-support organization which ls established to collect information for the purpose of detecting and
preventing insurance crimes or fraudulent ciaims.

A medical professional or institution to verify your insurance coverage or inform you of a medical condition of
which you may not be aware.

Persons or organizations that conduct scientific research. including actuarial or underwriting studies

Persons or organizations that will use the information for sales purposes unless you indicate in writing to us that
you do not want the information disclosed for this purpose.

Our affiliated companies for auditing our operations and for marketing an insurance product or service.

 

in addition, we may provide information to state insurance departments in connection with their regulatory authority and
to other govemme`ntal or law enforcement authorities to protect our legal interests or in cases of suspected fraud or
illegal activities -

VOUR |NSURANCE POLiCY FlLES

information we collect about you will be kept in our policy filee. We may refer to this information if you file a claim for
benefits under any policy you have with us or if you apply to us for a new policy. You have the right to know what kind of
information we keep in our files about you. to have access to the information, and to receive a copy. There are some
types of information; however. to which we era not required to give you access. This type of information is generally
collected when we evaluate a claim or when the possibility of a lawsuit exists.

if you want information from your files please contact us There may be a nominal charge for copies of records lf_ you
think your file contains incorrect information, notify us indicating what you believe ls incorrect and your reasons. We will
reinvestlgate the matter and either correct our records or place a statement from you in our files explaining why you
believe the infonnatlon is incorrect We will also notify persons or organizations to whom we previously disclosed the
information of the change or your statement

CONF|DENTIALITY AND SECUR|TY OF PERSONAL iNFORMATlON

We restrict access to personal information to`th`ose individuals who'need'to know that information to provide products or
services to you. We maintain physical, electronic, and procedural safeguards that comply with legal standards and
ensure the confidentiality of personal information in accordance with our policy.

TREATMENT OF PERSONAL iNFORNlATlON OF FORMER CUSTGMERS AND APPLlCANTS

We adhere to this personal information privacy policy even when a customer relationship no longer exists. Dlsciosures
about former applicants and customers may be made without prior authorization as permitted by |aw.

if you have any questions about our information practices, please contact us.

Case 3:14-0\/-01998 Document1- 1 Filed 10/20/14 Page 49 or 98 Pagéili§%*?§§ 201 §§

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CRED|T CARD, ELECTRON|C FUND TRANSFER CARD OR ACCESS DEV|CE,
FCRGERY AND CCUNTERFE|T NiONEY COVERAGE
. ._ |NCREASED LilVliT

HO 04 5310 00

TH|S ENDORSEMENT CHANGES THE POL|CY. PLEASE READ lT CAREFULLY.

scrlEDuLE*

 

 

SECT|ON l --~ PROPERTY COVERAGES
ADDiT|ONAL COVERAGES

 

6. Credit Card, Electronic Fund Transfer Card Or Access Device, Forg`ery And Counterfeit ii/|oney

The limit of liability for ihis ceverage_is_ increased as noted beiow.

Increasa in Limit Of Liabiiity . l Tota| Limit Of Liability

Aii other provisions of this policy apply.

 

 

 

*Entries may be left blank if shown elsewhere in this policy for this coverage

 

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INSURED ' 8 CDPY

L|iVllTED FUNG|, WET OR DRY ROT, OR BACTER|A COVERAGE
FOR USE W|TH FORMS HO 00 03 AND HO 00 05

HO 04 27 04 02

THlS ENDORSEMENT CHANGES THE POL|CY. PLEASE READ lT CAREFULLY.
SCHEDULE*

 

These limits of liability apply to the total of all loss or costs payable under this endorsement, regardless of the num_
ber of “occurrences", the number of claims- made, or the number of locations insured under this endorsement and

listed in this Soheduie

 

Or Dry Rot Or Bacterla

1. Section l - Property Coverage leit Of l_labliity for the Additlonai Coverage "Fungi”, Wet $

 

Bacteria

 

2. Section li -Coverage E Aggregate Subilmlt of Liabillty for “Fungi", Wet Or Dry Rot Or $

 

 

 

*Enlries may be left biani< if shown elsewhere in this policy for this coverage

 

DEF|N|T|ONS
' The following definition is edded:
"Fungi”

a. “Fungi" means any type or form of iungus,
including mold or mildew,. and any my-
cotoxins, spores. scents or by~products
produced or released by iungi. _

b. Under Seciion ll, this does not include any
fuan that ere, are on. or are contained in, a
good or product intended for consumption.

SECT|ON i-- PROPERT¥ COVERAGES
E. Additional Coverages

Paragraph 10.k.(2)(d) is deleted in Fon‘n i~lO 00 05
only.

The following Additlonai Coverage is added: `
13. "Fungi”, Wet pr Dry Rot, Or Be‘cteria

a. The amount shown in the Schedule above
is the most we will pay for:

('l) The total of all loss payable under Sec~
lion l»- Property Coverages caused by
"fungl". wet or dry rot, or bacteria;

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.T‘NSURT".Y) l § (`.’DDV

(2) The cost to remove “fungl", wet or dry
rot, or bacteria from property covered
under Sectton l- Property Coverages;

(3) The cost to tear out and replace any
part of the building or other covered
property as needed to gain access to
thed“fungl". wet or dry rot, or bacteria;
an

(4) The cost of testing of air or property to
confirm the absence, presence or level
of "fungi". wet or dry rot. or bacteria,
whether performed prior io, during or
after removai. repalr, restoration or re-
placement The cost of such testing will
be provided only to the extent that
lhere. is a reason to believe that there
is the presence of “fungl" wet or dry
rot, or bacteria.

. The coverage described in 13.a. only ap-

plies when such ioss cr costs are a result
of a Perll insured Against that occurs dur~
ing the policy period and only li all reason~
able means Were used to save and pre~
serve the property from further damage at
and after the time th_e Perii insured Against
occurred.

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' C.

The amount shown in the Sche'duie for this
coverage is the most we will pay for the to~
tai of all loss or costs payable under this
Additlonai Coverage regardless of that

('l) Number di locations insured under this
endorsement or

(2) Number of claims-made

. if there is covered loss or damage to cov~

ered property. not caused, in Whoie or in
part, by "fungi", wet or dry rot, or bacterial
loss payment will not be limited by the
terms of this Additlonai Coverage, except
to the extent that “fungl". wet or dry rot, or
bacteria causes an increase ln the ioss.
Any such increase in the loss will be sub~
lest to the terms of this Additlonai Cover~
ags.

This coverage does not increase the limit of
liability applying to the damaged covered prop-
erty. '

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B. Coverage C - Personal Property

12. Accldcntai Discharge Or C)vertiow Of Water
Or Steam

Paragraph b.(4) is deleted and replaced by the
iollowing:

(4) Caused by constant or repeated seepage
or leakage of Water or the presence or cone
densation of humidity, moisture or vapor,
over a period of weeks, months or years
unless such seepage or leakage of water
or the presence or condensation of humld~
lty. moisture or vapcr»and the resulting
damage is unknown to all "insureds" and is
hidden within the walls or ceilings or be-
neath the floors or above the ceilings of a '
structure

in Form HO 00 05:
A. Under Coveragas A, B and C:
Paragraph 2.d. ls deleted and replaced by the fol-

 

 

,sEchoN i- PERiLs iNsuREo AGAle'r , IOWlogr _
.ln Form HO 00 03: d. Caused by constant or repeated seepage

A. Coverage A »~ Dwelling And Coverage B -
Other Structures

Paragraph 2.c.(_5) is deleted and replaced by the
ioliowlng:

(5) Caused by constant or repeated seepage
or leakage of water or the presence or
condensation of humidity, moisture or va~
por, over a period of weeks, months or

or leakage of water or the presence cr ccn-
densaiion of humidity, moisture or‘vapor,
over a period of weeks, months or years
unless such seepage or leakage of water
or the presence or condensation of humid~
lty, moisture or vapor and the resulting
damage is unknown to all “insureds’1 and is
hidden within the walls or ceilings or be~
neath the floors or above the ceilings of a
structure.

years unless Su°h seepage or leakage °f Paragr_aph 2 e(3) is deleted and replaced by the
water or the presence or condensation of fencth

humidity, moisture cr vapor and the result-

ing c‘tam:ge is uhr]iknown to all °lnsureds" (3) Smog. rust or othercorroslon;

and s' en wit n the walls or ceilings or '

beneath the floors or above the ceilings of SECT‘ON '““‘ EXCWS'GNS

a structure

Exoluslon A 10 is added.

Paragraph 2.c.(6)(c) is deleted and replaced by the 10 .iFungi"' Wet Or Dry Rot Or Bacteria

following:

.“Fungi". ‘Wet Or Dry Rot, Or Bacteria meaning the
presence, growth, proliferation, spread or any activ-
ity of "fungi", wet or dry rot, or bacteria.

(c) Smog, rust or other corrosion;

This exclusion does n'ot appiy:

, (a) When "fungl_", wet or dry rotl or bacteria results
' from fire or llghtning; or

C°py"gt§ta'ési§) :'f?t?ré'\‘?-$o'i`§s§°°bccumem 1- 1 Fiied 10/20/14 Page 52 or 98 Pagelbp%§dgi?§

INSURED’B RDP¥

(b) To the extent coverage is provided for in the
“Fungi”. Wet Or Dry Rol, Or Bacterla Additlonai
Coverage under Section l - Property Cover~
ages with respect to loss caused by a Peril in~
cured Against other than tire or llghtnlng.

Direct loss by a Perii insured Against resulting
from "fungi", wet or dry rot, or bacteria is cov-
ered.

SECTlON l - CONDlTlONS

Condition P. Policy Per'rod is deleted and replaced by
the following:

P. Policy Perrod`

This policy applies to loss or costs which occur
during the policy period.

SECTION ll -» COND|TIONS

Condition A. Limit Of Liability is deleted and replaced
by the iollowing:

A. Limit Of Liabiiiiy

Our total liability under Coverage E for all damages
resulting from any one “occurrence" will not be
more than the Coverage E limit of liability shown in
the Declaratlons. This limit is the same regardless
of the number of "lnsureds”, claims-made or per~
sons iniured. All "bodiiy lnlury" and “property dam~
age" resulting from any one accident or from con~
tinuous or repeated exposure to substantially the
same general harmful conditions will be considered
to be the result of one ”occurrence".

Our total liability under Coverage F for ali medical
expense payable for “bodily lniury” to one person
as the result of one accident will not be more than
the Coverage F limit of liability shown in the Decla-
rations.

HO 04 27 04 02

l-lowever. our total liability under Coverage E for
the total of ali damages arising directly or indirectly.
in whole or in part, out of the actual, alleged or
threatened inhalation of, ingestion of, contact with,
exposure to, existence of, or presence of any
"iungi“, wet or dry rot, or bacteria'wiil not be more
than the Section li - Coverage E Aggregate
Sublirnlt Of l.labillty for “Fungi“, Wet Or Dry Rot, Or
Bacterla. That subllmit is the amount shown in the
Scheduie. This is the most We will pay regardless
ofthe:

1. Number of locations insured under the policy to
Which this endorsement ls attached;

2. Number of parsons iniured;

3. Number of persons whose property is dam-.
aged;

4. Number of “lnsureds“, or
5. Number of “occurrences" or claims-‘made.

This subltmit is wlthln, but does not increase, the
Coverage E limit of llabillty. lt applies separately to
each consecutive annual period and to any remain-
ing period of less than 12 months, starting with the
beuginnlng of the policy period shown in the Decla-
ra ons.

With respect to damages arising out of "fungi". wet or
dry rot, or bacteria described in A. Limit Oi Liabillty of
this endorsement Condition B. Severability Of lnsur~
once ls deleted and replaced by the following:

B. Severability Of_ insurance

This insurance applies separately to each 'insured"

except with respect to the Aggregate Sublimit of Li~

ability described in this endorsement under Section

ll - Conditions, A. Limit Of l.labliity. This condition

will not increase the limit of liability for this cover~
. age.

All other provisions of the policy apply.

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*rN.=:rmir.n v a r-nov

 

lDENTITV FRAUD EXPENSE ENDORSEMENT

F-12131’i 07

THlS ENDORSEN|E_NT CHANGES THE POL|CY. PLEASE READ lT CAREFULLY.

For an additional premium. the following Additlonai Coverage is added under Section l.

|DENTITY FRAUD EXPENSE

We will pay up to * for expenses incurred by an insured as the direct result of any one identity fraud loss commenced
during the policy period. Any actor series of acts committed by any one person and/or in which any one person is con-
cerned or implicated is considered to be one identity fraud ioss, even if a series of acts continues in to a subsequent
policy period.

DEFlNlTlONS
With respect to the provisions of this endorsement only, the following definitions are added:
"Expenses" means:

i. C'osts for notarizing fraud affidavits or similar documents for financial institutions or similar credit grantors and/or
credit agencies that have required that such affidavits be notarized, ‘

2. Costs for certified mail to law enforcement agencies, credit agencies, Hnanciai institutions and/or similar credit
grantors.

3. Lost wages resulting from time taken off from work to meet with. or talk to, law enforcement agencies, credit agen~
cles or legal counsei, and/or to complete fraud affidavits, up to a maximum payment of $500 per week for a maxi~
mum period of four weeks.

4. Loan application fees for re-appiying for a loan orleans when the original application is rejected solely because the
lender received incorrect credit information

5. Reasonabie attorney fees lncurred, with our prior consent for: _
a. Defense of lawsuits brought against the insured by merchants and/or their collection agencies;
b. The removal of any criminal and/or civil iudgements wrongly entered against a`n insurad;
c. Chailenging the accuracy and/or completeness of any information in a consumer credit report

6. Charges incurred for long distance telephone calls to merchants. law enforcement agencies, financial institutions or
similar credit grantors, or credit agencies to report and/or discuss an actual identity fraud. "identity fraud" means
the act of knowingly transferring and/or uslng, without lawful authority, a means of identification of an insured with
the intent to commit. or to aid and/or abet, any unlawful activity that constitutes a violation of federal law or a felony
under any applicable state or local law.

EXCLUS|ONS

The following additional exclusions apply to this coverage
We do not cover:

1. Loss arising out cfa business pursuith any insured.

2. Expenses incurred due to fraudulent. dishonest and/or criminal act by an insured or any person acting in concert
with an insured, or by any authorized representative of an insured, whether acting alone or_in collusion with others

3. Loas otherthan expenses_. . . . . . , .
SPEC|AL DEDUCTlBLE

We will pay only that part cf the loss that exceeds a $250 deductible or the policy deductible if higher. No other deducti-
ble applies to identity fraud expense coverage * Entries may be left blank if shown elsewhere in this policy for this
coverage ~

SECTiON 1 ~ CONDiTiON

Duties After Loss

The following is added:

Send to us, within 60 days after our request, receipts, bills or other records that support your claim for “expenses” under
"identity fraud“ coverage `

All other provisions of this policy apply.

Case 3:14-cV-01998 Document 1-1 Filed 10/20/14 Page 54 of 98 Page|l;_jé§3611 07

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PROPERTY REMED|ATiOi:lA§(BR ESCAPED LlQUlD FUEL
LliViiTED LEAD AND ESCAPED LlQUlD FUEL LlABILlTY COVERAGES
ALL FORMS EXCEPT FORNIS HO 00 04 AND HO 00 06

HO 05 80 10 00
TH|S ENDORSEMENT CHANGES THE POLICY. PLEASE READ lT CAREFULLY.

_SCHEDULE*

 

The coverage provided by this endorsement and the applicable l.i_mlts of Llabillty shown in this Scheduie apply.
These limits of liability apply to the total of all loss or expense, including loss assessments,' payable under this
endorsement,< regardless of the number of locations insured under this endorsement and listed in this Scheduie or
the number of assessments charged against the "lnsured" during the policy pen'od.

 

 

“l. Aggregate Limited Lead And Escaped quutd Fuel Liabiiity Limit Of Liability $

 

 

'2. Property Remadiation For Escaped Liquid Fuel Limit Of Liability ' $

This Property Remediation For Escaped Liquld Fuel Limit Of Liabiilty applies to the
"resldence premises“ as defined in Paragraphs a., b. or c. of Definltion 11. “Resldence
premises" in this endorsement and any of the following locations as defined in Paragraph
d. of Deiinltlo_n 11. "Residence premises":

 

 

 

 

 

* Entries may be left blank if shown elsewhere in this policy for this ooveraga..

 

A.' Definitions ci. Any location shown in the Scheduie of this
. endorsement
The definitions applying to the policy form, other
than Deflnltion 11."Residence premises". apply to "Resldence premises" also includes other
this endorsement Deiinitlon 'l'l. "Residence structures and grounds at that locations
premises” is deleted and replaced by the following described in a. through cl. above.
Detinltlons 12. through 14. are added only with n n ‘
respth to the Coverage provided by this 12. Covered real proparty. The following applies
endorsement only to the Sectlon l -- Property Coverages -
Property Remediation For Escaped quuld

11. "Residance pramises" means: Fuei:

a.' The one family dwelling where you reside; a. "Coyered real property“_means:

b. The two, three or four family dwelling (1) Property owned by an "lnsured" and
where you reside in al least one of the covered under Coverage A of this
family units; or ' policyl

c. That part of any other building where you (2) Any other one, two, three or four family
reside; dwelling building owned by an

"insured" and shown in the Schedule

and .whlch is shown as the "residence underpamgraph 2_;

.premlses" in the Declarations; and

C°py"@t'§‘a"§‘§“§'i‘Y-§ff-"o°f§Q§"°%'c'i§ufff§i’n 1-1 i=iled 10/20/14 Page 55 of 93 PageiB %:§§1":,?3

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(3) Materiais and supplies located on or
next to the "resldence premisss", used
to construct, alter or repair the dwelling
or other structures on the "residence
premises";

(4) Property owned by an “lnsured" and
covered under Coverage B'of this
poiicy, provided such property is
located on the "resldence premises";
and

(5) Land, other than farm lend:

(a) Whlch is within the "residence
premises";

(b) Whlch is owned by an "insured";
and

(c) On which a building or structures
described in 12.a.(1) through (4) is
located.

b. "Covered real property" does not lnciude:
(1) Water‘,

(2) Other structures that are part of the
"fuel system"; or

(3) Trees, shrubs plants or lawns, except
to the extent provided in B 3. c. of this
endorsement

13. "Covered personal property". The following

applies only to the Sect|on i Property
Coverages -- Property Remediatlon For
Escaped Liquid Fuel:

a. "C`overed personal property" means
personal property: ~

(1) Owned or used by an "insured" and
covered under Coverage C of this
poiioy;and

(2) Located on the "residence premises".,

b. Loss to such property shall be subject to
those Coverage C Speclal Limits of Liabllity
that apply.

' 14. "Fuel System"'rneans:

a. One or more containers tanks or vessels .

which have a total combined storage
capacity of 100 or more U. S. gallons of
liquid fuei; and:

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HO 05 8010 00

(1) Are, or werel used to h`old liquid fuel
that is intended to be used solely for
one or more of the following:

(a) To heater cool a building;
' (b) To heat`water;
(c) To cook food; or

(d) To power "motor vehicles" or
watercraft owned by an ”lnsured"
and not used primarily for
"business"; and` '

(2) Are, or were'located on:
(a) "C'overed real property"; or
(b) An "insured iocatlon";

b. Any pumping apparatus, Which includes
the motor. gauge, nozzle, hose or pipes
that are, orwere connected to one or more
containers, tanks or vessels described in
14. a.;

c. Fiiler pipes and iiues connected to one or
more containers, tanks or vessels
described in 14.a.;

cl. A 'boller, furnace or a water heater, the
liquid fuel for which ls stored in a container,
tank or vessel described in 14.a., and
which i_s located on:

('l) "Covered real property"; or
(2) An "insured location";

. e. Flttings and pipes connecting the boiler,

furnace or water heater to one or more
containers. tanks or vessels described in
14.a.; or

f. A structure that ls specifically designed and
built to hold the liquid fuel that escapes
from one or more containers, tanks or
vessels described in 14.a.

A "fuel system" does not include any fuel tanks
that are permanently afiixed to a "molor
vehicie" or water craft listed a.(1) (d) above.

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B. Section l»- Property Coverages

The following coverage is added:

PROPERTY REiVlENiDiATlON FOR ESCAPED
LlQUiD FUEL

1.

C°pi'"gt‘,ia§e‘t§ff&-%ti¥t?fe§§‘°‘toiii&uir‘i%‘in 1-1 Filed 10/20/14 Page 57 of 98 Pegéi%g§§§>io 00

With respect to the total of all escapes of liquid
fuel_from a "fuel system" which an "insured"
first discovers or learns of during the policy
perlod, we will pay up to the limit of liability
shown in the Scheduie for loss or expense
described in 3. below.

The limit shown in the Scheduie for this
coverage is the most we will pay for the total of
all loss or expense payable under 3. below
regardless of ther

a. Number of locations insured under this
endorsement

b. Number of escapes of liquid fuel from a
"fuel system" and "insured“ first discovers
or learns of during the policy period; or

c. Number of claims made.

Loss Or Expense Covered

This coverage pays fort

a. Loss tot _
(1) “Covered real property"; or
(2) "Covered personal pmperty";

caused directly or indirectly by the escape
of such fuel from a "fuel system";

b. The expense you incur to:

(1) Tal<e temporary measures to stop the
further escape of liquid fuel from any
part of the "iuel system";

(2) Retarcl cr stop the spread of escaped
liquid fuei;

(3) Clean up, remove or treat lose to:
(a) "Covered real'property"t Cir
(b) "Covered personal property” ; or

(4) Test, monitor or assess the effects of
the escape of liquid fuel ln, on or away
from “covered real property":

(a) As required by law; or

HO 05 80 10 00

(b) in response to a request, demand
or order by a governmental
authority or court of law.

We will pay for such expense only if it
results from the same escape that is
payable under a. or b.('i), (2) and (3)
above;

c. Loss to trees, shrubs, plants or lawns,
located on the "residence premises", but
only if there is loss or expense caused by
the same escape that ls payable under a.
or b. above. However, we will not pay
more than an amount equal to 5% of the
limit of liability shown in the Schedule for
the total of all loss to trees, shrubs. plants
or lawns. No more than $500 of this
amount will be payable for any lawn or any
one tree, shrub, or plant. We do not cover
property grown for “buslness".

Under Form HO 00 08, no more than $250
of the amount of insurance available under
this coverage will be payable for |awns or
any one tree, shrub or plant; and

d. Additlonai Livtng Expense

('l) Additlonai leing Expense means any
necessary increase in living expenses
you lncur, so that your household can
maintain its normal standard of living, if
the escape of liquid fusi: '

(a) Resu|ts in loss or expense payable
under a. or b. above; and

(b) ii/lakes that part of the "resldence
premises" where you reside not fit
to live ln.

(2) Payment for Additlonai leing Expense
will be for the shortest time required:

(a) 'i`o make that part of the "resldence
premises” where you reside tit to
live in‘. or

~ (b)-For ~ycu household to settle
elsewhere, if you permanently
relocate,

This period of time applies even if it
extends past the expiration date of this
policy.

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4.

Wa do not cover loss or expense due
to cancellation of a lease or agree~
ment.

(3) This coverage does not increase the

limit of liability shown in the Schedule. `

(4) Section l - Property Coverages, D.
Coverage D - Loss Of Use in the
policy form does not apply to this
endorsement

Deductible

The deductible amount, equal to that which
applies to the peril of Fire. applies to loss cr
expense covered under this additional
coverage We will pay only that part of the total
of all loss or expense payable under 3. above
that exceeds that deductible amount.

Los's Or Expense Not Coverad
We Will not pay:

a. For any diminution or reduction in the
` marketvalue ofany:

(1) "Covered real property";
(2) "Covered personal property";
whether or not such property is dam aged;

b. For any damage resulting from the loss of
or reduction in value of a pending sale of~:

(1) "Covered real property“; or
(2) "Covered personal property"; `,
"i'o replace any fuel; '
d. For any expense to:
(1) Demollsh or remove; or
(2) Repalr, replace, rebuild or restore;

any part of a "iuel system". other than
those expenses provided for in 3.a. or b.
.above; or

e. For any damage that results from an
escapefrom: _

(1) One or more containers, tanks or~

vessels, that are, or wers, used to.hold
liquid fuel and are a part of a "motor
vehicle" or watercraft; or

HO 05 80 10 00

(2) Related lines or parts, that are, or
were, connected to a "moior vehicle" or
Watercraft.

6. For Form HO 00 03, under Secllon l - Perils
insured Against-. Paragraph A.2.c.(6)(e) does
not apply to this Property Remediation For
Escaped Liquid Fuel Coverage.

7. For Form HD 00 05, under Section l - Perils
insured Against, Paragraph A.2.(e)(5) does not
apply to this Property Remedlatlon For
Escaped Liquid Fuel Coveragel

8. When Speolal Computer Coverage Endorse-
ment is attached, Paragraph 2.b.(9)(e) in that
endorsementl under Perils insured Against.
does not apply to this Property Remedlation
For Escaped Liquid Fuel Coverage.

9`. The Additlonai Coverages under Section l --
Property Coverages and the Sectlon l -
Excluslons apply to this Property Remediailon
For Escaped Liquid F'uei Coverage.

10 The Sectlon l - Conditions apply to this .
Property Remediation For Escaped Liquid Fuel
Coverage except as provided in C. Sectlon l-

Condltlons below.

1'l. This Property Remediatlon for Escaped Liquid
Fuel Coverage does not apply to any
"residence premises" at which the containers,
tanks or vesseis, described in A.14.a. above,
.have a total combined storage capacity of less
than 100 U.S. gallons of liquid fuel.

owa@auawnmewwemnmmmamm
such container, tanks or vessels is subject.to
those:

_a. Exciuslons:

b. Conditions; 4

c. Otherprovislons;and
u. Limits oruablrrry;

that apply to real and personal property under
' the policy -to which 'this endorsement is
attached

C. Section i -- Conditions - Property
Remediation For Escaped Fuel

With respect to loss or expense described ln B.
Section l -~ Property Coverages above, Section
i Condition F. Other insurance And Servlce
Agreeme'nt in the policy form, is deleted and
replaced by the foilowlng:

\...

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F. Other insurance, Service Agreements And

Government Funcls

ii loss or expense covered in B. Section l -
Property Coverages above is also covered by:

1. other insurance we will pay only the
proportion of the loss or expense that the
limit of liability that applies under this
endorsement bears to the total amount of
insurance covering the loss or expense:

2. A service agreement, then this Property
Remediatlon for Escaped Liquid Fuel
Coverage is excess over any amounts
payable under any such agreement
Service Agreement means a "fuei system"
service plan, property restoration protection
plan, or similar service or warranty

agreement even if lt is characterized as .

insurance; or

3. A government fund, we will pay only the
proportion of the loss or expense that the
limit of liability that applies under this
endorsement bears to the total amount
payable for the loss or expense to the
extent permitted by law.

D. Section il -~ Liabiiity Coverages

LlillliTED LEAD AND ESCAPED LlQU|D FUEL
LiABlLlTY COVERAGE

1.

,Wlih respect to "bodiiy iniury" or "property
damage" described in D.2. beiow, the‘

coverages provided by Seciion il - Liabiiity
Coverages, Coverage E »-~ Personai Llability
and Coverage F - iviedicai Payments To
Others in the policy form, and the limits of
liability stated on the Declarations page do not

apply.

This coverage applies if a claim is made or a
suit is brought against an “insured" for
damages because of:

a. "Bodily iniury" or "property damage"
caused by an “occurrence" involving the
escape cf fuel from a ‘"fuei"system".
l-lowever,`thls limited coverage does not
apply to an "occurrence" of tire or
explosion that results from such escaped
fuei. Damages resulting from such an
"occurrence" of fire or explosion are
subject to the Coverage E - limit of liability
of the policy to which this endorsement is
attached:

HO 05 80 10 00

b. "Bodl|y iniury“ caused by an "occurrence"
involving the absorption, ingestion or
inhalation of lead which is in or on an
"insured location"; or

c. “F’roperty damage" caused by an "occur-
rence" of' lead conlernlnation, but only if.
immediately prior to the "cccurrence", the
lead was located at an "insured iocaiion".

NO OTHER LEAD OR ESCAPE_D LlQUiD
FUEL L|ABlLlTY COVERAGE APPLIES
UNDER .Ti~llS POLiCY EXCEPT AS PRO-
VlDED |N D.2. ABOVE AND E. BELGW.

if coverage applies as stated in D.2. above. we
wi|i:

a. Pay up to the Aggregate Limit of Liabiiity
stated in the Schedule for damages for
which an "insured" is legally liable
Damages include prejudgment interest
awarded against an "insured"; and

b. Provide a defense at our expense by
counsel of our choice even if the suit‘ls
groundless, false or fraudulent W may
investigate and settle any claim or suit that

. we decide is appropriate Our duty to
settle or defend ends when the Aggregete
Limit of i.iability stated in the Scheduie for
damages resulting from "bodiiy injury" or
"property damage" described in D.2. above
has been exhausted by payment of a
judgmenth settlement '

. .With respect only to applying the provisions of

this coverage as described in D.2. above,
"bodiiy injury" or "property damage” caused in
whole or in part by an “occunence" described
in D.2. above shell be deemed to have been
caused solely by such _ an "occurrence"
regardless of any other covered cause or event
contributing to the "bodiiy iniury" or "property
damage". _

The Section li - Additlonai Coverages in the

' ‘ policy form apply with respect to this coverage
. as described in D. above except as provided in

E. Seciion il -Additionai Coverages beiow.

The Sectlcn li ~» Conditions in the policy form
apply with respect to this coverage as
described in D. above except as provided in F.
Section il - Liabllity Conditions beiow.

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,-»rn.,

7. This coverage does not apply to an "insured
location” at which the containers, tanks or
vessels described in A.14.a. above have a total
combined storage capacity of less than 100
U.S. gallons of|iquld fuel.

Coverage, if ahy. for an "occurrence" involving
the escape of liquid fuel from such containers,
tanks or vessels is subject to those:

a. Exclusions;

b. Conditions;

c. Other provisions;and
ci. lelts`ofLiability;

that apply to Coverages E and F in the policy to
which the endorsement is attached.

E. Section ll- Add`itional Coverages

With respect to coverage described in D. Section ll

- Liability Coverages abovel Additlonal,

Coverage D. Loss Assessment in the policy form
is deleted end replaced by the following'.

D. Loss Assessment

1. We will pay up to the Aggregate Limit of
Llabllity as stated in the Schedule for your
share of loss assessment charged against
you, as owner or tenant of the "resldence
premises", during the policy period by a
corporate or association of property
owners. when the assessment is made as
a result cfc

al An "occunence" involving the escape
~of fuel from a "fuei system";

b. "Bodlly inlury" caused by an "occur-
rence", on property owned by all
members collectiveiy, involving the
absorption, ingestion cr inhalation of

lead which occurs on an "insured~

location" containing the “residence
premises";

' c, ~ "Property damage" caused by an
"occurrence", on property owned by all

members collectively, of lead

contamination, but only if the lead
originates at an "insured location“
containing the "residence premises"; or

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HO 05 8010 00

d. Liabliity for an act of a director, officer
or trustee in the capacity as a director.
officer or trustee, provided such
person:

(1) ls elected by the members of a
corporation or association of
property owners; and

(2) Serves without deriving any

income from the exercise of duties

- which are solely on behalf of a

corporation or association of
property owners.

2, We do not cover assessments charged
against you or a corporation or association
of property owners:

a. As required by law; cr

b. in response to a request. demand cr
order by a governmental authority or
court of law.

3, Regardlass of the number cf assessments
the Aggregate Limit of Llabllity stated in the
Schedule is the most we will pay for loss
arising out ol‘.

a. All accidents, including continuous or
repeated exposure to the same general
harmful conditions; or

b. All covered acts of one or more
directors, officers or trustees. An act
involving more than one director,
officer or trustee is considered to be a
single act.

THE LlMlT APPLICABLE TO THlS LOSS
ASSESSMENT COVERAGE DOES NOT
|NCREASE THE AGGREGATE LlMlT OF
LlABILlTY STATED |N THE SCHEDULE.

4. Secticn l Condition i. Policy Pericd in this
endorsement‘and in the policy form to
which this endorsement is attached does
not apply to this coverage

F. sac`rren`li - Lrabtirry conditions

With respect to coverage described above ln D.
Section li ~ Llabllity Coverages:

'i.

Condltlcns D. Duties Of An‘lnjured Person -
Coverage F _~ Nledlca| Payments To Others
and E. '- payment Of Claim - Coverage F
~ Medical Payments To Others in the policy
form are deleted; and

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wouldn

2, Conditions A.-- Limit Of l_iabi|ity, B.
Sevarabiiity Ot’ insurance and l. Policy
Period in the policy form are deleted and
replaced by the following:

A. Aggregate Limit Of Liability

Our total liability in any one policy period
for ali damages resulting from the total of
all "bodiiy iniury" or "property damage"
dudng the policy period will not be more
than the leited Lead'and Escaped Liquid
Fuel Liabiilty Coverage Aggregate Limit of
Liablllty stated in the Schedule. This is the
mostwe will pay regardless of the:

'i. Number of locations insured under the
policy to which this endorsement is
attached; .

2. Number of persons lnlured;

3. Number ct persons whose property is
damaged;

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4. Numberoiinsureds;or
5. Numberof claims made.

The "occurrence" limit of liability does not
apply to the coverage

Severabiiity Of insurance

This insurance applies separately to each
"insurad" except with respect lo the
Aggregate Limit cf Llabllity described in A.
Aggregate Limit of Llabllity above. This
condition will not increase the Limit .for this
coverage.

l. Policy Period

This endorsement applies to "bodiiy ln]ury" or
"property damage" described in D.2. above
which occurs during the policy period.

All other provisions of the policy not specifically
modified by this endorsement apply.

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PERSONAL lNJURY

HO 24 82 04 02

THis ENooRsEMENT cHANoEs THE PochY. PLEAsE READ rr cAREFuL'LY.

oeFrNirtoNs _
The following definitions are added:

“Personal injury means injury arising out of one cr
more of the following offenses, but only if the offense
.was committed during the policy period;

1. False arrest, detention or imprisonment'.
2. Mallclous prosecution;

3. The wrongful eviction from, wrongful entry into, or
invasion of the right of private occupancy of a
room. dwelling or premises that a person occupies

committed by or on behalf of its owner. landlord or ‘

iessor,

4. Orai or written publication of material that slanders
or libels a person or organization or disparages a
person ’s or organizations goods. products or
services; or

- 5. Orai or written publication of material that violates a
person's right of privacy.

"Fungi" means any type or form of fungus, including
mold or mlldew. and any mycotoxins. spores, scents or
by-products produced or released by fungi.

However, this does not include any fungi that are, are
on, or are contained in a good or product intended for
consumption

SECTlON il ~ LiABlLiTY COVERAGES
A. Coverage E - Personai Liabiiity

The following is added to Coverage E -- Persona|
Llabllity:

'Personat injury Coverage

if a claim is made or suit is brought against an “insured“
for damages resulting from an offense defined under
"personai lnjury" to which this coverage applies we
wil|: ~

1. Pay up to our limit of liability for the damages for
which an "insured" is legally llabie. Damages
include prejudgment interest awarded against an
“insured"; and

`2. Provide a defense at`our expense by counsel of our
choice, even ii the suit is groundless, false or
fraudulent We may investigate and settle any claim
or suit that we decide ls_ appropriate Our duty to
settle or defend ends when our limit of liability for
the offense has been exhausted by payment of a
judgment or settlement

SECT|ON ii - EXCLUS|ONS

With respect to the coverage provided by this
endorsement Section ll -~ Exclusions is deleted and
replaced by the following:

This insurance does not apply to:
1. “Personai lnjury":

` a. Caused by or at the direction of an "insured”

» with the knowledge that the act would violate

the rights of another and would inflict ”per'sonal
iniury”:

b. Arising out of oral or written publication of
materiei, if done by or at the direction of an
"insured" with knowledge of its falsity;

c. Arising out of oral or written publication of
material whose first publication took place
before the beginning of the policy period;

d. Arising out of a criminal act committed by or at
the direction of an "irrs'ured";

e. Arising out of liability assumed by an “insured"
under any contract or agreement except any
indemnity obligation assumed by an “insured"
under a ertten contract directly relating to the

. ownership maintenance or use of the premises;

f. Sustained by any person as a result of an
offense directly or indirectly related to the
employment of this person by an “insured";

g. Arislng out of or in connection with a “business"
conducted from an "insured iocatlon" or en»
gaged in by an "insured", whether or not the
"business" is owned or operated by an
“insured" or employs an “lnsured“. This exclu»
slon applies but is not limited to an act or
cmission. regardless of its nature or circum-
stance, involving a service or duty rendered,
promised. owed, or implied to be provided
because of the nature of the ”business“.

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This exclusion does not apply to:

(i) The rental or holding for rental of an
"insured |ocation";

(a) On an occasional basis lf used only as
a residence;

(b) |n part for use only as a residence
unless a single family unit ls intended
for use by the occupying family to
.lodge more than two roemers or
boarders;or ~

(c) in partl as an office. school. studio or
private garage; and

(2) An “insured“ under the age of 21 years
involved in a part“time or occasionai, self-
emp|oyed “business" with no employees;

h. Arislng out of civic or public activities per-
formed for pay by an "insured";

i. To you.or an “insured" as defined under
Deiinltlon 5.a. or b.;

This exclusion also applies to any claim made
or suit brought against you or an “lnsured":

(1) 'i'o repay; or
(2) Share damages with; or

Another person who may be obligated to pay
damages because of "personai lniury" to an
"lnsured”', cr

j. Arlslng out of the actuall alleged or threatened
discharge, dispersal, seepage, mlgration,
release or escape of pollutants at any time.

Pcllutants means any solid, liquid. gaseous cr 1

thamta| irritant or contaminant, including

smoke, vapor, soot, fumes. acids, alkalls,

chemicals and waste Waste includes materials
' to be recycled. reconditioned or reclaimed

k. Arlsing directly or indirectiy, in whole or in part,
out of the actual, alleged or threatened
inhalation of, ingestion .of, contact with,
exposure to, existence of, or presence of any
“iungl", Wet or dry rot, or bacteria.

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2. Any loss, cost or expense arising out oiany:

a. Request, demand or order that an “lnsured" or
others test for, monitor, clean up. remove,
contain, treat, detoxify or n`eutrailze, or in any
way respond to, or assess the effects of,
pollutants "fungi”. wet or dry rot, or bacteria; or

b. Clelm or suit by or on behalf of a governmental
authority for damages because of testing for,
monitoring, clean up, removing, containing,
treating, detoxitylng or neutralizing, or in any
way responding to, or assessing the effects of
pollutants, “t'ungl”, wet or dry rot, or becteria.

SECTION ll - ADDITIONAL CO\/ERAGES

With respect to the coverage provided by this
endorsement. Paragraph D. Loss Assessment ls
deleted and replaced by the following:

D. Loss Assessment

We_will pay up to $1000 for your share of loss
assessment charged against you, as an owner or
tenant of the “resldence premises". during the
policy period by a corporation or association of,
property owners, when the assessment is made as
a result of "personal iniury" not excluded under this
endorsement

' We do not cover assessments charged against you .
or a corporation or association of property owners
by any governmental body.

Regardless of the number of assessments, the limit
of $1000 ls the most we will pay for loss arising out
of "personal injury°. '

SECT|ON il -» CCNDlTiGNS

With respect to the coverage provided by this
endorsement, Section il -~ Condition i. Policy Pen'od
does not apply and Conditions A. Limit Of Liabllity. B.
Seve‘rabltity of insurance and C. Duties After
"Occurrenca” are deleted and replaced by the
following:

A. Limit Of Liability

Our total iiabllity'under “Per`sor`iel lniu'ry" Coverage
for all damages resulting from any one offense will
not be more than the limit of liability shown in the
Declaratlons for Coverage E. This limit is the same
regardless of the number of “lnsureds”, claims
made or suits brought

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B. Severability Of insurance

This insurance applies separately to each
"insured". This condition will not increase our limit
of liability for any one offense

. Duties After Offense

in the event of a covered offense, you or another
"insured" will perform the following duties that
apply. We have no duty to provide coverage under
this policy if your failure to comply with the following
duties ls prejudicial to us. You will help us by
seeing that these duties are performed:

1. Give written notice to us or our agent as soon
as is practical, which sets forth:

a. `The identity of the policy and “named
insured";

b. F\"sasonably available information on the
tlme. place and circumstances cf the
offense;and

c. Names and addresses of any claimants
and wltnesses;

HO 24 82 04 02

Cooperate with us in the investigation.
settlement or defense of any claim or sult;

Promptly forward to us every notice, demand,
summons or other process relating to the
offense;

At our request, help us:
a. To make settlement;

b. To enforce any right of contribution cr
indemnity against any person or
organization who may be liable to an
"lnsured";

o. With the conduct of suits and attend
hearings and trials; and

d. To secure and give evidence end obtain
the attendance of witnesses;

No “lnsured" shall, except at such “lnsured’s"
own cost, voluntarily make payment, assume
obligation or incur expense other than for first
aid to others at the lime of the “persona| lniury".

 

 

' All other provisions of this policy apply.

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PERSONAL PROPERT_Y REFLACEMENT COST LOSS SETTLEMENT

HO 04 90 10 00

TH|S ENDORSEMENT CHANGES THE PGL|CY. PLEASE READ lT CAREFULL¥.

A. ELiGlBLE PROPERTY

'i.

Covered losses to the following property are
settled at replacement cost at the time of the loss;

a. Coverage C; and
b. if covered in this policy,

(1) Awnings, outdoor antennas and outdoor
equipment, end

(2) Carpating and household appliances;
whether or not attached to buildings

This method of loss settlement will also apply to
the following articles or classes of property |f they
are separately described and specifically insured
in this policy and not subject to agreed value loss
settlements

a. Jewelry;

b. Furs and garments trimmed with fur or
consisting principally of fun or

(1) Trimmed with fur; or
(2) Conslsting principally of fun

c. Carneras, projection machines, films and
related articles of equipment;

d. Muslcal equipment and related articles of
equipment;

e. Stlverware. silver-plated ware, goldware, gold~
plated ware, and pewterware, but excluding

(1) Pens cr pencits;

(2) Flasi{s;

(3) Smoklng implements; cr
(4) Jewe|ry;and

f. Gclfer"s equipment meaning golf clubs, golf

clothing and golf equipment

Personal Property Replaoement Cost loss settlement
coverage will not apply to other classes of property

separately described and specifically insured.

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4-C\/- 0199 98 Document 1- 1 Filed 10/20/14 Page 65 of 98 Page|D #:67

. |NELiGlBLE PROPERTY

Property listed below is not eligible for replacement
cost loss settlement Any loss will be settled at
actual cash value at the time of loss but not more
than the amount required to repairer replace

i. Antiques. fine arts, paintings and similar
articles of rarlty or antiqulty which cannot be
replaced

2. Memorabllla, souvenlrs, collectors items and
similar articles whose age or history contribute
to their value.

3, Artlcies not maintained in good or workable
condition.

4. Artlcles that are outdated or obsolete and are
stored or not being used.

. REPLACEMENT COST LOSS SETTLEMENT

CONDiTiON

The following loss settlement condition applies to
property described in A. above:

t. We will pay no more then the least of the
following amounts:

a. Replacement cost at the time of loss
without deduction for depreciation:

b. The full cost cf repair at the time of loss;

c. The limit of liability that applies to
Coverage C. if applicable;_ '

d. Any applicable special limits of liability
stated in this pciicy; or

a. For loss to any item described A.Z.a. ~ f.
above. the limit cf liability that applies to
the itcm.

2. lf_t_h_e_ cost to‘r_epa.ir or replace_t_he property
described in A. above is more than $500, we
will pay no more than the actual cash value for
the loss until the actual repair or replacement is
complete

3. You may make a claim for loss on an actual

cash value basis and then make claim for any
additional ' liability in accordance . with this
endorsement provided you notify us of your
intent to do so within 180 days after the date of
ioss.

All other provisions cf this policy apply.

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»WATER BACK~UP AND
SU|ViP D|SCHARGE OR OVERFLOW

F-1305 03 10

TH|S ENDORSEMENT CHANGES THE POL|CY. PLEASE READ lT CAREFULLY.

A. Coverage

We lnsure, up to the water back-up and sump
overflow limit of liability listed on the declarations
page, for direct physical loss, not caused by the
negligence cf an “lnsurcd", to property covered
under Section l caused by water, or waterbome
material. which:

1. Backs up through sewers or drains; or
2. Overflows or is discharged from a:

a. Sump. sump pump; or

b. Related equipment;

even if such overflow or discharge results
from mechanical breakdown This cover~
age does not apply to direct physical loss
of the sump pump, or related equipment
which is caused by mechanical breakdown

This coverage does not increase the limits of
liability for Coverages A, B, C or D stated in the
Deciaratlcns.

. Section l - F’eriis insured Against

With respect to' the coverage described in A.
above. Paragraphs:

A.2.c.(6)(b) in Form l-lO 90 03;
A.2.e.(2) in Form Ho 00 os;

2.j.(2) in En_dorsement i-lO 05 24;
3.].(2) in Endorsement l-lO 17 31; and
2.c.(6)(b) in Endorsement HO 17 32;
are replaced by the following:

Latent defect inherent vice or any quality in
property that causes lt to damage or destroy iteeir,

D. Exciusion

The Water Damage E)<ciueion is replaced by the
following:

Water
This means:

'i. Flood, surface water, waves, including tidal
wave and tsunaml, tides, tidal waler, overilow
of any body of water, or spray from any of
these. all whether or not driven by wlnd,
including storm~surge; `

2. Water Which:
a. Baoks up through sewers or drains; or

b. 0verflows or is otherwise discharged from
a sump, sump pump or related equipment

as a direct or indirect result of iiood;

3. Water below the surface of the ground,
including water which exerts pressure on, or
seeps, leaks or flows through a bulldlng.
sidewalkl driveway, patlo, foundation, swim-
ming pool or other structure; or

4. Waterborne material carried or otherwise
moved by any of the water referred to ln D.'l.
through D.3. of this-Exclusion.

This Excluslon applies regardless of whether any of
the above. in D.1. through D.4., is caused by an act
of nature or is othen/vise caused.

This Exclusion applies tol but is not limited to,
escape, overilow cr discharge, for any reason, of
water cr waterborne material from a dam. levee.
seawall or any other boundary or containment
system

 

 

Howevar. direct lose by iire. explosion or theft resulting
from any of the above, ln D.1. through D,4., is covered.“
All other provisions of this policy apply.

C. Special Dedttctlble

The following replaces any other deductible pro~
vision in this policy with respect to loss covered
under this endorsement

We will pay only that part of the total of ali loss
payabie'under`Section l that exceeds $250. `i\lo
other deductible applies to this coverage This
deductible does not apply with respect to Coverage
D ~e Loss of Use.

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slNKHoLE Loss covERAGE ___ TENNESSEE
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TH|S ENDORSEMENT CHANGES THE POL|CY. PLEASE READ lT CAREFULLY.

DEFlNiTlONS SECTlON |- PROPERTY COVERAGES
The following definitions are added: The following is added: '
1, "Slnkhole activity" means settlement or system~ Sinkhole Loss Coverage

eth weakenan cf the earth supporting prop-
erty. The settlement or systematic Weai<enlng
must result from movement or ravellng of soils,
sediments, or rock materials into subterranean
voids created by the effect of water on |ime~
stone or similar rock formation.

2. "Slnlthole loss" means actual physical damage

We insure for direct physical loss to property cov~

` ered under Seotlon l caused by a "slnl<hole loes".
However, under Sectlon l, Coverage C shall apply
only if there ls structural damage to a building
caused by “sini<hole activity". '

SECT|ON l -~ EXCLUS|ONS

 

ma building The Earth Movement Exclusion does not apply
with respect to the coverage provided by this en~
a. Arlslng out of; or dorsemem'

 

b. Caused by;

sudden settlement cr collapse of the earth sup-
porting such bulldlng. The settlement or col~
lapse must result directly from subterraneen
voids created by the action atwater on iirne»
stone or similar rock formation

All other provisions of this policy apply.

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SUMN||T CLASS|C HOMEOWNERS ENDORSEMENT

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HO 00 03, HO 00 05 AND HO 00 06 POL|CY '
THE FOLLOW|NG ENDORSEN|ENTS CHANGE THE POL|CV. PLEASE READ lT CAREFULLY.

 

 

 

iNCREASED SPEC|AL LiiiiilTS OF LlABlLlTY

SECTiON l -~ PROPERTY COVERAGES, C. Coverage C -- Personai Property, 3. Special Limits Of Liability,
a through h. is deleted and is replaced by the following:

a. $1 000 on money; bank notes, bullion, gold other than goldware silver other than silverware, platinum other
than platinumware, coins, medals sorip, stored value cards and smart cards.

b. $5, 000 on securitiesl accounts deeds, evidences of debt letters of credit, notes other then bank notes,
manuscripts personal records, passports, tickets and stamps 'ihis dollar limit applies to these categories
regardless of the medium (such as paper or computer software) on which the material exists `ihis limit includes
the cost to research replace or restore the information from the lost or damaged material

c. $3.000 on watercraft of all types, including their iraiiers, furnishings, equipment and outboard engines or '
motors.

d. $3, 000 on trailers or seml trailers not used With watercraft of all types.

e. $10 000 ($5, 000 per item) for loss by theft. misplaclng or losing cf iewelry. watches, furs. precious and
semipracious stories

, f. $5, 000 for loss by theft, misplaclng or losing of firearms and related equipment

g. $2. 500 for loss by theft misplacan or losing of silverware, sliver»plated were gold'ware, gold plated ware,
platinumware, platinum plated ware and pewterware This includes ilatware, hollowware tea sets. trays and
trophles made of or including silver, gold or pewter.

h. $5,000 on prcperty, on the ”residence premises“ . used primarily for “business" purposes

 

DEBR|S REMOVAL

SEC`HON l _ PROPERTY COVERAGES, E Additlonai Coverages, 'i Debris Rem',oval b. is deleted and ls
replaced by the foilcwlng:

b. We will also pay your reasonable expense up to $1,000. for the removal from the "residence premises" oi'".
('l) Your tree(s) felled by the peril of Wind-storm or Hail or Welght of lce, Snow or Sleet; or
(2) A neighbor’s tree(s) felled by a -Perll insured Againstl .
provided the tree(s):

The $1 000 limit is the mosi“ we" will pay in any one "physlcal" loss regardless of the number of fallen trees, amount of
debris from trees, shrubs or other plants or to whom they belong No more then $i, 000 of this limit will be paid for the
removal of any one tree.

.........

CREDlT CARD, ELECTRON|C FUND TRANSFER CARD OR ACCESS DEVlCE,
FORGERY AND COUNTERFE|T lVlONEY COVERAGE

SECTlDN l - PROF’ERTY COVERAGES, E. Additlonai Coverages, 6. Credit Card, Electronic Fund Transfer Card
Or Access Device, Forgery And Counterfett Money

The limit of liability for this coverage is increased from $500 to $5 000

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LOSS ASSESSNlENT COVERAGE

 

SECTiON l »~ PRC)PERTY COi/ERAGES, E. Additlonai Coverages, 7. Loss Assesement
The limit of liability for this coverage is increased from $'i ,000 to $10.000.

 

COLLAPSE

 

SEC'l"iON | - PROPERTY COVERAGES, E. Additlonai Coverages, 8. Coliapse
Paragraph a. is deleted and is replaced by the foilcwlng:
a, Perils insured Against in Coverage A.
The following paragraph is also added:
This additional coverage does not apply to Coverage C- Personai Property

 

 

ORDlNANCE OR LAW

 

SECTiON i - PROPERTY COVERAGES, E. Additlonai Coverages. 11. Ordinance Or Law, a. ls deleted and is
replaced by the foilowing:

a. You may use up to 25% of the limit of liability that applies to Coverage A for the increased costs you incur
due to the enforcement of any ordinance or law which requires or regulates:

(1) The construction, demolition remodeling. renovation or repair of that part of a covered building or other
structure damaged by a Perii insured Against;

(2) The demolition and reconstruction of the undamaged part of a covered building or other structure, ’
when that building or other structure must be totally demolished because of damage by a Perll insured
. Against to another part of that covered building or other structure; or

. (3) The remodeling, removal or replacement of the portion of the undamaged part of a covered building or
other structure necessary to complete the remodeling, repair or replacement of that part of the covered
building or other structure damaged by a Peri| insured Against

This is Additlonai Coverage 10. in Form HO 00 06.
if you purchase Ordlnance Or Lavv Coverage Endorsement HO 04 77 this provision will not~appiy.
All other provisions of this policy apply, '

 

 

EARTH MOVEiVlENT

 

SE§ZUON i _- EXCLUS|ONS, A. 2. Earth lViovement
The following paragraph is added:
This exclusion applies only to property described in Coverage A.

 

WATER DAMAGE

 

SECTiON I- EXCLUSiONS, A. 3. Water Damage
The following paragraphs are added:

‘Water damage to property described in Coverage C away from a premises or location owned, rented. occupied or
controlled by an "insured“ is covered.

Water damage to property described in Coverage C on a premises or location owned, rented, occupied or controlled by
an “insured“ is excluded even if weather conditions contribute in any way to produce the Ioss.

All other provisions of this policy apply.

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LilVllTS OF LlABlLlTY AND COVERAGE RELAT|ONSH|PS

SECTION ii - LiABlL|TV

Coverage limits for the Resldence Premlses - Basic Limits are increased as foilows:
E. Personal Liabillty: $300.000 Each Occurrence
F. Medicai Payments to Others: $5,000 anh Person

Basic limits written apply to any Other Exposures covered under the poilcy, unless otherwise stated, for en additional
premium.

 

WATERCRAFT LlABlLlTY COVERAGE

SECT|ON il _.EXCLUS|ONS , B. "Watercraft Liabllity", B. 2. c. (2) (a) is deleted and replaced:
(a) 60 total horsepower or loss;

 

GOLF CART LlABlLlTY COVERAGE

SECTiON ll ~_ ADDlTiONAL COVERAGES
The following is added subject to the limits of llability:

E. Goif Carts. Coverage E - Personal Llabllity and Coverage F - Medical Payments to Others apply to
bodily injury or property damage arising out of the ownershlp. maintenance use. loading and/or unloading
of your golf carts while used for getting purposes or for personal use within the subdivision where the
insured resides

 

 

 

GOLF CART COVERAGE

We will pay up to 35 000 for direct loss of or damage to your golf carts, their original parts, equipment and accessories
However. we will not pay you for loss or demage:

a. Due to neglect or mechanical or electrical breakdown or fallure, or manufacturer defect~,

b. if your golf carts are being used for any illegal trade or business, or for any business or for professional
purposes;

c. if such a loss is limited only to the tires and wheels, unless they are damaged by fire or stolen;
d. To your golf carts. their parts and equipment caused only by impact of their wheels and the road or th`e ground
This coverage ls additional insurance and NO deductible applies to this coverage

 

LOCK REF'LACEMENT COVERAGE

We will pay up to $250 in the aggregate for any one occurrence for ih`e `co'st of replacing window and/or door locks of
the residence premises when the keys are lost or stolen along with other property owned by you or a relative. The theft
must be covered by your poiicy. For this coverage to apply. you must immediately notify the police upon discovery of
the iheft. if lost you must notify us within 72 hours of discovery of the loss.

This coverage is additional insurance and NO deductible applies to this coverage

 

PERSONAL lNJURY COVERAGE

 

Refer to Personal injury form for coverage detaiis.

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RE*FRIGERATED PROPERTY

A. Def“mitions '
The following definition is added:

'"Loss of power‘ means the complete or partial interruption of electric power due to conditions beyond an "insured's“
control.

B. Coverage

'i. We insure, up to $500, covered property stored in freezers or refrigerators on the “rasidence premisas” for
direct loss caused by:

a. “Loss of power” to the refrigeration unit. "Loss of pcwer" must be caused by damage tc:
(1) Generatlng equipment; or '
(2) ’i'ransmitting equipment; or ‘
' b. Mechanical failure of the unltwhich stores the property.

2. Coverage will apply only if you have maintained the refrigeration unit in proper working condition immediately
prior to the icss. ’

3. This endorsement does not increase the limit of liability for Coverage C`.
C. Speciai De_ductible
This section does not apply.
D. Exception To Pcwer Fatlure Exciusion
The Power Fal|ure exclusion does not apply to this coverage
All other provisions of this policy apply. ~
This coverage is additional insurance and NO deductible applies to this coverage.

 

. REWARDS QOVERAGE

We will pay 10% of the amount of loss up to a maximum of $‘l ,000 to an eligible person providing information leading to
the arrest and conviction of anyone who perpetrates an arson loss et an'"lnsured iocation" or who robs, steals or
burglarizes any covered person's property. We will also pay an eligible person providing assistance in the recovery of
stolen property, 10% of the value of the recovered property, up to a maximum of $1.000. The deductible does not
apply.

An eligible person means that person designated by a law enforcement agency as being the lirst to provide
the necessary information or return the stolen property, and who is not:

(j) An "insured";
(2) A relative of an "insured";
(3) An employee of a law enforcement agency,
'Thls coverage ls additional insurance and l\iO deductible applies to this coverage

 

THEFT OF BU|LDING MATER|AL COVERAGE
We agree to provide up to $“l0,00D theft coverage for your dwelling under construction as stated beicw:

Property covered _ Bulidlng materials and supplies, fixtures cr equipment which will be a permanent part of a new
dwelling. existing dwelling or other structure under construction at the insured location.

This coverage ls additional insurance and i\iC) deductible applies to this coverage

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WATER BACK~UP

The limit of liability for this coverage is $5,000. Refer to WATER BACK~UP form for coverage details.

 

WEDDlNG PRESENT COVERAGE

The limit of liability for this coverage is $10.000.

The policy covers wedding presents owned by the insured received no earlier than 30 days prior to the wedding date
and extending no further than 60 days after the wedding date. Wedding presents as defined in the policy are personal

property and do not include certain items such as: Realty, Anlmals, Automoblles, Boats, Bicycies, l\/ioney. 'iickefs, and
Excluded items under Coverage C Personal Property.'

This coverage is additional insurance and NO deductible applies to this coverage

 

 

HO 00 03 AND HO 00 05 Policy
THE FOLLOWlNG ENDORSEN|ENTS CHANGE THE FOLlCY. PLEASE READ lT CAREFULLY.

 

HONlE REBUlLDER COVERAGE

We agree to amend the present coverage amounts in accordance with the following provisions:
Part 1.
if you have:
a. Ailowed ustc adjust the Coverage A limit cf liability and the premium in accordance wilh:
(i) The property evaluations we make; and `
(2) Any increase in lnilation; and

b. Notiiled us, within 30 days of compielion, of any alterations to the dwelling which increase the replacement
cost of the dwelling by 5% or more; and

c. Elected to repair or replace the damaged bulldlng;
We wiii:
a. increase the Coverage A limit of liability to equal the current replacement cost of the dwelling if the amount
oflcss to the dwelling is more then the limit of liability indicated on the Deciarations page;

b. Also increase by the same percentage applied to Coverage A the limits of liability for Coverages B, C and
D. Howaver, we will do this only if the Coverage A limit of liability is increased under Paragraph a. above as
a result of a Coverage A loss;

c. Adjust the policy premium from the time of loss for the remainder of the policy term based on the increased
limits of liability .

l

Part 2.

if you comply with the provisions of this endorsement and there is a loss to a building insured under Coverage A.,
Secllon l Condition 3. l_oss Settlement Paragraph b. is deleted and replaced by Paragraphs b.. c. and cl. as follows:

b. Buildings under Coverage A or B at replacement cost without deduction for depreciation We will pay no
more than the smallest of the following amounts of equivalent construction and use on the same premises:

(1) The replacement cost of the building cr any parts of it;
(2) The amount actually and necessarily spent to repair or replace the building or any parts of it;

(3) The applicable limit of liability whether increased or not, adjusted in accordance with Part 1. above.
The most the company will pay is 50% above the Coverage A Limit cf Liabllity.

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c. We will pay no more than the actual cash value of the damage until actual repalr'or replacement ls-
compwm.

d. You may disregard the replacement cost loss settlement provisions and make an initial claim under this
policy for loss or damage to buildings on an actual cash value basis. You may then make a claim within
180 days after loss for any additional liability on a replacement cost basis.

All other provisions of this policy apply.

 

_pERsoNAL PRoPERTY

PERSONAL PROPER'W REPLACEN|ENT COST LOSS SETTLEMENT. Form HO 04 90 is automatically included
Coverage C- Personal Property is increased to 75% of Coverage A.

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HO 00 06 Policy
THE FOLLOWlNG ENDORSEMENTS CHANGE THE P LlCY. PLEASE READ iT CAREFULLY.

 

 

 

 

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AGREEN|ENT

We agree to provide the Speclal Coverage in this endorsement with the understanding that you occupy the unit in .
which the property covered under Coverage C is iocaled.

SECTiON l ~» P-ROPERTY COVERAGES
D. Additlonai Coverages
B. '~ Collapse
Paragraph b.('l) is deleted and replaced by the foilowlng:
(‘l) The Perlis insured Against under Coverage A;
With respect to Coverage C, Paragraph 8. Collapse ls deleted.
SECTlON l - PER|LS |NSURED AGA|NST
For Coverage C, The Perlls insured Against are deleted and replaced by the foilowing:
We insure against the risk of direct physical~ioss to property described in Coverage C.
We do not insure, however, for loss;
1. Excluded under SECTlON l - EXCLUSiONS;
2. To property in a unit regularly rented or held for rental to others by you;
3. Caused by: -

a. Freezing ofa plumbing, heating, air conditioning or automatic tire protective sprinkler system or of a household
appliance. or by discharge, leakage or overitow from within the system or appliance caused by freezing This
'e‘)‘rciusloh applies only while the dwelling is vacant unoccupied or being constructed unless you have used
reasonable care to:

('l) lvialntain heat in the building; or
(2) Shut off the water supply and drain the system and appliances ofwater;

i-lowever, if the building is protected by an automatic sprinklerl system. you must use reasonable care to continue
the water supply or maintain heat in the building for coverage to apply.

For purposes of this provision a plumbing system or household appliance does not include a sump. sump pump or
related equipment or a roof drain, gutier, down spout or similar fixtures or equipment _

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b. Freezlng, thawing, pressure or Welght of water or lce, whether driven by wind or not, to az
(1) Fence, pavement. patio, deck or swimming pooi',

(2) Focting. foundation, bulkhead~, wall or any other structure or device, that supports all or part of a building or
other structura;

(3) Retaining wall or bulkhead that does not support all or part of a building cr other structure; or _
(4) Plet', Wharf or dock;

c. Theft in or to a dwelling under construction, or of materials and supplies for use in the construction, or of
materials and supplies for use in the construction until the dwelling is finished and occupisd;

d. Moid, fungus or wet rot. However, we do insure for loss caused by mold, fungus or wet rot that ls hidden within
the walls or ceilings or beneath the floors or above the ceilings of a structure if such loss results from the
accidental discharge or overflow of water cr steam from wlihin:

(1) A piumblng, heating air conditioning or automatic tire protective sprinkler system or a household appliance
on the "resldence premises"; or .

(2) A storm drain or water steam or sewer pipes otithe “residence premises".

For purposes of this provisionl a plumbing system or household appliance does not include a sump, sump
pump or related equipment or a root drain, gutter downspout or similar fixtures or equipment

e. Breakage of eyeglasses. glassware staluary, marble. brlc-a brac, porcelalns and similar fragile articles other
than iewelry, watches bronzes. cameras and photographic ienses.

There is coverage icr_breakage of the property by or resulting from:
(1) Fire, iightnlng. wlnds‘torrn. hali:
(2) Smoke, other than smoke from'agricuitural smudging or industrial operations;
(3) Expiosion, riot, civil commotion:
(4) Aircraft, vehicles, vandalism and malicious mischief;
(5) Cbliapsa of a building or any part of a bullding:
(6) Water not otherwise excluded;
(7) Theit cr attempted theit; or
(8) Sudden and accidental tearing apart. cracking. burning or bulging oi:
(a) A steam or hot water heating systam, t
(b) An air conditioning or automatic fire protective sprinkler system;`or
(c) An appliance for heating water,
f. Dampness of atmosphere or extremes of temperature unless the direct cause of loss is raln, snow. sieet or hail;
g. Reiinishing. renovating cr repairing property other than watches, jewelry and furs;

,h. Coliislon, other than collision with a land vehicle, sinking. swamping or stranding of watercrait, including their
trailers fumlshlngs, equipment and outboard engines or motors; or

i. Aots or decisions, including the failure to act or declde. of any person, group, organization or governmental
body; or .

j. Any ofthe foilowing:
‘('i) Wear and tear, `marring, deterioration;

(2) lylechan|cal breakdown, latent defect. inherent vice or any quality in property that causes lt to damage or
destroy ltseif;

(3) Smog, rust or other corrosion or dry rot;
(4) Smoke from agricultural smudgingor industrial operations;

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.(5) Discharge, dispersal. seepage, migration, release or escape of pollutants unless the discharge. dispersai,
seepage, migration, release or escape is itself caused by one or more of the Perlls insured Against that
would apply under Coverage C of the policy form if this endorsement were not attached to the policy iorm.

Po|lutants means any solid, liquid, gaseous or thermal irritant or oontaminant, including smoke. vaporl soot,
fumes, acids, all<alis, chemicals and waste. Waste includes materials to be recycled, reconditioned or
reclaimed;

(6) Settling, shrinking, bulging or expansion. including resultant cracking. of bulkheadsl pavements, patlos,
footings. foundations walis, floors, roofs or ceilings;

(7) Blrds, vermin. rodents orlnsects; or
(8) Anlmals owned or kept by an "insured."
Exception to 3.j. _ .

Unless the loss is otherwise exciuded, we cover loss lo property covered under Coverage C resulting from an
accidental discharge or overflow of water or steam form within at

(a) Storm drain, or water, steam or sewer pipe, off the "residence premises”; or

(b) Plumblng, heating, air conditioning or automatic tire protective sprinkler system or household appliance on the
“resldence premises".

, We do not cover loss to the system or appliance from which this water or steam escaped

For the purposes of this provision, a plumbing system or household appliance does not include a sump, sump pump or
related equipment or a roof drain, gutier, down spout or similar fixtures or equipment

Section i - Exclusion 3. Water Damage, Paragraphs a. and c. that apply to surface water and water below the surface
of the ground, do not apply to loss by water covered under Paragraphs 3.d. and j. above.

Under Paragraphs 3.a. through e.. i. and j., any ensuing loss to property described in Coverage C not precluded by any
other provision in this policy is covered. ~

SECT|ON l»- EXCLUSiONS
3. Water Damage.
The following paragraphs are added:

This exclusion does not apply to property described in Coverage C thatis away from a premises or location owned,
rented. occupied or controlled by an “insured", ,

This exclusion applies to property described in Coverage C on a premises or location owned, rented, occupied or
controlled by an " insured" is even ii weather conditions contribute in any way _to produce the ioss.

All other provisions of this policy apply.

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insurance Score Notice

JENNIFER HAAG
107 CHEYENNE DR
HENDERSDNVILLE, TN 37075-4.510

Policy Number: a 2197536
Effective Date: os/zo/lz

Thank you for choosing Selective to provide your insurance coverage

ln addition to many factors, Selective uses an insurance score in pricing decisions Your insurance score is based in
part on a credit report obtained from a consumer reporting agency. Eased in part upon your insurance score. you are
not currently eligib e for our most favorable plan or rates. However, you are receiving our lowest rate based on yourrisk
characteristics Your insurance score is based wholly or partly on a consumer report obtained from the following
consumer reporting agency:

Lexisl\ie>tls Consumen_Service Center

PO Bo)t 105108 \
Atlanta, GA 30348-5108

1-800~456-6004

Reference No.: 122231916057'53

You may obtain a free co y of the consumer report by contacting the above consumer reporting agency within sixty (60)
days of receipt of this no ce.

Please be advised that the consumer reporting agency did not make the decisions concerning your pricing and will be
unable to provide you with specific reasons for Selective's decision if, however, you believe the information in the
consumer report is lncorrect, you have the right to dispute the accuracy and/or completeness of the information in your
consumer report directly with the consumer reporting agency shown above. `

The following factors from your credlt.report obtained on 08/10/12 had the most significant influence on your
insurance score: ' .

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panama cs ems Accoczt'rs save assn rasmussen t ‘
insurance scores can change over time. The _score is developed fr_om a mathematical model that weighs and measures
credit information such as payment history, the number of collections, bankniptcies, outstanding debt, length of credit
history, types of credit in use and the number of new applications for credit These factors identify credit management
attems that have proven to correlate with the probability of having a future insurance loss. Payan bills on tlme,
Eeeplng balances low and applying for credit only as needed are all steps that will eventually lead to better insurance
scores with the possibility for lower insurance premiums

EXTRAORD|NARY LiFE EVENT

ou may reques recons eralion of an insurance score premium increase because of the direct influence of an
extracrd nary life event on your credit information An extraordinary life event may include, but is not limited to:
catastrophic illness or injury; death of a spouse, a party who has entered into a civil union with the “named insured"
legally recognized under your state law, childl or parent; temporary loss of empicyment; divorca; identity thelt; or
.milliary deptloyment overseas A written request with pertinent documentation and detail should be sent for review to the
company a ' _

SELECTIVE INSURANCE '

sansom LINES UNDERWR:TING

40 .wmmtos manos

BRANCHVILLE, N\`.l' 07 89 0

The insured may request a new insurance score report be ordered each ear, but not more than once in a 12 month
perlod. The new report is used for ratemaking We appreciate the oppo unity to serve your insurance needs. Thank
you. .

Case 3:14-CV-01998. Document 1-1 Filed 10/20/14 Page 76 of 98 Pagm§%i_s$aq§ 0511

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Wc will provide the insurance described in this policy in return for the premium

and compliance with all applicable provisions of this policy

   

Secrctary Chairmnn

M“°C‘§§§(§(:)i%-)cv-olaae Document 1-1 Filed 10/20/14 Page 77 of 98 PagelD #: 79

INBURED ’ S C'DPY

 

SELECTIVE

lnsurance

 

 

 

POLlCY DOCUMENT

 

 

 

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INSURED'$ CoPY

Selective insurance
40 Wantage Avenue Branchviiie
New)ersey 07890
t973)948~3000

' Case 3:14-cV-01998 Document 1-1 Filed 10/20/14 Page 78 of 98 Page|D #: 80

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/.,.~»P

HOMEOWNERS POLICY ENDORSEMENT

SELECTIVE INSURANCE CDMPANY GF SOUTH CAROLINA
3426 TORINGDDN WAY STE 200
CHARLDTTE, N.C. 28277

 

k 2187536
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Nnmcd insured nnd Mniiing Address
JENNIFER BAAG '
107 CHEYENNE DR

t ca 20 zclzto 20 2013
BENDERSONVILLE, TN 37075~»4610 / / 09/ /

12:01 A.M. Stundnrd Timc
At The Rcsidence Premiscs

. EFF. amos mr cannon 09/20/2012
AGENT: ' BILL ACCT. NO.: 754413969

GENY INSURANCE AGENCY INC

992 DAVIDSON DR '

NASHVILLE, TN 37205~~1051 615-356~3212

 

 

 

THE RESIDENCB PREMIBES COVERED BY THIS PO£ICY 18 LOCATED AT THE LBOVE ADDRESS
UNLESB QTBERWISE STATED BELOW.

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oF LlABlLlTY rs saowN son cas covnRAce.

 

 

 

 

 

SECTION l CQVERAGES LIMIT OF LIABILITY PREMIUM
A. DWELLING . $ 250,000
B. OTHER BTRUCTURES $ 25,000
C. PERBONAL PRGPERTY § 187,500

D. LOSS OF USE SEE BELOW `
SECTION I PREMIUM $ 741.00
SECTION KI COVBRAGES AND LIMITS OF LIABILITY
E. PERSONAL LIABILITY 300,000 EACH DCCURRENCE INCLUDED
F. MEDICAL PAYMENTS TD OTHERS 5,000 EACH PERSON INCLUDED
ADDlTiONAL CDVERAGES (SEE "REMARKS" SECTION FOR DETAILQ) $ 59.00 `

‘ TDTAL COMBINED PHEMIUM $ BD0.00
\"
SECTION I ~ DEEUCTIBBES (INEEEEBD lN S§ETIER I PREMIUN)
$ 1000 ALL PERILS

 

IN`CASE OF LOSS UNDER SECTION I, WE COVER ONLY THAT PART OF T§E LOSB CVER THE
DEDUCTIBLE(S) STATED.

 

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lNcbceERts) mm EDITIoN DA'I.'E(si m pnovIDED BELow.)

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ao 04 27 04 02 F~1213 tll~o?i ao 05 ac 10 00
ao 24 92 04 02 no 04 so 10 00 F-lacs tca-lot
no 25 99 01 07 F-1217 (oa-ll)
owens INSE§EB*EOCAde§ --sacTIoN 11 . PREMIUM
1. secs HIGBLAND cREsT way #103 $ 6.00

KNOXVILLE, TN 37920
ND. OF FAMILIES: 1

 

PDhICY CHANGES
THIS PObICY-IS AMENDED~AS FDLLOWB: " ' "'

ADDED: ADDITIONAL REBIDENCES OCCUPIED BY INSURED COVRRAGE
PLEASE'REFER TO THE PREMIUM ADUUSTMENT SECTION'OF THIS ENDDRSEMENT.

 

 

~REMARKS~ .
TBIB POLICY DOES NOT PROVIDE WORKERS CQMPENSATION INSURANCE FOR RESIDENCE
EMPLOYEES OR FOR ANY OTHER EMPLOYEES.

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P697(iHOW INSURED'S CO?Y

HOMEGWNERS POLICY ENDORSEMENT¢

snLEcTIvE INsonnNcc company oF souTn cARoLINA
3426 Tonrnooon wAY sea 200
cHAsLoTTa, N.c. 23277

  
 
  

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Numcd lnsured nnd Mni|ing Adclrcss
JENNIFER BBAG
107 CHEYENNE DR

naNoaRsoNvILcn, TN 37075»~4510 05/20/2012 w og/2D/2013

12:01 A.M. Stnndnrd Timc
At TiieRcsidcncc Prcmises

assn owe oF crimes 03/20/2012

 

PAGE 2

THE FGLLOWING ITEMS ARE INCLDDED IN YDUR BECTION I PREHIUM UNLESS OTHERWISE
STATED.

HOME/AUTO ACCDUNTS WITH SELECTIVE APPLIEE.
LOSS FREE DISCOUNT APPLIES.
GOOD PAYER APPLIEB.
INCREASE IN COVERAGE C, PERSDNIL PROPERTY, APPLIES. INCLUDED
COVERAGE D~ LOSS OF USE IS COVBRAGE FOR THE ACTUAL LOSS SUSTAINED -
FOR A PERIDD OF 12 MONTBS IHMEDIATEBY FOBLOWING THE DATE OF LOSS,
BUBJECT TO THE PDLICY PROVISIONS.
WODDBTDVE, COAL OR SOLID FUEL, DDES NOT APPLY.
SWIMMTNG PDOL, DOEH NOT APPLY.
TRAMPOLINE, DOES NOT APPLY. ` .
# OF BDUSEHOLD OCCUPANTS l INCLUDED

no 04 27, hindman FuNaI, new on DRY nos on aAcTnRIA covnRAcn, INcLoDEo
1a Andncasn. .
PnoannTY covERAcn LIMIT macon .

COVERAGE AGGREGATE DIABILITY SUB-LIMIT 50000
HO 04 53, CRBDIT CARD, FUND TRANSFER CARD OR ACCESS DEVICE,
. FORGBRY AND COUNTERFEIT MONBY COVERAGE w INCREASED LIMIT,
IS ATTACHED.
INCREASED LIMIT OF LIABILITY: $10,000 § 1.00
F-1213l IDENTITY FRAUD EXPENSE ENDORSEHENT, IS ATTACHED. 21.00
LIHIT: 20000
HO 05 BO, PROPERT¥ REMEDIATION FOR EBCAPED LIQUID FUEL AND LIMITED
LEAD AND LIMITED ESCAPED LIQUID FUEL LIABILITY COVERAGES,

IB ATTACHED.
AGGREGATE LIMITED LEAD AND ESCAPED LIQUID FUEL LIMIT OF LIABILITY:
50000 INCLUDED
§RO§ERTY REMEDIATION FDR ESCAPED LIQUID FUBL LIMIT OF LIABILITY $ 4 ’
0000 »00-
HO 24 82, PERSDNAL INJURY, IS ATTACHED INCLUDED
HD 04 90, PBRSONAL PROPERTY REPLACBHENT COST, IS ATTACHED. INCLUDED
F“1305, WATER BACKUP AND SUMP OVERFLOW IS ATTACHED. $ 17.00
LIMIT DF LIABILITY IS $ 15, 000. A DEDUCTIBLE DF $250 00 AFPLIEB.
HD 25 99, BINKHOLE»LOSS COVERAGE ~ TENNESSEE $ 18.00
F-1217 SUMHIT CLABSIC HOMBOWNERS ENDDRSEHENT, IS'ATTACBED. INCLUDED

 

 

next LocA”T:“r.oN RM‘ING InFoF.uATIoN .
You scales m 14 aaron on mm damages on now rtcan mrs aaa 1 ambit PER
F;cRE pmaxon. x'r Is LooA'rno mem 1000 F.am' on A F:cruz: mcmann ANn rilme
1 mae or A FIRE sTNr;roN. ms mm ore cheTRncTIoN 15 1979. THE ToWNHocSE on
now modes ls Yocm summit F.ESIDENCR. Yotm FIRE n:cs'.t'xu:c'r le HENDERSoNvILLE.

THE ZIP CODE UBED FOR THE FURPOSE OF RATING THIS POLICY IS 37075-4510,
THE COUNTY IS SUMNER, AND THE PROTECTION CLASS 19 04, AND THE CITY/CQUNTY
CODE IS 0180~830, AND THE BUILDING CODE EFFECTIVENEBS GRADING CQDE IS 99»

Tan-nasmo ' cents s Is NoT sense ;~ a No ao lucas consumed
conooomeo on mae nns:ncncs Pnaumses; (c) ran nnszoanca snsnrsss'ma men oNL¥
seamless nance you MAINTAIN'A Rssxoence crane THAN auslnesa on FARM PRoPERTIns;.
(ni THE INsURED ana No FULL alma REsIoancE auscoyaas, tsi man INspnnn ana No
cuTaoARD MoToR(s) on wATBacRAFT oTHEansE Exccnnao UNDER\TeIs PoL:cY non
names covennoe xe nasxeao. .

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PREMIUM ADJUSTMENT
THE PREMIUM WAS CALCULATED USING A PRO RATA FACTOR OF: 1.000
PREMIUM ADJUBTMENT RESULTING FROM THIS CHANGE ENDORSEMENT.

l

Case 3:'14-CV-Ol998 Document 1-1 Filed .10/20/14 Page 80 of 98 Page|D #: 82
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HOMEC)WNERS POLICY ENDORSEMENT
sELEcTIvE INSURANCE company oF souTH cARoLINA ‘ ` H 213753§
3425 TORINGDQN wAY sTE 200
cHAnLoTTE, N.c. 29277 01B . TN

  
 

Nnmed lnsuer nml Mniling Address
JENNIFER HAAG

107 CHEYENNE DR
HENDERSONVILLE,

00_41040»00000 l

TN 37075~~4610

 

09/20/2012 w 09/20/2n13
12:01 A.M. Stnndnrd Time
At The Residcncc Prcmises

7 EFF. imsz or aman 09/20/20'.12

 

PAGE 3
$6.00 ADDITIGNAL
PLEASE DO NOT PAY UNTIL BILLED.

 

Case 3:14-cV-01998 Document 1-1_ Filed 10/20/14 Page 81 of 98 Page|D #: 83
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F.ew n mm

INSURED'S CCPY

SELECTIVE

' lnsurance

 

 

 

 

 

POL|CY DOCUMENT

 

H '2187536

INSUREDES COPY

Selective lnsurance
40 Wantage Avenue Branchvi£le
New Jersey 07890
(973) 948~3000

Case 3:14-cV-Ol998 Document 1-1 Filed 10/20/14 Page 82 of 98 Page|D #: 84'

INBURED ' S CGPY

 

_._»_1
/..M.

HOMEOWNERS POLICY ENDORSEMENT

SEhECTIVE INSURANCE COMPANY OF SOUTH CAROLINA

   

n 2107536
3426 ToRINGDoN way sTE 200
anRLoTTE, N.c. 20277 ain TN
00~41040»00000

Numcd lnsuer nmi Mnl|ing Addrnss
JENNIFER HAAG

107 CHEYENNE DR
HENDERSONVILLE, TN 37075~~4510

   

09/20/2012¢0 09/20/2013
12:01 A.M. Stundnrd Time
At Thc Residcncc Prcmises

, EFP. DATB OP CHANGE 07/01/2013
AGENT: ~ BILL ACCT. ND.: 794413959

GENY INSURANCE BROUP LLC

992.DAVIDBDN DR

NASHVILLE, TN 37205~~1051 615-355-3212

 

THE RESIDENCE PREMISES COVERED BY`THIS POLICY IS LOCATED AT THE ABOVE ADDREBB
UNLESS OTHERWISE STATED BELOW.

_ CDVERAGE IS P§OVTDED NHERE K PREMIEH OR LTHTT
OF LIABILITY IB SHOWN FOR.THE COVERAGE.

 

SECTIDN l E§Q§RAGES LTBIT OF LIABILIT¥ PR§MIEH“
A. DWELLING 250,000

'$
B. OTHER STRUCTURES $ 25,000
C, PERSONAL PROPERTY g 197,500

n. Loss oF 000 sss nznow
' sEcTIoN 1 PREMIUM ~ $ 741.00
szcmzon 11 coVERAGEs AND LiMITs oF LzABILITY
n. PERBQNAL L1AB:L1TY $ 300,000 EAcn occunngwcz INcLUDEn
F. unn:cAL PAYMENTS 10 oTnEas s s,ooo EAcu reason INannEn~
AnoxwonAL covEnAGEs (ssE HREMARKSH szcm:on won nsTAIns) s 53.00

. ToTAL coMBINEn,PREMIUM $ 794.00
§§ET15E”T”T“EEEBETTEEE§‘YTNEEEBEE”TR sEcTIDN 1 PREMIuM)
s 1000 ALL PEnILs

 

IN CABE OF LOSS UNDER SECTION I, WE CCVER ONLY THAT PART OF THE LOSS DVBR THE
DEDUCTIBLE(S) STATED.

 

 

FQU“AND_` END""o'RBMs unnE`PART cF roux Pc)m:c!:
(NUMBER(B) AND EDITIQN DATE(B) ARE PRovIDEu BELow.)

Fonu= no 00 05 10 00 .

sunonsEMENT(s)¢ so 01 41 12 01 no 04 96 10 00 F-114a (09~02)
MIsclsa? (10~05) M1s0~790 (06~01) uzsclsoo (05»00)
Mlaloc (05-11) 100197 (00~07) no 04 53 10 00

no 04 27 04 02 F~lzla (11-07) go 05 00 10 00
no 24 02 04 02 no 04 90 10 00 ‘ F-1305 (03~10)

HO 25 99 01 07 F»l217 (08-11)

PDLIUY CHAN§§S
TBIS POLICY IS AMENDED AS FOLLOWS:

 

DELETED: ADDITIONAL RESIDENCES DCCUPIED B¥'INBURED COVERAGE
PLBASE REFER TD THE PREMIUM ADJUSTMENT SECTION OF THIS ENDDRSEMENT.
. ". S~

THIS POLICY DOES NOT PROVIDE WORKERS COMPENSATION INSWRANCE FOR RESIDENCE
EMPLOYEES OR FOR ANY OTHER EMPLOYEEB.

 

THE FOLLOWING ITEMS ARE INCLUDED IN YOUR SECTION I PREMIUM UNLESS DTBERWISE
STATED.

HOME/AUTO ACCOUNTS WITH SELECTIVE APPbIES~
LOSS FREE DISCOUNT APPLIES.

’““‘”g”"‘b…a nmemlmenLJ_-J_Eued 1000@¢00 RPQQSESW\Q&EQQMM~
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HOMEOWNERS POLICY ENDORSEMENT
smech newman comm op sou'ru mcmann
3426 Ton:NGDoN wm sms 200
camo:c:m, N.c. 2027'7

H 2187536
DlD TN

00»41040~00000

Nnmed lnsnred and Mnillng Addrcss
JENNIFER HAAG

107 CEEYENNE DR

HENDERSGNVILLE, TN 37075~-4610

   

09/20/2012 to 09/20/2013
12:01 A.M. Stnndurd Time
At The Residcnce Premisos

EFF,. lmra 0¥ crimes 07/01/2013

 

 

PAGE 2

GOOD RAYER APPLIES.
INCREASE IN COVERAGE C, PERSONAL PROPERTY, APFLIES. INCLUDED
CCVERAGE D~LGSB OF USE IB COVERAGE FOR THE ACTUAL LOSS SUSTAINED

FOR h PERIOD OF 12 MONTHS IMHEDIATELY FOLLOWING THE DATB OF LCSS,

SUBJECT TO THE POLIC¥ PROVISIONS.
WCODSTOVE, COAL DR SCLID FUEL, DDES NOT APPLY.
SWIMMING POOL, DOEB NOT APPLY.
TRAMPDLINE, DDES NOT AFPLY.

# OF BOUBEHOLD OCCUPANTS l INCLUDED
HO 04 27, LIMITED FUNGI, WET OR DRY ROT OR BACTERIA CDVERAGE, INCLUDED
18 ATTACHED.
PRDPERTY COVEHAGE LIMIT 10000

COVERAGE AGGREGATE LIABILITY SUB~ LIMIT 50000
HO 04 53, CREDIT CARD, FUND TRANSFBR CARD OR ACCESS DEVIOE,
FORGERY AND COUNTERFEIT MONEY COVERAGE - INCREASED LIMIT,

IS ATTACBED.
INCRBASED LIMIT OF LIABILITY: $10,000 $ 1.00
F~1213, IDENTITY FRAUD EXPENBE ENDORSEMENT, IS ATTACHED, $ 21.00

LIMIT: 20000 , .
HO 05 80, PROPERTY REHEDiATION POR EBCAPED LIQUIp FUEL AND LIMITED
LEAD AND LIMITED ESCAPED LIQUID FUED LIABILIFY CDVERAGBB,

 

 

IS ATTACHED.

AGGREGATE LIMITED LEAD AND ESCAPED LIQUID FUEL!i LIMIT OF LIABILITY:

$ 50000 ~~~~~ . INCr.'m)En

§RO§E§E§ REHEDIATION FOR ESCAPED LIQUID\FUEL LIMIT OF LIABILIT¥ $ 4

n v’ ": ~oo~

no 24 02, PERSQNAL math, 15 ATTACHED. ‘:\ ,..\ INcr.m:)Eo
HO 04 90, PERBONAL PRGPERTY REPLACEMENT COST, IS ATTACHED. INCLUDED
F~1305, WRTER BACKUP AND SUMP OVERFLOW IS ATH CHED. $ 17.00

LIMIT OF LIABILITY 18 $ 15 000 A DEDUCTIBLE: 'OF\$ZBO 00 APPLIES.
HO 25 99, SINKHOLE LOSS COVERAGE ~ TENNESSEE ‘ §" $ 18.00
F~lZl? SUHHIT CLASSIC HOMEQWNERS ENDORSEMENT, IS .ATTACHED. INCEUDED

 

 

RISK LOCATIOH RATIN§ INFORMATION
YOU REBIDE IN A BRICK DN FRAME TOWNHDUBE OR ROW HOUSE THAT BAS l FAMILY PER
FIRE DIVIBION. IT IS LOCATED WITHIN 1000 FEET OF A FIRE HYDRANT AND WITHIN
1 MILE OF A FIRE STATIDN. ITS ¥EAR OF CONBTRUCTION IS 1579. THE TOWNHGUSE OR
ROW HGUSE IS YOUR PRIMARY REBIDENCE. YOUR FIRE DISTRICT IS HENDERSDNVILLE.

THE ZlP CDDE USED FOR THE PURPOBE OF RATING THIS POLICY IS 37075~ ~4€10,
THE COUNTY IB SUMNER, AND THE PROTECTION CLASS IB Oé, AND THE CITY/COUNTY
CODE IB DlBD-BBO, AND THE BUILDING CODE EFFECTIVENESS GRADING CODE IS 99.

]Xf THE RESIDENCE ?REMISES IS NOT SEXEONAL; IB} NO BUSINEB§ PURBUITS ARE
CONDUCTED ON THE RESIDENCB PREMIBES; (C) THE RESIDENCE PREMISES IS THE DNLY
PREMIBEB WHERE YDU MAINTAIN A RESIDENCE OTHER TBAN BUSINESS OR FARM FROPERTIES,
(D) THE INSURED BAB NO FULL TIME RESIDENCE EMPhGYEES; (E) THE INSURED BAS NO
OUTBDARD MCTOR(S) DR WATERCRAFT DTHERWISE EXCLUDED UNDER THIS POLICY FOR

WHICH COVERAGE IS DEBIRED.

.ExcEPTIoNS, 111 ANY 10 (A), (B), (c), (n), on (E)= NoNE v
PREm\m AnJusTMENT .

THE PREMIUM NAB CALCULATED UBING A PRD RATA FACTOR OF: 0.223
PREMIUM ADJUSTMENT RESULTING FROM THIS CHANGE ENDDRSEMENT= NQNE

 

 

/ Case 3:14-cV-Ol998 Document 1-1" Filed 10/20/14 Page 84 of 98 Page|D #: 86
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' Selective`lnsuranca Company of Arnerica
S ELE CTIVE ® Matl.ll€\‘/ MBl_lleal'\S
~ P.Ob 'Box 7259
London, K¥ 40742 .
Phone#: 615-679~976]

Fax#: 877-233-\354
matthew.meolemans@selective.eom

 

Novemher l8, 2013

Jennifer Haag
107 Cheyenne'Dr
Hendersonville, TN 370754610

CC: Robert Thompson All~Aruerican Public Adjusters aapublicadjusters@yahoo.com

RE: lnsured: Jennifer Haag
Our Claim Number: 21336813
Selective Policy Number: H 2'187536
Policy Pexiod: 9/20/2012'9/20/2013
Policy Limits: Dwelling $250, 000; Other Strucuires $25 ,000; Personal Property
$187, 500; Deductihle $1,000; Sinkhole Deductible $l, 000
Date ofLoss: 5/01/2013 '
Company Name: Selective lnsurance Company of South Caxolina

Dear Jennifer Haag:

lam a(n) Clairns Managernent Specialist employed by Selective lnsurance Company of
Arnerica1 Which is handling this claim on behalf of your insurance carrier, Selective
lnsurance Company of South Carolina (Selective) lam responsible for handling this
claim and determining what coverage may be available under the tennis of the' msurance
policy(ies) you purchased Jnom Selective

You have requested that Selective provide insurance coverage for the claim for cracks in
the exterior and interior of the dwelling and a depression that has appeared' 111 the Earth ~
outside the dwelling That request was made under the insurance policy referenced ahove.

SUMMARY OF SELECT[VE’S POSITION

We have carefully evaluated the facts and circumstances of this claim Unfortunately, we
must advise you that the terms of the policy that you purchased from Selective do not
afford insurance coverage for this clajm. The purpose of this letter is to explain how we
came to this decision Obviously, if you feel we have reached this determination in error,

please contact roe so we ca11 discuss this matter and l will be happy to answer any
questions you may have .

However, if you should come into possession of new or different information you feel
may cause Selective to change its decision; we will be pleased to review it On the other
hand, if we do not hear Jfrom you in the next 30 days, we will assume you accept our
decision and _we will close our file

    
 
  

Case 3:14-cv-01998 Document |:i|ed’§§ZO/ldf ,' age 85 of 98 Page|D #: 87

 

 

FACTS 0F THIS CLAIM

On or about 05/01/2013, a hole in your yard was discovered approximately 15 feet from
the dwelling A claim was reported to Selective’s Clairns Ser_vice Center on .iuly 15"‘ by
Geny lnsurance Group. 'l`he initial report stated that there is a sinklicle on the right side
ofthe yard and that a city engineer has inspected it and determined it is a sinldiole. _

On July 15"‘ l contacted Jennifer Haag and set an appointment to inspect the damage to '
the home and the depression in the ground On .luly 18“’ 1 met Ms. Haag at her horne and
inspected the premises Iviewed a small diameter hole approximately 5 feet deep

approximately 15 feet to the right of the dwelling and several cracks on the interior and
exterior of the dwelling. ' '

On July 22nd l contacted Riml<us Consulting _Group and assigned the investigation to
determine if the depression in the yard fits the definition of a “sinl<hole”. During the
following 3 months a representative of Rirnlcus Consulting Group was in contact with ,

Ms. Haag and made numerous visits to the insured premises to test and study the site and
the distress to the property

We recently provided a copy of the final report to your public adjuster from Rimkus
Ccnsulting Groupl regarding their inspections and i`mdings.

SELECTIVE’S COVERA GE' POSITIUN

Based upon our investigation we have identified certain provisions of your policy which
` are applicable to this claim. In this section, we will~review those parts of your policy and
explain why coverage is not available under the terms oi"’ the policy you purchased

SECTlON l -- PROPERTY COVERAGES

A. ` Coverage A -- Dwelling
‘l. V\le ecver:

a. The dwelling on the “resldence premises" shown in the Daclaratlons, ‘
including structures attached to the dwelling; and

b. Materla|s and supplies located on or next to the “residence premlses" used to

construct alter or repalr the dwelling cr other structures on the "resldence
premises".

2'. We do not cover land, including land on which the dwelling is located.

B. Coverage B _ other Structures '

'l. We cover other structures on the "residence premises" set apart from the
dwelling by clear space. This includes structures connected to the dwelling by
only a fence, utility llne. or elmller connection

2. We do not coven
a. Land, including land on which the other structures are located;

b. Other structures rented or held for rental to any person not a tenant of the
dwelling, unless used solely as a prlvate garage;»

Case 3:14-cV-01998 Document 1-1 Filed 10/20/14 Page 86 of 98 Page|D #: 88

 

/a.>

c. Other structures from which any "buslness" is conducted; cr

d. Other structures used to store "business" property However, we do cover a
structure that contains "buslness" property solely owned by an “insured" or a
tenant ct the dwelling provided that "business" property does not include
gaseous or liquid fuel, other than fuel in a permanently installed fuel tank of a
vehicle or craft parked or stored in the structure

3. The limit of liability for this coverage will not be more than iO% of the limit of

liability that applies to Coverage A. Use of this coverage does not reduce the
Coverage A limit of liability

The above describes the covered property to which this insurance applies Please note
that this policy does not cover land including land on which structures are located.

Your policy also contains definitions which apply to the above insuring agreement

6. "lnsuredlocation"means: _
a. The "residence premises";

b. The part cf other premises, other structures and grounds used by you as a restdence;
and

(1) Whlch is shown in the Declaratlons; or
(2) Whlch ls acquired by you during the policy period for your use as a residence;

c. Any premises used by you ln connection With a premises described ln a. and b.
above;

d. Any part cfa ptemises:
(1) Not owned by an “insured“; and
(2) Where an “lnsured" is temporarily residing',
e. Vacant land other than farm land; owned by or rented to an “lnsured";

f. l.and owned by or rented to an "insured" on which a one, twc, three or four family
dwelling is being built as a residence for an “insured";

g. lndlvldual or family cemetery plots or burial vaults of an "insured"; or

h. Any part of a premises occasionally rented to an "insured" for other than “business"
use.

8_. "Occurrence" means an accident, including continuous or repeated exposure to substan-
tially the same general harmful conditions. whlch reeults, during the policy period ln:

a. "Bodlly lnlury"; or
b. "Property damage“.

'l'l. “Resldence premises" means:
a. The one family dwelling where you reside;\

b. The twol three or four family dwelling where you reside'ln at least one of the family
units; or

c. That part of any other building where you reside;
and whlch ls shown as the "resldence premises“ in the _Declarations.
“Residence premises" also lncludes other structures and grounds at that location

Please turn your attention to page 'll Section l- Perils Insured Against which states in
part:

Case 3:14-cv-Ol998 Document 1-1 Filed 10/20/14 Page 87.0f 98 Page|D #: 89

 

We insure against risk of direct physical loss to property described in Coverages A, B
and C. '

. V\Je do not insurel however, for loss:
A. Under Coverages A, B and C:
'l. Exc|uded under Section l~ Exclusions.~

Please note that your policy also contains a number of Exclusions which may bar cr limit
coverage in this case. In particular, the Exclusions which apply follow beiow. On page
13 begins Section l.- Exclusions which states:

A. We do not insure for loss caused directly or indirectly by any of the following. Such loss ls
excluded regardless of any other cause or event contributing concurrently or in any
sequence to the ioss. These exclusions apply whether or not the loss event results in
widespread damage or affects a substantial area.

2. Earth llllovement
Earth l\/lovement means: .

a. Earthquake, including land shock waves or tremors before', during or after a volcanlc
eruptlon; '

b. Landslide. mudslide or`mudflovv;
c. Subsidence or sinkhole; or

d. Any other earth movement including earth sinking, rising or shifting; caused by or
resulting from human or animal forces or any act of nature unless direct loss by fire or
explosion ensues and then we will pay only for the ensuing loss.

'T his Exclusion A.2. does not apply to loss by theft.
In addition to these exclusions this section also contains the following paragraph:

B. We dc not insure for loss to property described |n Coverages A and B caused by any of
the following However, any ensuing loss to property described in Coverages A and B not
precluded by any other provision in this policy is covere`d.

'i. Weather conditions However, this exclusion only applies if weather conditions
contribute in any way with a cause or event excluded ln A. above to produce the loss.

2. Acts or decisions, including the failure to act or decide, of any person,, groupl
organization or governmental body.

3. Faulty. inadequate or defective:'
a. Plahning, zoning, developmentl surveying, siting;

b. Design, specifications Worl<manship, repair. construction, renovation,
remodeling, grading, compaction;

c. l\/laterials used in repair, construction, renovation or remodeling; or

d. ll/laintenance_; of part or all of any Property whether on or off the "residence
premises". , ~

\

Your policy also carries an H0i7.599 0'1/2007 Sinkhole Loss Coverage endorsement
which provides limited coverage for “sinl<holc” that is otherwise excluded in the
underlying HO 00 05 l0/2000 Horncowners 5 ~ Cornprehensive Form outlined in the first

Case 3:14-cv-Ol998 Document 1-1 Filed 10/20/14 Page 88 of 98 PagelD #: 90 ,

 

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part of this letter. This endorsement states that the following language is added to
‘ Section l »~ Property Coverages in the underlying folm:

Sinkhole Loss Coverage

We insure for direct physical loss to. property covered under Section l caused by a "sinkhole
ioss". However, under Section l, Coverage C shall apply only if there is structural damage to
a building caused by "sinl<hole activity".

This endorsement also affects the following exclusion under Section I ~ Exclusions:

The Earth Movement Ex‘ciusion does not apply with respect to the coverage provided by
this endorsement

All other provisions of this policy apply.

The following definition in this endorsement applies to the additional coverage for
“sinlchole” above:

DEFlNlTlONS
The following definitions are added:

'l. "Sini<hoie activity" means settlement or systematic weakenan of the earth supporting
property The settlement or systematic weakening must result from movement or
raveling of soils, sediments, or rock materials into subterranean voids created by the
effect of water on lime~stone or similar rock formation

2. "Slnkhole .loss" means actual physical damage to a building:
a. Arising out or; or
b. Caused by;

sudden settlement or collapse of the earth sup-putting such building. The settlement

or collapse must result directly from subterranean voids created by the action of
water on lime-stone or similar rock formation

As “sinkhole activity” is defined in the above paragraphs it was necessary to engage an
expert to identify the underlying cause of the depression and the cracks in the structure

The conclusions of Rimlrus Consulting Group sher extensive testing and study of the
insured property rule out sinlrhole activity as a' cause of the cracks on the structures and
concrete surfaces around the structurell They also determined that the depression in the~
ground is .not aasinldlole,_but is “due ,to_the_depompos_i_tion of the _rpot sy§'tem_gf `a k _
formerly removed tree or shrubbery that Was exacerbated by erosion due to drainage
conditions in that area”. They further stated that the formation of the open depression has
had no effect on the dwelling structure

Although Selective is today declining coverage for this claim', we will keep our tile open
for thirty days in case you wish to discuss our decision or wish to give us more or
different information that may bc' relevant We reserve the right to modify our position
based on any such new or different information

Case 3:14-cv-Ol998 Document 1-1 Filed 10/20/14 Page 89 of 98 Fage|D #: 91

 

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Hopefully, this letter provides you with a clear explanation of Selective’s position
regarding your insurance coverage available for this claim However, if you would like

to discuss any aspect of this claim, I would be happy _to discuss such matters with you. I
can be reached at the phone number set forth above.

I arn sorry that we were unable to reach a more favorable determination consenting this
claim.

Sincerely,

 

 

Matthew Meulernans
Claims Management _Specialist

Cc: Geny lnsurance Group LLC v

lam also required to advise that:

“Any person who knowingly and with intent to defraud any insurance company or
other person files an application for insurance containing any materially false
information, o`r conceals for the purpose of misleading, information concerning any
fact material thereto, commits o fraudulent insurance act, which is n crime and shall

also be subject to a civil penalty not to exceed five thousand dollars and the stated
value of the claim for each violation.”

_ Case 3:14-cv-Ol998 Document 1-1 Fi_|ed 10/20/14 Page 90 of 98 Page|D #: 92

'}.`~.\\A

rHoMrsoN

~TRLAL GROUP, P.A.

 

 

July 8, 2014

 

 

VIA U.S. M41L

Matthew Meulernans, Claiins Management Specialist
Selective lnsurance Company of Arnerica

P.O. Box 7259

London, KY 40742

ATTN: Mr. Meulemans ' :; EXHlBlT

Re: jrrsz¢red: Haag, Jem_u,`fer
" Policy No.: H 2187536
ClaimNo.: 21336813
Date_ofLoss: May 1, 2013
` Subject Properly: 107 Clzeye)me Drive, Hendersonville, TN 3 70 75-4610

 

FORMAL DEMAND UNDER TENNESSEE STATUTE 56~7~105 _
Dear Mr. Meulernans: `

As you are aware, my office was retained by the above~referenced client to represent her
regarding all aspects or claims pertaining to a potential sinkhole loss at the above referenced
property. Please remember that Selective lnsurance Company of Arnerica (“SICA") retained
Rirnkus Consulting Group, Inc,, (“Rirnkus?’) to conduct a sinkhole investigation On October 23,
2013, Rirnkus denied that sirilchole activity was, in fact, a cause of loss at the property, despite
noting the visible open depression on the property, However, Rirnlcus failed to provide
remediation recommendations Nevertheless, inexplicably, SICA denied coverage

Questioning the propriety of Rirnlcus’ investigation and conclusions, the lnsured retained
an expert to fully review this matter in accordance with industry standards and Tennessee law.’
During its review,' he discovered systematic Weakening of soils, decreasing densities` at depth, as
Well as irregular'~'soil~rocl< interface on the limestone bedrock. Speciiically, he found that the
settlement damage to the horne was indeed caused by sinlchole activity. Additionally, the
Insured retained United Structural Systerns (“USS”) to provide an accurate remediation
recommendation USS recommended a repair program that includes underpinning the property

Ll- r‘\/_ fhqu Dncr.men+T 4 1 ruled ln/ZCl/lip Pagc 191 Uf %PdgenlD # 93.,.
‘Hs'LPTrNG THOSE )N NEED’

4725 N L(ois§p AvE q__,| TAMPA. FLOnlDA 336:14 | TELEPHoNE: 813. 254.1800 l FAX .813.254.1844 l_www.t'rGLAw.CoM

Mr Matthew Meu]emans
lilly 8, 2014
Page 2 of_ '7

at an estimated cost of $141,550.00. Sec attached reports Due ~to substantial structural darnage,
the Insured also obtained an initial verbal cosmetic repair estimate, which exceeds $35,000.00.

Given the early posture of the case, and our client’s willingness to be very reasonable in
her expectations, we believe settlement is the best course of action to avoid unnecessary
attorneys’ fees, expert expenses, and litigation costs. Therefore, we are willing to recommend
settlement to our client for 3165,000.00. This amount would be inclusive of attorneys’ fees and
costs. This offer is made in an effort to avoid further litigation costs and shall only remain open

. for (14) days. The settlement proceeds will need to be delivered as follows in order for there to
be an effectual settlement: ~

]) One check shall be made out 10 Ms Haag mtd her mortgage company in the
amount $25, 000. 00,' mtd

2) Secona' check made payable to Ms, Haag and the Thompson Trial G) oztp,
P.A. fat $]40, 000. 00

In exchange for the above referenced settlement drafts, Ms. Haag will provide a full release
for claims, including extra~contractual claims, related to the sink/tale loss.

In the event SICA fails to confirm coverage and restore the lnsured’s property to its pre~

loss condition within fourteen (14) days, the insured will file suit and seek a statutory bad faith
penalty.

Sincerely,

Thomas W. Thompson, Esquire
(Signcrl electronically ln his absence to avoid clelny)

TWT/amg
Encl.

Case 3:14-cV-Ol998 Document 1-1 _Filed 10/20/14 Page 92 of 98 Page|D #: 94

 

t
United Struclural Systems, lnc.
2111 Boal Faelot'y lload' Pleasnnt View,TN 37146
phone (615) 22'(~2275 - lax (615j746»5211
lnlo@ussln.com ' ww\v.ussln.com

 

»MtscELLAnEous AGREEMENT»

 

 

 

 

 

 

 

 

 

 

 

 

 

Customer: Jennifer Hagg Date: 6-17-2014
Company: . Tltle:

Address: Same ' ' Clty: State: __ le Code:

lab site Address: 107 Chvenne Dr. cin Hendersor\ville state _T_l\j zip cortez

Home Phone: (615) 824'0719 Cell: Fax:

Worl< Phone: Ernail:

County oflob Slte: Sumner 1 ` Referral Source: internat

uss’ mm agrees to:---_----_~m m

 

STRUCTURAL STABlL|ZATlON AND SlNKHOl.E REMED|AT|ON PRCPOSAL:

SCOPlE OF WORK BY USS:

1) Design and Engineerlng of all Structural components of thls repalr.....,. ......................... ..... -. ............ $2,250.00
2) Requirecl Hendersonville building permit and multiple inspection fees... .................................... 1 .......... $750.00

3) Mo_bllizatlon of equipment to project slte$z,BOOOD
4) lnstallatlon of 47 steel piers driven to bedrock to vertically stabilize peremlter foundation ........... $51,700.00
5) installation of 11 adjustable steel girder supports to stablllze lnterlor of home,...............,.................$8,250.00
6) Landscaplng (40 shrubs). ............ . .................... ......................... ..................... ......................... ....$3,600.00
~7) Rerno\te, store and reset garage contents....... ........... .......................... ............ ,.$1,225.00
8) Remove and replace A/C unit after pier lnstallations ............................................................................... $1,475.00
9) Remove and replace garage floor. ................................................ .......................................... $6,500.00
10) Remove and replace front porch and sldewalk..\.....¢ .............. ........................ . ...... . ........................... $3,250.00

11) Remove and replace concrete turn around and drlveway........\.............,..........................................,..$42,250.00

12) Excavate 'slnkhc')|e to expose defect in bedrocl<, Remedlate using an inverted filter cone

 

 

 

 

slnkho|e repair method to a max depth of 14.’...... .................................................... . ........................... .$17,500.00
Possible Additlonal charge it slnkho_le depth exceeds 14'............. ..................... $1,250 per. L,F.
Additlonal Remarks: Total Amount: $14:1,550.00
Down Payment: $0.0D
Balance Due At Completion*: $141,550.00
ACCEPTANCE ‘OF PROPDSAL: *Credlt card payments are subject to a processing fee.

 

 

The pr|ces, sp_eclllcat|ons and condltlons on thls proposal/contract are sat|sfactory and are hereby accepted. USS, lnr.. ls authorized to do the work as'specllled. Payment
w\l| be made upon complet|on el project l understand that lallure to pay USS, lnc. shall resultln vo\dlng al all guarantees l also understand that fallure to pay uSS, |nc.
may result ln my assuming any legal fees assaclated wl\h USS, ln¢:.'s attempt to collect my unpald balance.

SlGNATURE:

USS,|NCREPRESENTAT|VE: q " §§ j :

DATE:

 

 

DATE‘. 6117[2014

 

 

    

BUYERS RIGHT TO CANCEL' You may___cnce

l this agreement or purchase
. _ n A _CV_. . . g ..,....._..._ .. ._....

_ w by contactlng USS, lnc. prior to scheduled install date.
' OCUI'Tl€n'[ - | € l

10 20/14 r'F@>age 93 of 98 Page|D #: 95

 

   

 

   

' i_ . .`

' United Slruciural Sysicmsl inc.
2111 Boai Faciory Rond ' P|easnni View, iii 37146
phone (i')iS) 227-2275 - lax (615) 746-5211
inlo@ussin.com \ ww\v.ussin.com

 

GFOUNDATION UNDERP|NN|N¢ AGREEMENT¢

 

 

 

 

 

 

 

 

 

Cu§tgmer; Jennifer Hagg `, Date: 6-17-2014
Company: ' f `i"itle:l
Address: Same l . City: ’ State: ___ Zip Code:
Jop Site Address: 107 Chvenne Dr. clty: Hendersonviile state: lig zip Code: `
Home Phone: (515) 824'0719 Cel|: " ` Fa)<:
Work Phone: Email:
Oi.Ob St= .__»____.____~ °…C¢ ..

USS, lnc. agrees to:

. Furnlsh labor and material for installation of: 4_7 Pier Types?

\

See attached drawing for approximate pier locations

The degree of lift and amount of correction can neither be predicted nor guaranteed The lifetime guarantee

covers vertical stabilization ln the area piered as indicated on the attached drawing.

. Bacl<fil_l and tamp all removed dirt or stone and replace concrete/asphalt surfaces that may need to be removed
for pier lnstallatlo`n.

. Not be responsibleer any tlle, carpet, paneling, drywall, interior damage, appliances, HVAC systems, etc., or the
survivale outside plants that need to be removed and replaced.

. Assume normal construction and concrete thickness and that no unforeseen conditions exist.

if this is not the case or if previous concrete underpins/plers are encountered, an additional agreed upon
amount Will be made to prepare the affected area for proper pier installation

. Cosmetic repairs to include: ~Tucl<point (patch mortar) in area of repair.

<
m

e
~Cauii< outside doors and/or windows in area of repalr. Yes

. Estlmated completion in: 15-20 Working Days
mmsFanAai.e

wARRAN'r'Y= ia%e?f"me of §irijw/

(UNLIMI`I'ED, NO FEE)

DEPTH CLAUS_E: if the average pier depth exceeds 14 linear feet, then an additional charge of $ZB 00 per linear
foot Will be added to the contract price. ` '

Additional Remarks: ' Total Amount: iNcLuoeo

 

Down Payment: $0.00

Balance Due At Compietion"‘: iNcLuor-:o

 

 

ACCEPTANCE OF PROPOSAL: *‘Credlt card payments are subject to a processingfee.

'ihe prices, speclllcatlans and conditions on this proposal/contract are satisfactory and are hereby accepted. USS, inc is authorized to do the work as specified. Payment
wille made upon completion oipro]ect. l understand that failure to pay USS, inc shall result in voiding oiali guarantees l also understand that failure to pay USS, |nr.
may result in my assuming any legal fees associated wlil\ USS, inc.' s attempt to collect my unpaid balance

 

 

sleNATuaE. ` ` ' oA‘rE;

uss inc REPRESENTAn\/E ®"““'°""°\ 14 W\§.Q»o.-w~c..a DATE: 6!17{2014

 

 

 

BU\'ERS RiGHT TO CANCEL: You may cancel this agreement or purchase by contacting USS, lnc priorto scheduled start date.

 

Case 3:14-cV-01998 Document 1-1 Filed 10/20/14 Page 94 of 98 Page|D #: 96

 

 

 

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STATE OF TENNESSEE
Department of Commerce and lnsurance
500 James Robertson Parkway
Nashville, TN 37243-1131
PH - 615.532.5260, FX - 615.532.2788

Jerald.E.Gilbert@tn.gov
Septemb'er 25, 2014
selective ins co of America certified Mail
2908 Poston Avenue, % C S C ` Return Receiot Reauested
Nashville, TN 37203 7012 3460 0002 8945 1817
NAIC # 12572 ,. _ ' Cashler # 17559

Re: JenniferHaag V. Selective ins Co OfAmerica

pocket # 2014cv-1029

To V\lhomit May Concern:

Pursuant to Tennessee Code-Annotated.'§ 56#2¢503, or § 562-50‘6, .`th`e Depariment of
Commerce and insurance was served Se`ptember`ZS,'ZO.i_’/i,' on your behalf in connection witl
the above-styled proceeding Documentailon relating to the subject is herein enclosed

Jeraid E. Gi|bert
Deslgnated Agent
Service of Process

Enclosures
cc; Circuit Court Clerk
Sumner County '

P O BOX 549
Ga||atln, Tn 37066

Case 3:14-cv-Ol998 Document 1-1 Filed 10/20/14 Page 96 of 98 Page|D #: 98

 

 

 

Summons~(}ivil /\ction

2§ Original

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Circuit Court Sumner County, Tennessee

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y Pminnff(s) ~ 1“ l lsee. eisele
vS. CaSC #§3 C'C i ~' 20 iUr~/C\/`“ iogfi , \/l»<f'Comm. of lns.
SELQ(.TI\} € iNS`U/ZANC€ CC)l/\DANY ’OF A.ME./Z~l(_`A | ]Attorney

 

| ]Certil`ied lVlall

 

 

Defen dan t(s)

'ro'rrrr_c move NAMEDDEFI';NDANT(s): Set,srm\)e lnsurance Fo/v\p/Wy @r'/lr/l@@;

.You are hereby summoned to appear and defend a Civii Action filed against you in the Circuit
Court, Sumner County, 'l`ennessee; and your defense must be made within thirty (30) days Fr<)m the date
this summons is served upon you, exclusive of the day of serviee. You are l"urther directed to tile your
defense with the Clerl< of this Court and send a copy to the Plaintifi”s Attorney,
jNO/Vl/lj' l.v/ . ///,L]U/t/l/L>Scl,\/ whose addi‘ess,is
4725 /l/l [_0/5 ,d\/E,`/\/ Uél, T)<i/l/l /0/l FL 336¢/1¢ . ln case ol"your failure to defend this action by the
above date, judgment by defatilt can be rendered against you for the relief demanded in the complaint

T 0 THE SHERIFF: Execute this summons and make your return herein as provided by law.

WI'I`NESS, Kathr'yn Strong, Clerl< of the Circuit Court at Ol"l:ice in Gallatin, "l`ennessee, the
3 .C»l) Monday of Ail}GUJ'T' , 20 / i/’ .
lssued: S€VTE'MB<:%'. 32 ,20 /Z/.
'"““"""“ " " KATHRYN sTRoNG, CLERK

By= /777@97///)%@ I).C,

 

 

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redeem §;4.__51~6023

  

 

 

RECEIVED 'l`l-llS SUMMONS FOR SERVICE, THIS DAY OF- ,20

 

Deputy Sl\eriff

RETURN ON SERVI.CE OF SUMMONS

l hereby certify and return that on the day of t ~ ‘ , 20 , l served this

 

summons together with a copy 0 the complaint herein as follows'.

 

 

 

. SHERIFF ~ r)El>u'rv SHF,RIFF
' Case 3:14-`cv-01998 Document 1-1 Filed 10/20/14 Page 97 of 98 Page|D #: 99

d

 

 

 

 

 

RETURN ON SERVICE OF SUMMONS BY MAIL

 

 

 

 

 

l hereby certify and return, that on the day of , 20 , l sent, postage prepaid, by
registered return receipt majil,o`r'certifiedr°e,turn§vr#djdeipt \nail, a certified copy of the summons and a copy of the complaint in
Case No. _~` to the.;défendant,§“ i

. ‘ ' ' M.F ‘
. On the day of ,20 I received the return receipt
for said registered or certified mail, which had been signed by ‘ on the
day of , 20 . Said return receipt is attached to this original summons and both douments

 

are being sent herewith to the Circuit Court Clerk for filing

SWORN TO AND SUBSCRIBED BEFORE ME ON . ~

THIS ` DAY OF , 20 " PLAINT[FF/PLAINTTFF’S ATTORNEY OTHER

PERSON AUTHORI`ZED BY STATUTE TO SERVE
PROCESS

 

 

NOTARY PUBLIC or DEPU'I`Y CLERK
lVly Commission Expires:

NOTICE

TO THE DEFENDANT(S):

Tennessee law provides a ten thousand dollar
($10,000,00) debtor’s equity interest personal property
exemption from execution or seizure to satisfy ajudgmcnt.
If ajudgment should be entered against you in this action
and you wish to claim property as exempt, you must tile a
written list, under oath, of the items you wish to claim as
exempt with the clerk of the court. The list may be filed at
any time and may be changed by you thereafter as

necessary; however, unless it is filed before the judgment A TTA CH
becomes final, it will not be effective as to any execution l ' RETURN RECEIPT
or garnishment issued prior to the filing of the list. Certain HERE

items are automatically exempt by law and do not need to ' ` (IF APPLICABLE)

be listed; these include items of necessary wearing apparel
(clothing) for yourself and your family and trunks or other
receptacles necessary to contain such apparel, family
poitraits, the family Bible, and school books. Should any
of these items be seized you would have the right to
recover them. lt` you do not understand your exemption
right or how to exercise it, you may wish to seek the
counsel cfa lawyer.

 

STATE OF TENNESSEE l, Kathryn Strong, Clcrlt of thc Circuit Court in the State and County aforesaid do

. hereby certify this to be a true and correct copy of the original
COUNTY OF` SUl\/INER summons issued in this case.
(To be completed only if . _ Kathryn Strong, Clerl<

copy certification required.) `
~ By:
Case 3:14-cy-019.98 Document 1-1 Filed_lO/20/14. Page 98 of 98 F.?age|D #: 100

 

 

 

 

